Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3477 Page 1 of 136



     1                             DECLARATION OF DARLENE ALT
     2                             EXHIBITS – TABLE OF CONTENTS
     3
     4       Exhibit:                              Description                                 Page Nos.:
     5           1              Expert report and declaration of                                    1-16
                                Defendants’ expert, Richard White, M.D.
     6
                 2              Expert report and declaration of                                    17-57
     7                          Defendants’ expert, Benjamin William
     8                          Douglas Scher
     9           3              Declaration of Richard San George, Ph.D.,                           58-81
                                Vice President of Clinical Affairs, Alere
    10                          San Diego
    11           4              Defendants’ 50-State Survey of State                               82-115
    12                          Consumer Protection, Deceptive Trade
                                Practices Laws, and Unjust Enrichment
    13
                 5              Excerpted pages from the deposition                               116-166
    14                          transcript of Plaintiff Dina Andren, taken in
    15                          this action on July 11, 2017
                 6              Excerpted pages from the deposition                               167-180
    16
                                transcript of Plaintiff Sidney Bludman,
    17                          taken in this action on July 24, 2017
    18           7              Excerpted pages from the deposition of                            181-195
                                Plaintiff Virginia Cioffi, taken in this
    19
                                action on June 23, 2017
    20           8              Excerpted pages from the deposition                               196-204
    21                          transcript of Plaintiff Bernard Falk, taken
                                in this action on July 21, 2017
    22
                 9              Excerpted pages from the deposition                               205-213
    23                          transcript of Plaintiff Jeanette Kerzner-
    24                          Green, taken in this action on July 14, 2017
    25          10              Excerpted pages from the deposition                               214-225
                                transcript of Plaintiff Carol Montalbano,
    26                          taken in this action on July 18, 2017
    27
    28
                                                                                      Case No.: 3:16-CV-01255-GPC-NLS
         DECLARATIO N O F DARLENE K. ALT IN SUPPORT O F OPPOSITIO N TO PLAINTIFF’S MO TION FOR CLASS CERTIFICATION
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3478 Page 2 of 136



     1          11              Excerpted pages from the deposition                               226-235
     2                          transcript of Plaintiff Donald Rigot, taken
                                in this action on June 29, 2017
     3
                12              Certain excerpts from Exhibit 1 to the                            236-256
     4                          deposition of Virginia Cioffi, taken on June
     5                          23, 2017, in this action
     6          13              Certain excerpts from Exhibit 2 to the                            257-262
                                deposition of Donald Rigot, taken on June
     7                          29, 2017, in this action
     8          14              Exhibit 1 to the deposition of Dina Andren,                       263-265
     9                          taken on July 11, 2017, in this action
                15              Exhibit 2 to the deposition of Dina Andren,                          266
    10
                                taken on July 11, 2017, in this action
    11
                16              Exhibit 3 to the deposition of Dina Andren,                       267-268
    12                          taken on July 11, 2017, in this action
    13          17              Exhibit 4 to the deposition of Dina Andren,                          269
                                taken on July 11, 2017, in this action
    14
                18              INRatio® User Guide, Bates-stamped,                               270-315
    15                          ALR-AND 21557 to 21602
    16          19              INRatio® Package Inserts, Bates-stamped,                             316
    17                          ALR-AND 21443

    18          20              Certain Plaintiffs’ physician prescriptions                       317-322
                                for INRatio®, Bates-stamped
    19                          ALR_AND0000021966 -21967, 21992,
    20                          22014, 22033, and 22045

    21          21              December 5, 2014 “Dear Valued                                     323-327
                                Customer” Urgent Medical Device
    22                          Correction letter
    23          22              December 5, 2014 “Dear Healthcare                                 328-332
                                Professional” Urgent Medical Device
    24
                                Correction letter
    25          23              July 26, 2016 “Dear Patient” Urgent                               333-335
    26                          Medical Device Recall letter
    27
    28
                                                                                      Case No.: 3:16-CV-01255-GPC-NLS
         DECLARATIO N O F DARLENE K. ALT IN SUPPORT O F OPPOSITIO N TO PLAINTIFF’S MO TION FOR CLASS CERTIFICATION
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3479 Page 3 of 136



     1          24              July 26, 2016 “Dear Healthcare                                    336-338
     2                          Professional” Urgent Medical Device
                                Recall letter
     3
                25              Plaintiff Dina Andren’s Responses to                              339-348
     4                          Defendants’ First Set of Requests for
     5                          Admission, dated March 13, 2017
     6          26              Plaintiff Sidney Bludman’s Responses to                           349-358
                                Defendants’ First Set of Requests for
     7                          Admission, dated March 13, 2017
     8          27              Plaintiff Donald Rigot’s Responses to                             359-368
     9                          Defendants’ First Set of Requests for
                                Admission, dated March 13, 2017
    10
                28              Plaintiff Virginia Cioffi’s Responses to                          369-377
    11                          Defendants’ First Set of Requests for
    12                          Admission, dated March 13, 2017
                29              Plaintiff Carol Montalbano’s Responses to                         378-387
    13
                                Defendants’ First Set of Requests for
    14                          Admission, dated March 13, 2017
    15          30              Plaintiff Jeanette Kerzner-Green’s                                388-397
                                Responses to Defendants’ First Set of
    16                          Requests for Admission, dated March 13,
    17                          2017
    18          31              Plaintiff Bernard Falk’s Responses to                             398-407
                                Defendants’ First Set of Requests for
    19                          Admission, dated March 13, 2017
    20          32              Excerpted pages from the deposition                               408-411
    21                          transcript of Jennifer Owlett, taken in this
                                action on Jun 8, 2017
    22
    23
    24
    25
    26
    27
    28
                                                                                      Case No.: 3:16-CV-01255-GPC-NLS
         DECLARATIO N O F DARLENE K. ALT IN SUPPORT O F OPPOSITIO N TO PLAINTIFF’S MO TION FOR CLASS CERTIFICATION
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3480 Page 4 of 136




                   Alt Declaration



                             Exhibit 1
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3481 Page 5 of 136




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        MONITORING, INC., and
     13 ALERE SAN DIEGO, INC.
     14
                              UNITED STATES DISTRICT COURT
     15
                           SOUTHERN DISTRICT OF CALIFORNIA
     16
     17 DINA ANDREN, SIDNEY                           Case No. 16-cv-01255-GPC-AGS
        BLUDMAN, VIRGINIA CIOFFI,
     18 BERNARD FALK, JEANETTE                        CLASS ACTION
        KERZNER-GREEN, CAROL
     19 MONTALBANO, and DONALD                        DECLARATION OF RICHARD
        RIGOT, individually, and on behalf of         WHITE, M.D. IN SUPPORT OF
     20 other members of the general public           DEFENDANTS' OPPOSITION TO
        similarly situated,                           PLAINTIFFS’ MOTION FOR CLASS
     21                                               CERTIFICATION
                      Plaintiffs,
     22
              v.                                      Date: September 22, 2017
     23                                               Time: 1:30 p.m.
        ALERE INC., a Delaware corporation,
     24 ALERE HOME MONITORING, INC.,                  Place: Courtroom 2D
        a Delaware corporation, ALERE SAN                     221 W. Broadway, Suite 2190
     25 DIEGO, INC., a Delaware corporation,,                 San Diego, California 92101
                                                             Judge:       Hon. Gonzalo P.
     26              Defendants.                      Curiel
     27                                               Magistrate:   Hon. Andrew G. Schopler
                                                      Action Filed: May 26, 2016 2017
     28                                               Trial Date:   None Set
                                                  -1-                Case No. 16-cv-01255-GPC-AGS
           DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                           CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3482 Page 6 of 136




      1
      2
                              DECLARATION OF RICHARD WHITE, M.D.
      3
          I, Richard White, declare as follows:
      4
                1.     I know the following of my own personal knowledge, and if called to
      5
          testify, could and would competently testify as follows.
      6
                2.     I am a medical doctor, and Professor of Clinical Medicine, Emeritus
      7
          (recalled 2014), at the UC Davis School of Medicine where I have served as
      8
          Director of Anticoagulation Services at the UC Davis Medical Center since 1985,
      9
          and as the Chief of the Division of General Medicine since 1998. I hold Board
     10
          Certification in Internal Medicine (1976), Rheumatology-Immunology (1980), and
     11
          Cardiology-ECG Exam (1996). I have been on faculty at U.C. Davis since 1980,
     12
          and before that was on faculty in the Department of Medicine at the U.C. San
     13
          Francisco. During my career, I have served as an investigator in many funded
     14
          research projects. I have served as a reviewer on numerous academic journals, and
     15
          am a member of many academic societies. I have authored nearly 200 journal
     16
          articles, as well as numerous book chapters and other publications. A copy of my
     17
          CV is attached as Exhibit A.
     18
                3.     For the majority of my career, the principal focus of my clinical and
     19
          research work has been on anticoagulation therapy, particularly in patients with
     20
          venous thrombosis or atrial fibrillation. I created the outpatient anticoagulation
     21
          clinic in 1988 and the inpatient anticoagulation service in 1995. I have built up a
     22
          very large Anticoagulation Clinic (AC) that now follows 1800 patients on warfarin,
     23
          and another 600 patients who take one of the newer oral anticoagulants. These
     24
          patients live in the Sacramento Valley and nearby foothills and up into the Sierra
     25
          Nevada Mountains. Some of my early research involved work with the original
     26
          fingerstick monitor made by Biotrack®. At any given time, we have approximately
     27
          2500 patients under our care, making our clinic one of the largest of its kind in
     28
                                                   -2-                Case No. 16-cv-01255-GPC-AGS
            DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                            CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3483 Page 7 of 136




      1 California.
      2         4.    I have been asked by Sedgwick LLP, counsel for the Alere Defendants,
      3 to provide the Court with an overview of the medical context in which this legal
      4 action has arisen. Specifically, I have been asked to provide a short history of the
      5 use of warfarin as an anti-coagulant medication, discuss the role of laboratory
      6 monitoring in the management of warfarin therapy, describe the different strategies
      7 used to monitor warfarin therapy, discuss the advantages of different types of
      8 monitoring strategies, including the use of anticoagulants that do not require
      9 monitoring, and to explain the mathematical parameters used to measure the quality
     10 of anticoagulant care in patients who take warfarin. I have also been asked to
     11 comment on the INR readings provided by the class representatives.
     12         It is my opinion that the INRatio®/INRatio®2 monitoring systems
     13 (collectively “INRatio®”), by objective criteria, provided value to patients who used
     14 it, and that, but for their use of INRatio®, patients would have spent money on a)
     15 monitoring using a different type of POC device; b) monitoring using standard
     16 laboratory based INR testing, with venipuncture samples; or c) would have been
     17 placed onto one of the newer anticoagulants that do not require INR testing (and
     18 which have higher monthly co-payment costs.) Based on what I know of the data
     19 relating to the performance of INRatio®, I believe it unlikely that these class
     20 representatives experienced discrepant results that were clinically significant, and
     21 that determining whether any specific class member experienced such as result
     22 would require, for each member, a very careful and comprehensive analysis of their
     23 medical care, including their daily warfarin dosing records, assessment of the
     24 consistency of their diet, their use of other medications, and review of the presence
     25 and severity of all coexisting medical conditions.
     26
               Warfarin Therapy, the First and Most Commonly Used Anticoagulant
     27
                5.    In order to understand the medical issues that are central to this case, it
     28
                                                   -3-                Case No. 16-cv-01255-GPC-AGS
            DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                            CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3484 Page 8 of 136




      1 is imperative that one understands how the drug warfarin works, how warfarin
      2 anticoagulation treatment is managed, and how the effect of warfarin is monitored.
      3         The purpose/goal of warfarin therapy is to treat medical illness/morbidity
      4 caused by the development of a blood clot by stopping the growth of the blood clot
      5 and preventing the development of any new blood clot in patients who manifests an
      6 acute clotting problem, specifically patients with acute deep vein thrombosis (DVT),
      7 pulmonary embolism (PE) or acute stroke caused by embolism of a blood clot from
      8 the left-atrium of the heart in patients with atrial fibrillation (AF).
      9         The term “anticoagulation” means ‘thinning’ of the blood, or more exactly,
     10 causing an increase in the amount of time it takes for blood to clot. When we anti-
     11 coagulate the blood, we want it to be more difficult (take longer) for the blood to
     12 clot in a test tube, and, in parallel, more difficult for a clot to form in the body. The
     13 logic is simple: if we make it more difficult for the blood to clot in a test-tube, the
     14 more difficult and less likely it will be for a blood clot to form in the body.
     15 However, the downside of anticoagulation with a drug like warfarin is that we make
     16 it more likely that a patient may bleed.
     17         6.     Warfarin is the most commonly used oral anticoagulant. The principal
     18 indications are: 1) treatment of an acute clot in a vein (acute deep vein
     19 thrombosis/DVT or pulmonary embolism/PE), 2) prevention of acute stroke in
     20 patients with the heart rhythm problem called atrial fibrillation (which can lead to
     21 blood clots in the left atrium), 3) prevention of a blood clot developing on a
     22 mechanical (metal) heart valve, and 4) prevention of acute DVT or PE in patients at
     23 high risk for forming a clot (surgical patients and, hospitalized medical patient, etc.)
     24 In each of these situations, physicians must balance the expected benefit of warfarin
     25 treatment with the risks of potential complications, particularly major bleeding in
     26 the GI tract and bleeding into the head.
     27         7.     Warfarin was first discovered in the early 1940s when researchers in
     28 Wisconsin sought to determine what caused a bleeding disorder in cows, called
                                              -4-                 Case No. 16-cv-01255-GPC-AGS
            DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                            CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3485 Page 9 of 136




      1 “sweet clover disease”. They discovered a substance in the sweet clover that the
      2 cows ate that caused the blood not to clot, and this turned out to be warfarin. In fact,
      3 the word warfarin was created to honor the work done by the Wisconsin Area
      4 Research Foundation (WARF).
      5         A lot of basic research was subsequently done to determine how the
      6 substances in clover (= coumarin compounds, including warfarin) led to bleeding.
      7 This research showed that warfarin inhibits the formation of four biologically active
      8 clotting factors in the blood that are necessary for a clot to form. Warfarin does this
      9 by inhibiting the action of Vitamin K, which is necessary to make correctly formed
     10 and functional clotting factors. These four factors are labeled using Roman
     11 Numerals: Factors II, VII, IX and X. Warfarin specifically inhibits the action of an
     12 enzyme called Vitamin K epoxide reductase, (VKORC) which maintains a supply of
     13 active Vitamin K in the liver. VKORC is the target of the anticoagulant drug
     14 warfarin. If too much warfarin is given, the liver cannot make enough active clotting
     15 proteins and the animal (human, rat, cow, etc.) dies from spontaneous bleeding.
     16         Giving a large amount of Vitamin K to a patient on warfarin reverses the
     17 effect of warfarin because it replenishes the vitamin which leads to the creation of
     18 normal functional clotting factors, which in turn restores the body’s ability to form a
     19 blood clot.
     20         To summarize: the effect of warfarin is to reduce the blood level of
     21 functionally active clotting Factors II, VII, IX and X, which makes it more difficult
     22 for blood to clot; conversely, giving Vitamin K to a patient on warfarin reverses the
     23 effect of the warfarin.
     24
                                  Evolution of Coagulation Monitoring
     25
     26         8.    If we give too much warfarin to a patient, the patient may/will die of

     27 bleeding. Realizing this, researchers had to determine how much warfarin should be
     28 given to humans to impede the formation of blood clotting and yet not cause
                                                   -5-                Case No. 16-cv-01255-GPC-AGS
            DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                            CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3486 Page 10 of
                                     136




    1 bleeding/death. A test had to be developed that accurately measured the effect of
    2 warfarin based using a test to determine how long it takes for the blood to clot. A
    3 laboratory clotting test (in-vitro, or in a test tube) was developed called the
    4 prothrombin time (PT). Blood drawn from a vein is placed in a test tube that
    5 contains a substance that instantly prevents the blood from clotting by binding all of
    6 the calcium in the blood sample (Calcium is required for blood to clot). Later, a
    7 technician can add some calcium back to the blood sample, and then measure the
    8 time that it takes for the blood to clot. However, another factor has to be added to
    9 the test tube called a thromboplastin, to stimulate the blood clotting process.
   10         Using the PT test, it normally takes about 12 seconds for blood to clot in
   11 healthy adults. Patients taking warfarin have a prolonged PT test result, and the
   12 blood takes ~30 or more seconds to clot. When the PT is at this value of ~30
   13 seconds, blood clotting is slowed, and formation of clots is markedly reduced,
   14 without causing overt bleeding. However, if the PT goes to higher values (like 60
   15 seconds), bleeding becomes more likely.
   16         Unfortunately, there are many different pharmaceutical manufacturers of the
   17 thromboplastin used in the PT test, so the result of a PT test in one hospital may be
   18 different than a PT test done in a different hospital that uses a different
   19 thromboplastin reagent. A single patient who takes a constant daily dose of
   20 warfarin might have a PT measurement using one PT reagent of 20 seconds, and 40
   21 seconds using another brand, and 70 seconds using a third reagent brand. Thus, the
   22 results of the PT test are not standardized and are therefore not comparable. An
   23 attempt to normalize the PT test did not occur until the late 1980s, and full
   24 normalization of the test did not occur until the early 1990s. What this means is
   25 that, historically, hospitals that used different PT test reagents got different PT test
   26 results, and the degree of warfarin anticoagulation varied widely between hospitals.
   27        9.     A new test was created in the early 1990s called the International
   28 Normalized Ratio, or INR. Mathematically, the results of PT testing using different
                                           -6-                  Case No. 16-cv-01255-GPC-AGS
          DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                          CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3487 Page 11 of
                                     136




    1 reagents could be made more comparable (= closer to giving the same result) using a
    2 mathematical correction factor, and this ‘corrected PT test’ was called the INR. As
    3 the name suggests, the test “normalized” the PT ratio. However, even today, when
    4 INR test results are compared from laboratories that use two different
    5 thromboplastin reagents, the results can still vary significantly.
    6         10.   Clinical studies in the late 1980’s and early 1990’s showed that blood
    7 clotting disorders (venous thrombosis, stroke from atrial fibrillation) are effectively
    8 prevented when the steady state INR value climbs to above a value of 1.8, whereas
    9 major bleeding does not becomes significantly more frequent until the INR is
   10 greater than 5.0. The INR target range for most clinical conditions is INR = 2.0-3.0
   11 (for venous thrombosis or atrial fibrillation) or INR = 2.5-3.5 (mechanical heart
   12 mitral valves).
   13         11.   Achieving and then maintaining a stable INR value in the desired target
   14 INR range in a patient starting warfarin is not easy. The steady-state daily dose of
   15 warfarin needed to achieve an INR of 2.5 varies between patients from as low as 3
   16 mg a week (1 mg taken Monday, Wednesday and Friday) to over 105 mg a week (=
   17 over 15 mg every day). This is largely because the enzymes in the liver that
   18 metabolize (destroy) warfarin vary dramatically between different individuals. One
   19 single daily dose of warfarin (e.g. 5 mg/day) is certainly not appropriate or safe in
   20 all patients. In addition, the amount of Vitamin K consumed daily by different
   21 people varies widely as well, and as noted above, Vitamin K acts to counteract the
   22 effect of warfarin. Thus, to achieve a steady INR, the patient has to be on the right
   23 dose of warfarin, take it every day, and have a constant intake in Vitamin K in their
   24 diet.
   25       12. To understand how we monitor warfarin therapy using the INR we
   26 need to discuss a little more about warfarin pharmacology. It is important to
   27   understand the relationship between the average daily dose of warfarin and INR
   28   value. We start by reiterating that warfarin inhibits the formation of functional
                                                 -7-                  Case No. 16-cv-01255-GPC-AGS
          DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                          CERTIFICATION

                                          $/7(;+,%,7
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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3488 Page 12 of
                                     136




    1   (active) clotting factors. Patients who have functional clotting factor levels lowered
    2   to 50% of normal still have a normal or near normal INR value. (Gulati et al,
    3   Archives of Pathology and Laboratory Medicine. 2011;135:490–494) Clotting
    4   factor levels have to fall to below 30% of normal to effectively thin the blood. If
    5   the level of clotting factors falls to 10% of normal the INR rises exponentially as
    6   does the patient’s risk of bleeding. The key point is that as the dose of warfarin
    7   increases (= as the level of clotting factors decrease), the INR rises exponentially
    8   (Dalere, GM et al. Pharmacotherapy 19 (4), 461-467. 1999). For example, if a
    9   patient achieves a steady-state INR value of 2.4 when taking 7.5 mg a day of
   10   warfarin (= 52.5 mg a week), when the warfarin dose is increased to 10 mg a day,
   11   the INR will increase to an INR value of 10 (or higher); if the dose is increased to
   12   11 mg a day, the INR will become unmeasurable. A small change in the warfarin
   13   dose can have a huge effect on the INR. Another way of saying this is that there is
   14   little difference between someone with an INR value of 8, and someone with an
   15   INR value of > 15. Once an INR of value of 5.0 is reached, the INR can rise
   16   precipitously to very high values if either more warfarin is given or if the effect of
   17   warfarin increases (e.g. the liver fails or a drug that slows the metabolism of
   18   warfarin is given).
   19         13.   All patients on warfarin must be monitored because of the following: a)
   20 significant swings in the INR occur over time in many patients, and, b) if the INR
   21 falls below 1.8 there is an increase in the risk of thrombosis, and if the INR rises to
   22 above ~5.0 there is an increase in the risk of bleeding. There are only two methods
   23 for monitoring the INR, a standard laboratory INR blood test measured on a device
   24 called a coagulometer, and an INR measured using a fingerstick monitor (also
   25 known as a ‘point of care’ or POC device).
   26         14.   Point of Care Devices (POC) to measure the PT, and later the INR,
   27 were developed because of: a) the observed need to frequently monitor/test the INR
   28 at home in order to keep the INR in the therapeutic range, b) the absence, in some
                                               -8-                 Case No. 16-cv-01255-GPC-AGS
          DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                          CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3489 Page 13 of
                                     136




    1 patients, of any peripheral veins from which blood could be drawn to measure the
    2 INR, and c) the inability of some patients to get to a laboratory to have their INR
    3 blood sample drawn. The technology that enabled ‘whole-blood’ fingerstick INR
    4 monitoring will not be discussed here, but suffice to say that the test itself is very
    5 different than a normal laboratory PT/INR test. A laboratory INR test uses patient
    6 plasma (no red cells) whereas the fingerstick testing uses a drop of whole-blood
    7 (including red blood cells) placed in a well in a plastic cartridge or test strip. To
    8 generate a valid INR value, the clotting time observed using in the fingerstick POC
    9 device has to be internally adjusted (calibrated) and normalized to the INR values
   10 obtained using simultaneous performed laboratory INR testing. Even after
   11 standardizing the fingerstick INR value, the recorded POC INR test value may be
   12 somewhat different than the simultaneously drawn INR value (e.g. POC INR= 2.8,
   13 Lab INR =2.4). However, one has to remember that if two simultaneous laboratory
   14 INR tests (using different reagent and different testing equipment) using the same
   15 blood sample are compared, there may also be a difference observed in the INR
   16 values (e.g. Lab 1= 2.2, Lab 2= 2.5). There would be, on average, an even larger
   17 difference between two different laboratory INR values if the samples tested were
   18 obtained using two different venipuncture samples drawn from two different veins
   19 one minute apart (e.g. INR 1= 2.5, INR 2= 2.9). Thus, the INR measurement is
   20 inherently imprecise, and subject to greater variation compared to most blood tests,
   21 such as the measurement of serum Hemoglobin, serum Calcium, or serum Sodium.
   22         The physicians and pharmacists who manage patients on warfarin are very
   23 aware of the fact that one source of variation in a patient's INR is variation in the
   24 INR test itself. We had a patient recently who had an INR done at a local hospital in
   25 Sacramento and the value was 5.1. We called the patient and had a repeat INR done
   26 at UC Davis, and it was 3.2 one hour later.
   27       15. The clinical considerations that go into making a decision about
   28 whether a patient is an optimal candidate for home fingerstick monitoring have been
                                               -9-                 Case No. 16-cv-01255-GPC-AGS
          DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                          CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3490 Page 14 of
                                     136




    1 mentioned already (need for frequent monitoring, poor venous access, no local
    2 laboratory, bedbound, no transportation, etc.) Additional considerations include :
    3 need for chronic warfarin therapy (not just a short 3 month treatment period), the
    4 ability (dexterity) to actually perform the fingerstick test (observed by our staff), the
    5 intelligence of the patient (or his/her family members), the presence of a phone,
    6 adherence to warfarin dosing, and meeting other Medicare guidelines for receiving a
    7 POC INR monitor. At UC Davis, the pharmacists who run the AC clinic are the
    8 health personnel who make the decision regarding the appropriateness of the use of
    9 home INR monitoring. The pharmacists assess the patient’s ability to use the
   10 fingerstick devices, and the medical director (Dr. White) writes the prescription for
   11 the device after discussion with the staff.
   12
                                    Managing Warfarin Therapy
   13
              16.    The target INR for each warfarin patient is not a single INR value but
   14
        rather a range of INR values. For example, in a patient with a venous thrombosis,
   15
        the target range for treatment is INR= 2.0-3.0 for 3-6 months. This INR range was
   16
        established by large clinical studies that looked at the outcomes of recurrent venous
   17
   18 thrombosis and bleeding. Recurrent venous thrombosis becomes more frequent if
   19 INR values fall below a value of 1.8 for a protracted periods of time (days to
   20 weeks), and bleeding becomes more frequent if the INR values over a protracted
   21 period of time rise to a value greater than 5.0. The target range of INR = 2.0-3.0 has
   22 been the standard of practice for over 20 years.
   23       There is voluminous data showing that in patients managed in a large AC

   24 clinic, the best that can be expected is that, on average, patients targeted for an INR
   25 range of 2.0-3.0 will have an INR between the values of 1.8-3.3 for 70% of the time.
   26 This value is called the TTR which stands for Time in the Therapeutic Range. The
   27 TTR is calculated using a slightly wider and more liberal INR range of 1.8-3.3
   28 because the target range is 2.0-3.0, and there is inherent variability in the INR
                                                -10-                 Case No. 16-cv-01255-GPC-AGS
          DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                          CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3491 Page 15 of
                                     136




    1 measurement. (A patient does not suddenly clot when the INR falls from a value of
    2 2.0 down to a value of 1.9). To my knowledge, no large clinic has ever reported that
    3 a large clinic population has achieved a TTR above a value of approximately 75%.
    4 The calculation of the amount of time the INR is in the target range involves making
    5 some assumptions [if one month I have an INR of 2.5, the next month the INR is 3.7
    6 and a week later, after a dose change, it is 3.0; the TTR calculation assumes half of
    7 the time between the first INR (=2.5) and the next INR (=3.7) the INR was
    8 therapeutic and half the time it was out of the therapeutic range]. This methodology,
    9 called the Rosendaal method, is universally applied by all clinics that monitor the
   10 TTR as a quality measure.
   11         For patients with a newer “bi-leaflet” mechanical heart valve in the mitral
   12 position (mitral value prosthetic valve) have a slightly higher INR target range of
   13 2.5-3.5. This is based on clinical studies that suggest a higher incidence of valve
   14 thrombosis if the INR falls below 2.5 for a protracted period of time. For bi-leaflet
   15 aortic valves, the target ranges is INR 2.0-3.0. For patients who have an older ball-
   16 valve or tilt-disc type of mechanical heart valve, the target range is 2.5-3.5.
   17         In patients with atrial fibrillation (AF), the target range is INR= 2.0-3.0.
   18 Again, this range has been established based on large clinical trials and studies that
   19 have shown that the stroke rate falls significantly when the INR is in the therapeutic
   20 range. Patients with AF can have a stroke when the INR is therapeutic. This is
   21 because not all strokes are due to a blood clot breaking off and going to the brain
   22 from the heart. Some strokes are due to occlusion of a small artery in the brain that
   23 has atherosclerotic plaque (similar to the cause of a heart attack in patients with
   24 coronary artery atherosclerosis). A hemorrhagic stroke can occur when the INR is
   25 therapeutic as well.
   26         17.   We have discussed two of the principal reasons the INR value varies in
   27 a patient who takes a steady daily dose of warfarin: variation in the INR
   28 measurement, and variation in the patient’s intake of Vitamin K. Other causes of
                                               -11-                 Case No. 16-cv-01255-GPC-AGS
          DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                          CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3492 Page 16 of
                                     136




    1 INR variation include: patient adherence (missing a dose or taking the wrong dose
    2 of warfarin), drug interactions that increase or decrease the warfarin drug level in
    3 the blood, liver disease (decreased clotting factor synthesis in a patient with, for
    4 example, acute hepatitis), onset of a significant medical illness (the serum albumin
    5 levels fall and the amount of free-warfarin in the blood stream goes up), changes in
    6 the manufacturer of the warfarin (when a patient changes the generic brand of
    7 warfarin they use, we often see a change in their INR).
    8        18.    Bleeding occurs in a patient who takes warfarin for two reasons: either
    9 the patient develops some kind of pathology that is associated with bleeding (for
   10 example he/she develops a duodenal ulcer) or the patient oozes from some bleeding
   11 site simply because they are on an anticoagulant. For example, some elderly patients
   12 bleed in their brain when they are on warfarin, even in the absence of any history of
   13 a fall or sustaining head trauma. The majority of these bleeding episodes occur when
   14 the INR is in the therapeutic range. However, the odds that a bleed may occur do go
   15 up as the steady-state INR value rises. In the AC, clinic 70 percent of all bleeding
   16 episodes that occur in our patients develop when the INR between 2.0 - 3.0. Some
   17 of the bleeds occur even when the patient has a sub-therapeutic INR. However,
   18 25% of the bleeds occur in the 15% of patients who have a high INR. Thus, the
   19 rate/chance of active bleeding is higher as the steady-state INR value rises. Some of
   20 the bleeding events are spontaneous, but many are associated with minor trauma,
   21 such as a fall, or bumping the head on a doorway. In patients with Atrial
   22 Fibrillation, most strokes occur when the INR falls below 1.8.
   23
                   Performance of POC monitors and Alternatives to INRatio®
   24
   25        19.    The goal of monitoring the INR is to maximize the likelihood that the

   26 patient's INR is maintained in the therapeutic range. By monitoring the INR, we
   27 maximize the likelihood of benefit (no thrombosis) and at the same time minimize
   28 the risk of bleeding. We monitor patients more closely when their INR values vary
                                              -12-              Case No. 16-cv-01255-GPC-AGS
          DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                          CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3493 Page 17 of
                                     136




    1 over time precisely because we do not want the INR to stay below a value of 1.8 for
    2 more than few days, and we do not want the INR above a value of ~4.0 for more
    3 than a few days. If a specific patient has a steady INR value on a steady dose of
    4 warfarin, we gradually increase the time interval between measurements, and this
    5 time period may be a wide as every 4-5 weeks, but no greater than this. One patient
    6 we followed in the AC clinic had a therapeutic INR that was always between 2.0-3.0
    7 for over 7 years while he took a daily dose of 5.0 mg of warfarin each day. This is
    8 the exception, however, not the rule. Many patients have to be tested every two
    9 weeks or even more frequently.
   10         20.    In 1989 we published the first randomized study that evaluated the
   11 feasibility of performing home PT monitoring [White et al, Ann Int Med
   12 1989;111:730-737]; we reported that the accuracy of control was significantly
   13 higher (93% of INR tests were in the target range) in patients who were able to use a
   14 home fingerstick device (Biotrack® PT monitor) and who performed the test at home
   15 over a two-month period, compared to patients who could use the monitor but who
   16 instead were followed in our AC clinic (75% of the INR values were in the target
   17 range). The home-monitored patients performed testing approximately twice as
   18 often as the patients randomized to AC clinic care. There were no complications in
   19 either group in this short study.
   20         Since this initial paper, there have been many studies that have evaluated the
   21 benefits of self-testing using a POC INR monitor. One major and important study
   22 by Bloomfield et al, Ann Intern Med. 2011 Apr 5; 154(7):472-82.did a meta-
   23 analysis of 22 clinical trials that include 8413 subject who performed patient self-
   24 testing (with dosing changes made by the AC clinic staff) or patient-self
   25 management (dosing decisions made by the patient, based on information supplied
   26 to them) of their INR using a fingerstick INR monitor. [These summary-analyses of
   27 multiple studies are called “meta-analyses”]. These researchers reported that patient
   28 self-testing was associated with a statistically significant 26% reduction in the risk
                                                 -13-                Case No. 16-cv-01255-GPC-AGS
          DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                          CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3494 Page 18 of
                                     136




     1 of dying; a statistically significant 42% reduction in the risk of having a thrombosis,
     2 and statistically non-significant 11% reduction in the risk of hemorrhage. The POC
     3 INR monitors used included the CoaguCheck® XS System (Roche), the ProTime®
     4 Microcoagulation System (ITC Medical) and INRatio® (HemoSense/Alere). It
     5 should be stressed that in all of the randomized studies, the patients included in the
     6 studies had to first demonstrate the ability to use the monitors correctly to get into
     7 the study. The findings do not apply to patients who are not capable or responsible
     8 enough to perform and use a home INR monitor.
     9         21.    Dutch researchers recently published the results of a randomized study
    10 of home-monitoring using either the CoaguCheck® XS or the INRatio®2 monitor in
    11 patients who were eligible for home testing in their National Thrombosis
    12 Service.[Brouwer et al, Advances in Therapy (2014) 31:639–656]. The drug they
    13 used was not warfarin but was the closely related drug acenocoumarol. The
    14 mechanism of action of this drug is the same as warfarin, however, it has a shorter
    15 half-life than warfarin. Overall, there were 4326 patients randomized to one of the
    16 two monitors and the study lasted for 1.5 years. Patient time in the therapeutic range
    17 (TTR) using each monitor was similar, with a very high TTR value for both
    18 monitors: 88.5% of the time for the CoaguChek®XS and 87.4% of the time for
    19 INRatio®2 (no statistical difference). There were 71 deaths, 40 in the CoaguChek
    20 group and 31 in the INRatio2 group (not statistically different). The number of
    21 critical events (INR < 1.5 or INR > 5.0) was not statistically significantly different
    22 (P= 0.97) between the two monitors; these events occurred on average in 2.8% of
    23 the INR measurements per month. The authors concluded that there was no
    24 clinically relevant effect of the choice of coagulation monitor on the TTR, minor or
    25 fatal outcomes during long-term anticoagulation management.
    26         22.    While others may speak to the data supporting the accuracy and
    27 precision of INRatio®, these clinical studies I just referred to support the position
    28 that use of INRatio® has been an effective tool in warfarin management. In an
                                                 -14-                  Case No. 16-cv-01255-GPC-AGS
           DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                           CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3495 Page 19 of
                                     136




    1 individual patient, a physician assessing the effectiveness of warfarin management
    2 using INRatio® would have to take into account the many individual variables that
    3 affect the INR, the presence of other medical conditions (like liver disease, heart
    4 failure), dietary variation in vitamin K intake, adherence to the prescribed dose of
    5 warfarin, consumption of other medications that can affect warfarin levels, and other
    6 factors that can affect in the stability of INR readings.
    7         23.    I have been provided with records reflecting serial INR measurements
    8 over time using the INRatio® device for the Plaintiffs in this case. Overall, their
    9 results appear to be typical compared to what we see in our coagulation clinic
   10 patients (both those monitored using a laboratory measured INR and those
   11 monitored using a point-of-care device). Many different factors can cause an INR to
   12 go up or down, and the fact that a patient may be transiently out of the INR target
   13 range, or having trouble getting their INR to stabilized, does not mean that their INR
   14 results are not accurate. Based on what I understand of the performance
   15 characteristics of INRatio®, before reaching a conclusion that a specific patient’s
   16 POC monitor yielded an incorrect INR result that was clinically significant I would
   17 need to know: 1) the prescribed daily warfarin dose corresponding to each of the
   18 INR values that was measured using INRatio® 2) a list of all the medications the
   19 patient was taking concomitantly with the warfarin, 3) the patient’s blood
   20 hematocrit and/or hemoglobin values measured during the time that they were on
   21 warfarin therapy, 4) a list of each patient’s ongoing chronic medical problems (e.g.,
   22 heart failure, diabetes, chronic liver disease), 5) the patient’s health care provider’s
   23 assessment regarding the constancy of their dietary intake of vitamin K containing
   24 foods, and 6) the name of the medical condition for which the patient was being
   25 treated with warfarin.
   26         23.    From 2009 to 2016, the alternatives for INR monitoring included: 1)
   27 self-testing or self-management using the CoaguChek® XS, the INRatio®2, or the
   28 ProTime® monitor, 2) anticoagulation clinic care (AC clinic), 3) management by an
                                              -15-                Case No. 16-cv-01255-GPC-AGS
          DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                          CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3496 Page 20 of
                                     136




    1 office staff, 4) management by a single nurse or physician, or 5) cessation of
    2 warfarin with the substitution of one of the newer anticoagulants (a fixed dose of:
    3 rivaroxaban, apixaban, edoxaban or dabigatran, which require no INR monitoring at
    4 all). The best alternative depends on the circumstances of individual patients. But,
    5 for patients on warfarin, no monitoring is not an option.
    6
    7 DATED: July 25, 2017
    8
    9
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   11
                                                 Richard White
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                                               -16-                Case No. 16-cv-01255-GPC-AGS
         DECLARATION OF RICHARD WHITE, M.D. IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                         CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3497 Page 21 of
                                     136




                  Alt Declaration



                            Exhibit 2
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3498 Page 22 of
                                     136




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      MONITORING, INC., and
   13 ALERE SAN DIEGO, INC.
   14
   15
                              UNITED STATES DISTRICT COURT
   16
                           SOUTHERN DISTRICT OF CALIFORNIA
   17
   18
      DINA ANDREN, SIDNEY BLUDMAN,                        Case No. 16-cv-01255-GPC-AGS
   19 VIRGINIA CIOFFI, BERNARD FALK,
      JEANETTE KERZNER-GREEN,                             CLASS ACTION
   20 CAROL MONTALBANO, and
      DONALD RIGOT, individually, and on                  DECLARATION OF BENJAMIN
   21 behalf of other members of the general              WILLIAM DOUGLAS SCHER
      public similarly situated,
   22
                   Plaintiffs,
   23                                                     Date: September 22, 2017
            v.                                            Time: 1:30 PM
   24                                                     Place: 221 W. Broadway, Suite 5160
      ALERE INC., a Delaware corporation,                        San Diego, California 92101
   25 ALERE HOME MONITORING, INC., a
      Delaware corporation, ALERE SAN                     Judge:             Hon. Gonzalo P. Curiel
   26 DIEGO, INC., a Delaware corporation,                Magistrate:        Hon. Andrew G. Schopler
                                                          Action Filed:      May 26, 2016
   27               Defendants.                           Trial Date:        None Set
   28
                                                                              Case No. 16-cv-01255-GPC-AGS
           DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3499 Page 23 of
                                     136




    1         I, Benjamin William Douglas Scher, declare as follows:
    2 I.      INTRODUCTION
    3                                       A.      Qualifications
    4         1.     I am a Partner at Bates White, LLC (Bates White), a professional
    5 services firm that conducts economic, statistical, and data analyses in a variety of
    6 industries and forums.
    7         2.     I received my BS in Policy Analysis and Management from Cornell
    8 University in 2002. I have spent the last approximately 15 years at Bates White
    9 performing data analysis and economic analysis in a variety of contexts. Over the
   10 course of my career I have worked on more than 50 engagements. The majority of
   11 my work has focused on the healthcare and life sciences sectors. I have been
   12 retained as lead consulting expert for drug manufacturers, medical device and
   13 diagnostics manufacturers, and healthcare providers on numerous engagements. I
   14 have also served as a testifying expert.
   15         3.     The common thread across my work is the review, processing, analysis,
   16 and presentation of information gleaned from large data sets and the estimation of
   17 economic damages. I have analyzed more than 1,000 claims, sales, and other
   18 healthcare-related data sets over the years. I frequently present my analyses of data
   19 and potential economic damages to companies' outside counsel, in-house counsel,
   20 and senior executives. I also frequently present analyses to government attorneys
   21 and investigators. My data analyses and economic damage calculations have been
   22 accepted on many occasions as the basis for settlements between the government
   23 and pharmaceutical companies, medical device manufacturers, and healthcare
   24 providers. Additionally, I have supported and assisted other testifying experts with
   25 their data and economic analyses in numerous litigation matters. Finally, certain of
   26 my data and economic analyses have been published in the International Journal of
   27 the Economics of Business and Pharmaceutical Executive.
   28         4.     A copy of my curriculum vita is attached as Appendix A. None of
                                               -2-                 Case No. 16-cv-01255-GPC-AGS
            DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                 CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3500 Page 24 of
                                     136




     1 Bates White's compensation is contingent upon the outcome of this litigation.
     2               B.     Summary of Allegations and Mr. Andrien’s Opinions
     3          5.    According to the First Amended Complaint:
     4                This action is brought on behalf of Plaintiffs and a class of consumers
     5                who purchased "INRatio PT/INR Monitors," "INRatio PT/INR Test
     6                Strips," "INRatio2 PT/INR Monitors" and "INRatio2 PT/INR Test
     7                Strips" (collectively, the "INRatio Products"). Plaintiffs' claims
     8                concern the unlawful, deceptive and misleading practices conducted by
     9                Defendants in connection with the manufacturing, marketing and sales
    10                of the INRatio Products in violation of California law and the common
    11                law.1
    12          6.    More specifically, the First Amended Complaint alleges that the
    13 INRatio® products "effectively did not monitor anything," were "worthless," and
    14 that:2
    15                Defendants withheld material information from the public and
    16                continued selling the INRatio Products unabated, marketing and
    17                advertising them as an INR monitor, which was "accurate,"
    18                "convenient," "effective," "reliable," "optimal," and "safe."3
    19          7.    The First Amended Complaint seeks to certify a class consisting of:
    20                All residents of the United States of America [or specific state sub-
    21                classes] who, during the period January 1, 2009 through the present,
    22                purchased, rented or otherwise paid for the use of the INRatio Products
    23
    24
    25   1
         First Amended Complaint, Oct. 3, 2016, p. 2. [hereinafter First Amended
    26 Complaint]
       2
         Expert Report of Jeffrey S. Andrien, June 21, 2017, pp. 10-11. [hereinafter
    27
       Andrien Report]. First Amended Complaint, pp. 11, 15.
    28 3 First Amended Complaint, p. 2.
                                                -3-                 Case No. 16-cv-01255-GPC-AGS
             DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                  CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3501 Page 25 of
                                     136




    1                manufactured, marketed, sold or distributed by Defendants4
    2         8.     On June 21, 2017, Mr. Jeffrey Andrien submitted an expert report on
    3 behalf of the plaintiffs and putative class members. Mr. Andrien concludes that
    4 putative class members that "purchase[d] the products received no intrinsic value
    5 because the product was not able to perform its function of providing accurate and
    6 reliable results for anticoagulant management."5 He also concludes that "the
    7 INRatio Products harmed patients, providing them with negative value, and thus, no
    8 reasonable consumer would have purchased the defective INRatio Products had they
    9 known the truth."6 On the basis of these conclusions, Mr. Andrien asserts that
   10 "damages can be measured as the price paid by consumers for the INRatio
   11 products."7 In other words, Mr. Andrien states that putative class members are
   12 entitled to a "full refund" of their payments.8 Mr. Andrien's methodology estimates
   13 purported damages by combining Alere Home Monitoring’s (AHM) "revenues
   14 generated from end-users of INRatio Products of $113.6 million" with an "estimate
   15 of ASD's [Alere San Diego] sales of INRatio Products that were ultimately sold to
   16 consumers of $43.5 million" for a total damages estimate of $157.1 million.9
   17                     C.     Scope of Charge and Materials Considered
   18         9.     Counsel for Alere, Inc. (Alere) have asked that I evaluate the opinions
   19 expressed by Mr. Andrien, and assess whether his proposed measure of damages,
   20 and the bases for his opinion, rest on sound economic methodology and match the
   21
   22   4
        First Amended Complaint, pp. 32-34. Plaintiffs also seek to certify the following
   23 sub-classes: California Sub-Class, Colorado Sub-Class, Florida Sub-Class, Georgia
      Sub-Class, Maryland Sub-Class, New York Sub-Class, and Pennsylvania Sub-Class.
   24
      5
        Andrien Report, p. 13.
   25
      6
        Andrien Report, p. 13.
   26 7
        Andrien Report, p. 14.
   27 8
        Andrien Report, P. 14.
   28 9 Andrien Report, p. 6.
                                               -4-                Case No. 16-cv-01255-GPC-AGS
            DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                 CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3502 Page 26 of
                                     136




    1 evidence in this case. In reaching my opinions in this matter, I relied upon the list of
    2 materials in Appendix B.
    3         10.    I reserve the right to update my opinions if new materials become
    4 available during the course of this litigation.
    5 II.     SUMMARY OF OPINIONS
    6         11.    At a high level, I conclude that Mr. Andrien has not performed the type
    7 of empirical or scientific analyses necessary to support his conclusions. In contrast,
    8 my analyses of the available data and information illustrate that Mr. Andrien's key
    9 conclusions are unfounded and at odds with demonstrable fact. Mr. Andrien also
   10 commits errors that cause him to overstate the amount of any purported damage,
   11 even under his flawed framework. I also conclude that a robust analysis of whether
   12 and to what extent any given putative class member incurred economic damage due
   13 to the purported conduct entails an analysis of the "but-for" world, which Mr.
   14 Andrien has not undertaken. Finally, I conclude that accurately assessing economic
   15 damages would give rise to individualized issues among putative class members,
   16 and the vast majority of putative class members likely did not incur any economic
   17 damage as a result of the purported conduct.
   18         12.    With respect to Mr. Andrien's assertion that the INRatio® products
   19 conferred "no intrinsic value" and were not able to perform the "function of
   20 providing accurate and reliable results for anticoagulant management," I conclude as
   21 follows:
   22                x       Mr. Andrien's conclusion does not rely on any empirical data or
   23                        studies.
   24                x       In contrast, I have reviewed empirical data regarding the
   25                        performance of the INRatio® devices. These data are clear: in
   26                        the vast majority of cases the INRatio® products did provide
   27                        accurate INR readings.
   28                x       Mr. Andrien commits the fundamental mistake he indicates
                                                -5-               Case No. 16-cv-01255-GPC-AGS
            DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                 CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3503 Page 27 of
                                     136




    1                       should be avoided: he assigns a full refund even in instances in
    2                       which putative class members received value in the form of
    3                       accurate readings, effectively creating the economic "windfall"
    4                       that he warns against.
    5               x       Moreover, identifying whether and to what extent any individual
    6                       putative class member had discrepant readings using the
    7                       INRatio® and/or had clinical complications as a result would
    8                       involve an individualized patient-by-patient inquiry.
    9        13.    With respect to Mr. Andrien's assertion that "no reasonable consumer
   10 would have purchased the defective INRatio Products had they known the truth," I
   11 conclude as follows:
   12               x       An analysis of whether patients would use INRatio® necessitates
   13                       an examination of how these devices reach patients, especially:
   14                       o       A focus on physicians who prescribe home monitoring,
   15                               have experience with different devices, have technical
   16                               information about their use and performance, and also
   17                               understand the alternatives to home monitoring.
   18                       o       Consideration and analysis of the factors physicians take
   19                               into account when choosing among devices to recommend
   20                               to patients (e.g., ease of use, amount of blood required,
   21                               product packaging, prior experience, manufacturer
   22                               responsiveness to questions), and how any purported
   23                               additional information about the accuracy of the INRatio®
   24                               products would affect these choices.
   25               x       Mr. Andrien has not considered any of these factors, which give
   26                       rise to individualized physician-by-physician and patient-by-
   27                       patient considerations.
   28        14.    With respect to Mr. Andrien's actual computation of damages, I find
                                               -6-                 Case No. 16-cv-01255-GPC-AGS
           DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3504 Page 28 of
                                     136




    1 that he commits two errors:
    2                x       First, his calculations include payments made by putative class
    3                        members and their insurers. He has not, however, explained the
    4                        basis on which putative class members can pursue claims on
    5                        behalf of third-party payors, and he has assumed that all putative
    6                        class members have the legal ability to do so.
    7                x       Second, his calculations treat all payments as if they were for the
    8                        products at issue, but for most patients, AHM provides a bundled
    9                        service and does not sell monitors and strips. The service
   10                        includes providing testing materials (monitor and strips), and
   11                        also includes training and a reporting system for sharing patients’
   12                        test results with their physicians. This further causes an
   13                        overstatement of the amounts putative class members paid for
   14                        the products at issue.
   15         15.    I also conclude that Mr. Andrien has not considered several other
   16 factors that are critical for assessing whether and to what extent putative class
   17 members incurred economic harm. In particular, my understanding is that all of the
   18 putative class members need some form of INR monitoring. Unlike some consumer
   19 goods (e.g., a new television), simply foregoing "a purchase" is not an option. As a
   20 result, an analysis of potential economic harm entails an assessment of each putative
   21 class member's economic situation in the actual world compared to a "but-for" world
   22 in which they still monitor their INR. This raises two important considerations:
   23                x       All putative class members would have made payments for INR
   24                        monitoring even if they used a different brand of device or
   25                        underwent lab testing. In fact, for patients on Medicare and many
   26                        insurance plans, reimbursement for home INR monitoring
   27                        services is set at a fixed level regardless of the brand of device
   28                        used. This observation, in conjunction with empirical evidence
                                                  -7-                 Case No. 16-cv-01255-GPC-AGS
            DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                 CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3505 Page 29 of
                                     136




    1                          that the vast majority of INRatio® readings were accurate,
    2                          illustrates that putative class members could not have been
    3                          harmed economically in most instances: they had accurate
    4                          readings and paid a fixed amount.
    5                 x        Because Mr. Andrien computes damages as the full amount paid
    6                          by every putative class member in connection with the INRatio®
    7                          products, he is implicitly comparing the performance of the
    8                          INRatio® to a standard of perfection, not to an empirically based
    9                          benchmark. While I am not a doctor or clinician, evidence
   10                          regarding benchmarks makes clear that this assumption of
   11                          perfection is unrealistic, and therefore Mr. Andrien's assessment
   12                          of the economic impact on putative class members is inaccurate.
   13          16.    The remainder of this report proceeds as follows:
   14                 x        Section III discusses relevant background.
   15                 x        Section IV addresses the accuracy of the INRatio® products.
   16                 x        Section V addresses Mr. Andrien's assertion that "no reasonable
   17                          consumer" would have used the INRatio® products.
   18                 x        Section VI addresses Mr. Andrien's damages computations.
   19                 x        Section VII discusses relevant factors associated with the "but-
   20                          for" world that Mr. Andrien has not considered.
   21                 x        Section VIII concludes.
   22 III.     BACKGROUND
   23          17.    In this section, I provide background information as context for my
   24 analyses and opinions.
   25                     A.    Benefits of Home Testing Using a POC Device
   26          18.    There are multiple options for INR testing, including anticoagulation
   27 clinics, hospital laboratories, commercial laboratories, physician offices, patient
   28
                                                       -8-                      Case No. 16-cv-01255-GPC-AGS
             DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                  CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3506 Page 30 of
                                     136




     1 home testing, and visiting nurses.10 These options have different risks and benefits.
     2 Matchar et al. (2010) noted the benefits of home monitoring:
     3                 High-quality management, such as that provided by anticoagulation
     4                 clinics, can be an effective way to improve care but may require that
     5                 patients travel to a centralized location, limiting the frequency of
     6                 testing and in some cases access to anticoagulation management.
     7                 Frequent home monitoring of the international normalized ratio (INR)
     8                 by means of weekly self-testing is a promising strategy for improving
     9                 outcomes…11
    10          19.    Similarly, the Centers of Medicare & Medicaid Services (CMS)
    11 released a "Decision Memo for Prothrombin Time (INR) Monitor for Home
    12 Anticoagulation Management" that stated:
    13                 The studies reviewed demonstrated that home prothrombin monitoring
    14                 significantly improve time in therapeutic range for select groups of
    15                 patients, compared to testing done in physician offices, or
    16                 anticoagulation clinics. Increased TTR leads to improved clinical
    17                 outcomes, with reductions in thromboembolic and hemorrhagic
    18
         10
          FDA Public Workshop, “Point of Care PT/INR Devices for Monitoring Warfarin
    19
       Therapy,” p. 60, available at
    20 https://www.fda.gov/downloads/MedicalDevices/NewsEvents/WorkshopsConferenc
       es/UCM491546.pdf.
    21
       11
          See, e.g., Hanna E. Bloomfield et al., Meta-analysis: Effect of Patient Self-testing
    22 and Self-management of Long-Term Anticoagulation on Major Clinical Outcomes
    23 (Annals of Internal Medicine, 2011). Joseph Garcia-Alamino et al., Self-monitoring
       and Self-management of oral anticoagulation (Cochrane Database of Systematic
    24 Reviews, 2010). Carl Heneghan et al., Self-monitoring of oral anticoagulation:
    25 systematic review and meta-analysis of individual patient data (Lancet, 2012).
       David Matchar et al. Effect of Home Testing of International Normalized Ratio on
    26 Clinical Events (New England Journal of Medicine, 2010). David Matchar et al.,
    27 The impact of frequency of patient self-testing of prothrombin time on time in target
       range within VA Cooperative Study #481: The Home INR Study (THINRS), a
    28 randomized, controlled trial (Journal of Thrombosis and Thrombolysis, 2015).
                                                 -9-                 Case No. 16-cv-01255-GPC-AGS
              DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                   CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3507 Page 31 of
                                     136




    1                 events.12
    2                             B.     The INRatio® Devices and Alere
    3          20.    The INRatio® products include several monitors and test strips. In
    4 particular, on October 24, 2002, the FDA approved HemoSense, Inc.'s "INRatio
    5 Self-Test" device.13 On October 26, 2007, the FDA approved HemoSense, Inc.'s
    6 "INRatio 2 PT Monitoring System."14 HemoSense, Inc. was acquired by Inverness
    7 Medical Innovations, Inc. in August 2007.15 On June 11, 2010, the FDA approved
    8 "INRatio/INRatio2 Test Strips," marketed by Biosite Incorporated, an Inverness
    9 Medical Innovations, Inc. Company.16 In July 2010, Inverness Medical Innovations,
   10 Inc. changed its name to Alere, Inc.17 On May 1, 2012, the FDA approved Alere,
   11 Inc's "INRatio2 PT/INR Monitoring System."18 Throughout this report, my
   12 references to "INRatio®" encompass all of these products that were used during the
   13 putative class period unless otherwise specified.
   14
   15   12
         CMS, “Decision Memo for Prothrombin Time (INR) Monitor for Home
   16 Anticoagulation Management,” accessed July 6, 2017, https://www.cms.gov/
   17 medicare-coverage-database/details/nca-decision-memo.aspx?NCAId=72.
      13
         FDA, 510(k) Premarket Notification, accessed on July 6, 2017,
   18
      https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K021923.
   19 14 FDA, 510(k) Premarket Notification, accessed on July 6, 2017,
   20 https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K072727.
      15
   21    SEC Edgar Archives data, Press Release, “Inverness Medical Innovations to
      Acquire Hemosense, Inc.,” accessed on July 6, 2017,
   22 https://www.sec.gov/Archives/edgar/data/1127393/000119312507173736/dex991.ht
   23 m.
      16
   24    FDA, 510(k) Premarket Notification, available at https://www.accessdata.fda.gov
      /cdrh_docs/pdf9/K092987.pdf.
   25 17
         PR Newswire, News Release, accessed on July 6, 2017, http://www.prnewswire.
   26 com/news-releases/inverness-medical-innovations-changes-name-to-alere-
      98538494.html.
   27
      18
         FDA 510(k) Premarket Notification, available at https://www.accessdata.fda.gov/
   28 cdrh_docs/reviews/K110212.pdf.
                                              -10-                 Case No. 16-cv-01255-GPC-AGS
             DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                  CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3508 Page 32 of
                                     136




    1          21.    AHM is a subsidiary of Alere, Inc.19 AHM is enrolled with Medicare as
    2 an independent diagnostic testing facility (IDTF) and provides equipment used for
    3 patient self-testing for INR. Customers need a physician prescription to use AHM's
    4 services.20 All patients are trained prior to self-testing through either AHM, other
    5 organizations, or physicians.21 During the relevant time period, AHM distributed
    6 multiple devices to patients including the ProTime®, INRatio®2, and CoaguChek®
    7 depending on physician preferences and inventory stock.22 Physicians refer patients
    8 to AHM in a process described by AHM's Vice President of Regulatory Affairs and
    9 Compliance, Sallie Kennedy:
   10                 A. They -- a physician has a patient that he feels is suitable for patient
   11                 self-testing at home. They need more testing than monthly and they are
   12                 competent to perform that testing and report their results. So they
   13                 would refer that patient to us. And we would teach the patient how to
   14
        19
   15   2017 Alere 10-k filing, Exhibit 21.1. SEC Edgar Archives data, available at
      http://otp.investis.com/clients/us/alere/SEC/sec-show.aspx?FilingId=
   16 12111258&Cik=0001145460&Type=PDF&hasPdf=1.
   17   20
         Kennedy Dep. at 19:19–22. “Q. Is it possible for a customer to utilize the services
   18 of AHM without coming through a physician or clinic? A. No. It’s a prescription
      item.”
   19 21
         Kennedy Dep. at 22:8–10. “A. We do not train all patients. Some patients have
   20 been trained by other organizations or they’ve been trained by their physician.”
        22
   21      Kennedy Dep. at 52:13–22. “A. We had ProTime which is no longer on the
        market. And the strips – the strips might have been different from time to time –
   22   they might have been a different product name or product – they might have had a
   23   different packaging or a different – depended on what they sent us. But the ProTime
        was a meter. And we carried their strips. We had INR. And then the INRatio2. And
   24   strips that were – went with them. And then we have Roche, the CoaguChek,”
   25   Kennedy Dep. at p. 53:16–18. “In other words, we would – we would – we gave
        them, the physicians, the options to pick one of the meters.” Kennedy Dep. at
   26   65:19–24. “If the physician doesn’t care what meter it is, then – or the clinic doesn’t
   27   care, usually clinics will care – but the physicians – independent physicians that are
        sending us a referral don’t care and then we would just provide the patient one of the
   28   meters that was in stock.”
                                                   -11-               Case No. 16-cv-01255-GPC-AGS
             DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                  CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3509 Page 33 of
                                     136




    1                    use the piece of equipment and do the test and provide a collection for
    2                    that vis-a-vis an app on your phone, a website, an IVR or a technician
    3                    that you could speak to.23
    4            22.     Alere San Diego, Inc. (ASD) is a subsidiary of Alere.24 ASD
    5 manufacturers the INRatio® products. ASD sells products to distributors, which
    6 include IDTF's such as AHM.25 ASD does not sell to end-users.26
    7               C.       Medicare Reimbursement for Home PT/INR Monitoring
    8            23.     The Healthcare Common Procedure Coding System (HCPCS) is a
    9 standardized coding system used by Medicare and other health insurers to ensure
   10 that claims are processed consistently.27 The HCPCS Level II coding system is used
   11 primarily for medical items or services that are used outside a physician’s office.28
   12 Medicare and other payors reimburse services related to home INR monitoring
   13 under three different Level II HCPCS codes:
   14                    x      G0248: "Demonstration, prior to initial use, of home INR
   15
   16   23
             Kennedy Dep. at 18:12–21.
   17   24
         2017 Alere 10-k filing, Exhibit 21.1. SEC Edgar Archives data, available at
   18        http://otp.investis.com/clients/us/alere/SEC/sec- show.aspx?FilingId=
      12111258&Cik=0001145460&Type=PDF&hasPdf=1.
   19 25
         Blundell Dep. at 33:23–34:9. “A So, because we sell through distribution, our
   20 distribution partners will not allow us to have their customer lists…We don’t see it.
   21 We’re not allowed to see it. It’s confidential. So we only -- we don’t see any end
      user anything. We only deal with distribution.” Blundell Dep. at 45:12–13. “A The
   22 IDTF is the -- So AHM is considered the IDTF.” Blundell Dep. at 48:11. “…We
   23 have the distributor or IDTF listed.”
      26
   24    Blundell Dep. at 16-20. “So our sales force works with distributors. We never do
      direct sales. So the Alere sales force may work with a physician’s office, but for the
   25 physician to get the product, they’ve got to go through the distributor.”
        27
   26     CMS HCPCS – General Information, accessed July 6, 2017 https://www.cms.gov
        /Medicare/Coding/MedHCPCSGenInfo/index.html.
   27
      28
         CMS HCPCS – General Information, accessed July 6, 2017 https://www.cms.gov
   28 /Medicare/Coding/MedHCPCSGenInfo/index.html.
                                          -12-                Case No. 16-cv-01255-GPC-AGS
               DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                    CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3510 Page 34 of
                                     136




    1                         monitoring for patient with either mechanical heart valve(s),
    2                         chronic atrial fibrillation, or venous thromboembolism who
    3                         meets Medicare coverage criteria, under the direction of a
    4                         physician; includes: face-to-face demonstration of use and care
    5                         of the INR monitor, obtaining at least one blood sample,
    6                         provision of instructions for reporting home INR test results, and
    7                         documentation of patient ability to perform testing prior to its
    8                         use"
    9                 x       G0249: "Provision of test materials and equipment for home INR
   10                         monitoring of patient with either mechanical heart valve(s),
   11                         chronic atrial fibrillation, or venous thromboembolism who
   12                         meets Medicare coverage criteria; includes provision of materials
   13                         for use in the home and reporting of test results to physician;
   14                         testing not occurring more frequently than once a week"
   15                 x       G0250: "Physician review, interpretation, and patient
   16                         management of home INR testing for a patient with either
   17                         mechanical heart valve(s), chronic atrial fibrillation, or venous
   18                         thromboembolism who meets Medicare coverage criteria;
   19                         includes face-to-face verification by the physician that the patient
   20                         uses the device in the context of the management of the
   21                         anticoagulation therapy following initiation of the home INR
   22                         monitoring; not occurring more frequently than once a week"29
   23          24.    Medicare first issued a National Coverage Determination (NCD)
   24 relating to home INR monitoring in 2002 for patients with mechanical heart
   25
        29
   26     Test materials include four tests. Centers for Medicare & Medicaid System, “Pub
        100-04 Medicare Claims Processing,” available at
   27
      https://www.cms.gov/Regulations-and-
   28 Guidance/Guidance/Transmittals/downloads/R1562CP.pdf.
                                           -13-                                 Case No. 16-cv-01255-GPC-AGS
             DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                  CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3511 Page 35 of
                                     136




    1 valves.30 Medicare issued a broader NCD in August 2008:
    2                 "For services furnished on or after March 19, 2008, Medicare will
    3                 cover for the use of home PT/INR monitoring for chronic, oral
    4                 anticoagulation management for patients with mechanical heart valves,
    5                 chronic atrial fibrillation, or venous thromboembolism (inclusive of
    6                 deep venous thrombosis and pulmonary embolism) on warfarin. The
    7                 monitor and the home testing must be prescribed by a treating
    8                 physician as provided at 42 CFR 410.32(a), and all of the following
    9                 requirements must be met:
   10                 (1)     The patient must have been anticoagulated for at least 3 months
   11                         prior to use of the home INR device; and,
   12                 (2)     The patient must undergo a face-to-face educational program on
   13                         anticoagulation management and must have demonstrated the
   14                         correct use of the device prior to its use in the home; and,
   15                 (3)     The patient continues to correctly use the device in the context of
   16                         the management of the anticoagulation therapy following the
   17                         initiation of home monitoring; and,
   18                 (4)     Self-testing with the device should not occur more frequently
   19                         than once a week."31
   20 IV.      THE INRATIO® PRODUCTS PROVIDED VALUE TO PUTATIVE
               CLASS MEMBERS, CONTRARY TO MR. ANDRIEN’S ASSERTIONS
   21
               25.    Mr. Andrien asserts that each and every putative class member received
   22
   23   30
        CMS National Coverage Determinations, accessed July 6, 2017 https://www.cms.
   24 gov/medicare-coverage-database/details/nca-decision-memo.aspx?NCAId=72.
        31
   25   CMS National Coverage Determinations, accessed July 6, 2017 https://www.cms.
      gov/medicare-coverage-database/details/ncd-details.aspx?ncdid=269. Other payors
   26 may have similar guidelines. Aetna’s coverage is “consistent with the conclusions of
   27 an assessment from the Centers for Medicare & Medicaid Services (CMS, 2008).”
      Aetna Prothrombin Time (INR) Home Testing Devices, accessed July 6, 2017.
   28 http://www.aetna.com/cpb/medical/data/100_199/0173.html.
                                             -14-                 Case No. 16-cv-01255-GPC-AGS
             DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                  CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3512 Page 36 of
                                     136




     1 "no intrinsic value" from the INRatio® products "because the products were not
     2 able to perform their function of providing accurate and reliable results for
     3 anticoagulant management."32 He indicates that he "determined" that the products
     4 "had no intrinsic value" based on correspondence between FDA and Alere, FDA
     5 recalls, and product complaints.33 However, the information Mr. Andrien relied
     6 upon does not provide a basis to reach conclusions as to whether, and to what
     7 extent, putative class members received value from the INRatio® products. Most
     8 notably, Mr. Andrien did not consider any empirical data or studies relating to the
     9 performance of the INRatio® products in reaching this conclusion.
    10            26.    In contrast to Mr. Andrien's approach, the accuracy of the INRatio®
    11 products can be evaluated empirically. Available data show that in the vast majority
    12 of instances the INRatio® products provided accurate results for anticoagulation
    13 management, thereby providing patients with value. For example, analysis of the
    14 MAPLE data, consisting of more than 186,000 data records comparing INRatio® to
    15 lab readings, reveals that the INRatio® readings are accurate within standards
    16 established by the International Standards Organization (ISO) the vast majority
    17 (97%) of the time.
    18            27.    Evaluating actual empirical data is necessary for determining whether
    19 putative class members received value from the products and therefore what, if any,
    20 economic damage they incurred. By not taking such information into account, Mr.
    21 Andrien commits the fundamental mistake he indicates should be avoided. That is,
    22 he cautions that "a damages award under the full refund may result in a windfall to
    23 plaintiffs because they would receive a full refund of their purchase price, in
    24 addition to the value received from their purchase of the product."34 Mr. Andrien
    25 nevertheless assigns a full refund in instances when INRatio® products delivered
    26   32
              Andrien Report, p. 6.
    27   33
              Andrien Report, pp. 11-13.
    28   34
              Andrien Report, p. 14.
                                                          -15-                     Case No. 16-cv-01255-GPC-AGS
                DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                     CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3513 Page 37 of
                                     136




    1 accurate readings, effectively creating the economic "windfall" he warns against.
    2          28.    Dr. Richard SanGeorge will explain the data that Alere San Diego has
    3 collected over time that demonstrate the accuracy of the device. These data are
    4 important to my analysis, and I describe my analysis of these data below.
    5          29.    To start, Figure 1 below shows what is known as a "density scatter
    6 plot" or a "heat map" comparing the readings on the INRatio® device to readings on
    7 a lab machine.35 The plot is constructed by taking each of the 186,384 records from
    8 the MAPLE data and plotting the lab reading (x-axis) versus the INRatio® reading
    9 (y-axis).36 The plot is color-coded such that regions with more data points are in
   10 red, followed by orange, then yellow, then green, and finally by shades of blue
   11 where the fewest number of data points fall. The chart is logarithmically scaled such
   12 that the darkest red color on the scale corresponds to 10,000 data points, the orange
   13 corresponds to 1,000 data points, green corresponds to 100 data points, and the
   14 darkest blue regions have 1 data point. The white regions have no data points.
   15          30.    The purpose of this type of graph is to illustrate how well the INRatio®
   16 and lab readings correspond to one another. For example, if the readings on the
   17 INRatio® were always equivalent to readings on the lab machine, we would expect
   18 the data points (and hence the red colors showing the dense regions of the plot) to
   19
        35
   20      In this section, I describe the accuracy of the INRatio® product compared to a lab
        reading. I understand that lab readings also vary depending on a number of
   21
        circumstances. See FDA Public Workshop, “Point of Care PT/INR Devices for
   22   Monitoring Warfarin Therapy,” pp. 126-128, available at
        https://www.fda.gov/downloads/MedicalDevices/NewsEvents/WorkshopsConferenc
   23
        es/UCM491546.pdf. Nevertheless, in this section I measure the accuracy of the
   24   INRatio® device in comparison to a lab without consideration of the possibility that
        the lab reading could be incorrect. In this respect, any inferences from this section
   25
        about the accuracy of the INRatio® device will overstate the degree to which the
   26   INRatio® device’s readings are inaccurate since it could be the case that the
        INRatio® is correct and the lab is not.
   27
      36
         Note that the maximum INR reading in the MAPLE data is 10 for lab readings
   28 and 7.5 for device readings.
                                            -16-              Case No. 16-cv-01255-GPC-AGS
             DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                  CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3514 Page 38 of
                                     136




    1 fall along a diagonal line running from the lower left to upper right corner of the
    2 plot. This is sometimes referred to as the "identity line" as it traces out the region of
    3 the plot where the two readings would fall if they are exactly identical. If instead, as
    4 Mr. Andrien categorically asserts, the INRatio® products "had no intrinsic value,"
    5 "provided incorrect readings," and "were harmful to patients and provided them with
    6 negative value" then the data points may be spread randomly within the plot, and the
    7 density would not be concentrated around the "identity line."37
    8            31.    Turning to the plot of the actual data, the darkest red regions in fact
    9 primarily fall along the 45 degree "identity line." This means that INRatio® very
   10 often yielded similar if not identical readings to the lab machine. In addition, the
   11 next densest regions of the plot (the oranges and yellows) typically fall relatively
   12 close to the "identity line." For example, the ISO standards relating to INR home
   13 monitoring devices indicate that 90% of readings should fall within 0.5 INR units of
   14 the lab reading for lab INRs less than 2 and within 30% of the lab reading for lab
   15 INRs greater than or equal to 2.38 As shown in the figure, the reds, oranges, and
   16 yellows generally fall within the dashed lines, which indicate the ISO limits for
   17 accuracy. This demonstrates that while some readings do not necessarily match the
   18 lab reading exactly, they are close enough to meet the ISO accuracy standard.
   19
   20
   21
   22
   23   37
             Andrien Report, pp. 10-11.
   24   38
          FDA Public Workshop, “Point of Care PT/INR Devices for Monitoring Warfarin
   25   Therapy,” p. 192, available at
        https://www.fda.gov/downloads/MedicalDevices/NewsEvents/WorkshopsConferenc
   26   es/UCM491546.pdf. The ISO accuracy standard does not indicate criteria for INR
   27   results greater than or equal to 4.5. In the figures below, I use the 30% criteria
        associated with INR results between 2 and 4.5 for all INR values greater than or
   28   equal to 2.
                                                   -17-                 Case No. 16-cv-01255-GPC-AGS
               DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                    CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3515 Page 39 of
                                     136




     1 Figure 1: Scatter plot comparing INRatio® to lab readings from MAPLE
     2
                       10
                                                                                                 10,000
     3
                        9
     4
     5                  8

     6                  7
                                                                                                 1,000

     7
                        6
     8
          Device INR




     9                  5                                                                        100

    10                  4
    11
                        3
    12                                                                                           10
                        2
    13
    14                  1

    15
                                                                                                 1
                              1     2      3      4      5    6      7     8      9     10
    16                                          Identity Line       ISO Limits
                                                     Lab INR
    17
    18
    19                 32.   Figure 2 below provides a more aggregate view of the results from the

    20 MAPLE data. It shows that 97% of all readings fall within the ISO limits of
    21 accuracy. In other words, 97% of the data points in Figure 1 are within the dashed
    22 lines.
    23
    24
    25
    26
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    28
                                                             -18-                     Case No. 16-cv-01255-GPC-AGS
                   DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                        CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3516 Page 40 of
                                     136




    1 Figure 2: Aggregated results of MAPLE data
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    3
    4
    5
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   10
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   16
   17            33.    In summary, my analysis of the MAPLE data demonstrates that the vast
   18 majority of readings with the INRatio® product were accurate within standards
   19 established by the ISO, which is inconsistent with Mr. Andrien's and Plaintiffs'
   20 categorical assertions that INRatio® products "had no intrinsic value," "provided
   21 incorrect readings," "were harmful to patients and provided them with negative
   22 value," "effectively did not monitor anything," and were "worthless."39
   23       34. Moreover, in light of the empirical evidence discussed above,
   24 identifying whether and to what extent any individual putative class member had
   25 discrepant readings and/or had complications as a result would involve an
   26 individualized patient-by-patient inquiry. Mr. Andrien has made no attempt to
   27
   28   39
             Andrien Report, pp. 10–11. First Amended Complaint, pp. 11, 15.
                                                 -19-              Case No. 16-cv-01255-GPC-AGS
               DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                    CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3517 Page 41 of
                                     136




    1 address this in his report.
    2 V.         MR. ANDRIEN’S ASSERTION THAT “NO REASONABLE
                 CONSUMER” WOULD HAVE PURCHASED THE INRATIO®
    3            PRODUCTS DOES NOT CONSIDER THE PROCESS AND MANNER
    4            IN WHICH PATIENTS RECEIVE THESE MONITORS

    5            35.    In addition to asserting that no patients received value from the
    6 INRatio® products, Mr. Andrien also concludes that "no reasonable consumer
                                                                                     40
    7 would have purchased the defective INRatio Products had they known the truth."
    8 Mr. Andrien's conclusions in this respect are flawed, primarily because he has not
    9 considered the perspective of physicians or the factors that influence physician
   10 choices among devices to recommend to patients. These are prescription medical
   11 devices, which implicates physician knowledge, not just the knowledge of patients.
   12            36.    Mr. Andrien did not consider the perspective of physicians, who
   13 understand the medical benefits of home monitoring, understand that devices may
   14 provide results that differ from lab testing, have access to information about
   15 competitive products through a wide range of sources, and can assess what
   16 alternatives will best suit the needs of particular patients. Rather, Mr. Andrien
   17 approaches his analysis from the standpoint of the patient and does not take into
   18 account the role of physicians in mediating the selection of prescription medical
   19 products, in weighing risk, and in relaying information to patients. Physicians have
   20 considerable information at their disposal in considering testing options, including
   21 their own experience with the product, information from package inserts, literature,
   22 colleagues, or technical materials provided by the manufacturer. Mr. Andrien's sole
                                                 41
   23 focus on consumers is therefore misplaced.
   24       37. An analysis of INRatio® use also necessitates consideration of the
   25 factors that influence choices among INR monitoring options. Mr. Andrien has not
   26
        40
             Andrien Report, p. 13.
   27
      41
         Indeed, the First Amended Complaint mentions the role of “informed healthcare
   28 providers.” First Amended Complaint, p. 44.
                                            -20-                 Case No. 16-cv-01255-GPC-AGS
               DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                    CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3518 Page 42 of
                                     136




    1 evaluated or analyzed any such factors, nor has he considered whether and to what
    2 extent purported additional information about the accuracy of the INRatio® devices
    3 would affect clinician choices. Recognizing that patient compliance is an important
    4 goal, features such as ease of use, amount of blood required, product packaging,
    5 prior experience, or manufacturer responsiveness to questions may play into a
    6 decision to use INRatio® products versus an alternative. How does the physician's
    7 own experience with INRatio®, lab testing, or other home monitoring devices affect
    8 his or her views of the product? Not having analyzed criteria upon which choices of
    9 device are made, Mr. Andrien has no basis for his opinion that "reasonable
   10 consumers" would not have obtained these devices.
   11         38.    While I am not a medical or clinical expert, it is clear that a variety of
   12 information was publicly available about the performance of the INRatio® products
   13 during the putative class period. For example, information was available in
   14 literature and the package insert. (I discuss the INRatio® package insert in Section
   15 VII.) Indeed, plaintiffs cite a 2007 article purportedly showing that INRatio® was
   16 less accurate than other home monitoring devices when compared against a lab
   17 machine. Notably, had any physician read this article or been aware of it then he or
   18 she would have access to the type of information that Mr. Andrien appears to
   19 suggest market participants were unaware of.
   20         39.    Finally, each physician's perspective, and in particular the attributes he
   21 or she considers when recommending an INR monitoring method or device, are
   22 individualized issues. Assessing them would therefore involve a physician-by-
   23 physician and patient-by-patient inquiry. Mr. Andrien has not made any attempts to
   24 address these individualized issues in his report.
   25 VI.     MR. ANDRIEN’S COMPUTATION OF PAYMENTS MADE BY
              PUTATIVE CLASS MEMBERS IGNORES IMPORTANT
   26         INFORMATION RELEVANT TO HIS CLAIM THAT A “FULL
   27         REFUND” IS AN APPROPRIATE DAMAGES MODEL

   28         40.    With respect to Mr. Andrien's actual computation of damages, I find
                                                      -21-                     Case No. 16-cv-01255-GPC-AGS
            DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                 CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3519 Page 43 of
                                     136




    1 that he makes two errors:
    2                 x       First, his calculations include payments made by putative class
    3                         members and their insurers. He has not, however, explained the
    4                         basis on which putative class members can pursue claims on
    5                         behalf of third-party payors.
    6                 x       Second, his calculations treat all payments as if they were for the
    7                         products at issue, but for most patients, AHM provides a bundled
    8                         service and does not sell monitors and strips. The service
    9                         includes providing testing materials (monitor and strips), and
   10                         also includes training and a reporting system for sharing patients’
   11                         test results with their physicians. This further causes an
   12                         overstatement of the amounts putative class members paid for
   13                         the products at issue.
   14          41.    For most products and services in healthcare settings (e.g.,
   15 pharmaceuticals, devices, physician services, hospital services), insurers typically
   16 cover the majority of payment, and consumers are typically responsible for a copay
   17 or coinsurance, sometimes after fulfilling a deductible. Reimbursement structures
   18 for the INRatio® products are no different. For example, under Medicare
   19 reimbursement, patients are generally responsible for 20% of the fee for every four
   20 tests performed, with Medicare covering the remaining 80%.42 Further, many
   21 patients have supplemental insurance that will pay for all or some portion of the
   22
        42
   23      “For services paid under the physician fee schedule (physician office or IDTF),
        patients are responsible for 20% of the Medicare allowed amount after they satisfy
   24   the annual Medicare Part B deductible. (Slightly higher copayments may be charged
   25   if the services are billed by a non-participating physician who does not accept
        assignment. Charges are subject to the limiting charge rules under these
   26   circumstances.)” See Roche, “2015 Medicare Reimbursement Handbook for
   27   Healthcare Professionals,” available at http://www.coaguchek-usa.com/content/dam
        /internet/dia/coaguchek/coaguchek-usa_com/coaguchek_hcp/pdf/CoaguChek-
   28   Medical-Reimbursement-Handbook-for-HCP.pdf, p. 35.
                                                   -22-               Case No. 16-cv-01255-GPC-AGS
             DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                  CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3520 Page 44 of
                                     136




    1 20% the patient would otherwise be responsible for. For example, Kaiser Family
    2 Foundation statistics during the putative class period indicate that 86% of Medicare
    3 beneficiaries had supplemental insurance coverage.43 Indeed, these features of the
    4 market are made apparent in the deposition of Sallie Kennedy:
    5                 Q. Does every patient pay the same price? A. No. … Q. So there are
    6                 variations in amount that patients pay? A. Correct. What are the criteria
    7                 that determines the variations? A. Their insurance. So their insurance
    8                 tells us what we are allowed to charge by contract and the patient if the
    9                 patient has a copayment. Then that copayment is based on a percentage
   10                 of that contracted amount that the insurance company
   11                 determines….The insurance company would adjudicate. And then a
   12                 copayment, if they did not have a secondary insurance or a Medicaid
   13                 crossover then the payment -- then that copayment would go to the
   14                 patient.44
   15          42.    Consistent with this evidence, Exhibit 6 of Sallie Kennedy's deposition
   16 pertaining to AHM indicates that "[t]hese services would have been paid for by the
   17 full spectrum of payors with only a small percentage of payments being made by
   18 private individuals."45
   19          43.    Despite this, Mr. Andrien computes damages as the sum of all revenue
   20 AHM and ASD received in connection with INRatio® use in the Patient Self
   21 Testing (PST) segment, including both patient and insurance payments.46 He has not
   22 explained whether putative class members have any right to recover payments made
   23   43
         Kaiser Family Foundation, “A Primer on Medicare: Key Facts About the
   24 Medicare Program and the People it Covers,” accessed July 6, 2017,
   25 http://www.kff.org/report-section/a-primer-on-medicare-what-types-of-
      supplemental-insurance-do-beneficiaries-have/.
   26 44
         Kennedy Dep. at 40:7–41:15.
   27 45
         Kennedy Dep. Exh. 6 ALR_AND0000020298 at 303.
   28 46 Andrien Report, p. 6.
                                              -23-              Case No. 16-cv-01255-GPC-AGS
             DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                  CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3521 Page 45 of
                                     136




    1 on their behalf.
    2            44.    Furthermore, my understanding is that the revenue Mr. Andrien has
    3 included in his damages calculation for AHM includes the IDTF services AHM
    4 provides. In particular, the revenues AHM receives associated with PST include
    5 payments for services that AHM provides in supplying testing materials, as well as
    6 facilitating information sharing with the treating physician and training patients.
    7            45.    Because his calculations include payments made not only for the
    8 products at issue but also for services that AHM provides, including services which
    9 are not specific to the use of INRatio®, Mr. Andrien further overstates potential
   10 damages.
   11 VII. MR. ANDRIEN HAS NOT CONSIDERED KEY FACTORS THAT
           GIVE RISE TO INDIVIDUALIZED ISSUES AND DEMONSTRATE
   12      THAT THE MAJORITY OF PUTATIVE CLASS MEMBERS LIKELY
   13      DID NOT INCUR ECONOMIC DAMAGES

   14      46. My understanding is that all of the putative class members need some
                              47
   15 form of INR monitoring. Unlike some consumer goods (e.g., a new television),
   16 simply foregoing "a purchase" is not an option. As a result, an analysis of whether
   17 and to what extent any given putative class member was harmed by the purported
   18 conduct entails an assessment of each class member's economic situation in the
   19 actual world as compared to a "but-for" world in which their INR is monitored.
   20 This introduces additional considerations that Mr. Andrien has not evaluated that
   21 give rise to individualized issues among putative class members and indicate that the
   22 vast majority of putative class members likely would not have incurred any
   23 economic damage as a result of the purported conduct. Two major considerations
   24 are as follows:
   25                   x       Patient payments in the "but-for" world. All putative class
   26                           members would have made payments for INR testing even if
   27                           they used a different brand of device or underwent lab testing. In
   28   47
             First Amended Complaint, p. 22-34.
                                                         -24-                     Case No. 16-cv-01255-GPC-AGS
               DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                    CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3522 Page 46 of
                                     136




    1                        fact, for patients on Medicare and many insurance plans,
    2                        reimbursement for home INR monitoring is set at a fixed level
    3                        regardless of the brand of device used. This observation, in
    4                        conjunction with empirical evidence that the vast majority of
    5                        INRatio® readings were accurate, illustrates that putative class
    6                        members could not have been harmed economically in most
    7                        instances: they had accurate readings and paid a fixed amount
    8                        (and if patients switched off of INRatio®, they would receive
    9                        replacement testing materials at no extra charge). Moreover,
   10                        determining whether a patient's payments were subject to an
   11                        insurance contract, the nature of that contract in terms of the
   12                        patient's payment responsibility, or whether a patient purchased
   13                        the INRatio® products directly out of pocket is an individualized
   14                        issue that will vary across putative class members.
   15                x       Performance of INR monitoring in the "but-for" world. Because
   16                        Mr. Andrien computes damages as the full amount paid by every
   17                        putative class member in connection with the INRatio®
   18                        products, he is implicitly comparing the performance of the
   19                        INRatio® to a standard of perfection, not to an empirically based
   20                        benchmark. Moreover, his assertion that "no reasonable
   21                        consumer" would use the products also does not take into
   22                        account the performance of potential alternatives and how that
   23                        would affect choices. Evidence regarding benchmarks makes
   24                        clear that Mr. Andrien's implicit comparison to a standard of
   25                        perfection is unrealistic, and therefore Mr. Andrien's assessment
   26                        of the economic impact on putative class members is inaccurate.
   27         47.    For patients covered by insurance, home INR monitoring payments are
   28 generally based on reimbursement codes that are not specific to a particular brand of
                                            -25-                  Case No. 16-cv-01255-GPC-AGS
            DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                 CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3523 Page 47 of
                                     136




     1 device. See, for example, the Medicare G0249 code quoted above.
     2          48.    The implication is that any patient covered by Medicare will have an
     3 identical price, regardless of whether they are using the INRatio® or, for example,
     4 the CoaguChek®. Moreover, the prices at which Alere or Roche sell the devices to
     5 their direct customers (distributors) will not affect the price paid by the patient in
     6 these instances.
     7          49.    This is an important observation because it means that in the "but-for"
     8 world, the patient's payments will be the exact same as they were in the actual
     9 world, even if he or she used a competing home monitoring device. Thus, in the
    10 majority of instances patients received a device that provided accurate results (see
    11 Section IV) at a fixed price that would be unaffected by the brand of device.
    12          50.    Moreover, had patients opted to monitor their INRs by visiting a lab
    13 testing facility or anticoagulation clinic instead of utilizing home monitoring, they
    14 still would incur associated costs. For example, while lab testing is reimbursed
    15 differently than home monitoring, patients still would have incurred copays or
    16 coinsurance fees associated with lab tests and physician office visits. They would
    17 also bear the inconvenience and associated costs of transportation to and from
    18 testing facilities, which are not incurred with home monitoring. They could also
    19 experience less time in therapeutic range, giving rise to the potential for increased
    20 health care costs.
    21          51.    I note that some putative class members appear to have purchased the
    22 INRatio® products out of pocket and therefore did not obtain them pursuant to the
    23 types of insurance contracts referenced above. Per Sallie Kennedy's testimony, it
    24 appears that this would be a rare occurrence.48 Unlike under the insurance contracts
    25 discussed above, these patients' payments may vary depending on the market price
    26
         48
    27   Kennedy Dep. at 35:4–8. “Q. Is it possible for someone to pay for the device
       without any insurance? A. There have been a few cases, but we’re talking maybe
    28 two or three out of a hundred thousand patients.”
                                               -26-               Case No. 16-cv-01255-GPC-AGS
              DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                   CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3524 Page 48 of
                                     136




    1 of the available products. However, determining whether a patient's payments were
    2 subject to an insurance contract, the nature of that contract in terms of the patient's
    3 payment responsibility, or whether a patient purchased the INRatio® products out of
    4 pocket is an individualized issue that will vary across putative class members. Mr.
    5 Andrien has made no attempt to address this in his report.
    6         52.    Mr. Andrien also does not consider the accuracy and performance of
    7 potential alternatives to the INRatio® products. To evaluate the economic impact
    8 on putative class members of device inaccuracy, a correct analysis would compare
    9 INRatio® to empirically based benchmarks. For example, if the INRatio® products
   10 hypothetically did not work in 2 out of every 5,000 patients, but market participants
   11 reasonably expected that the products would not work in 1 out of every 5,000
   12 patients, then there would be 1 instance of "unexpected" lack of performance, not 2.
   13 The same logic applies if comparing INRatio® to an alternative method of
   14 monitoring that does not work in 1 out of every 5,000 patients.
   15         53.    Because Mr. Andrien computes damages as the full amount every
   16 putative class member paid in connection with the INRatio® products, he is
   17 implicitly comparing the performance of the INRatio® to a standard of perfection,
   18 not to an empirically based benchmark. Potential benchmarks may include
   19 physicians’ expectations of the INRatio® product performance, alternative methods
   20 of monitoring INR, or alternative home monitoring devices. My purpose in
   21 describing these potential benchmarks is not to render an opinion from the
   22 standpoint of a medical expert or clinician as to a precise comparison of
   23 performance between INRatio® and potential alternatives. Rather, from the
   24 standpoint of an economic damage computation, it is my opinion that comparison to
   25 relevant benchmarks is the correct approach. Here, a standard of perfection, as Mr.
   26 Andrien implicitly assumes, is not the correct benchmark when evaluating potential
   27 economic damage.
   28         54.    For example, Mr. Andrien does not consider physicians'
                                              -27-                Case No. 16-cv-01255-GPC-AGS
            DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                 CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3525 Page 49 of
                                     136




    1 contemporaneous understanding and expectation of the accuracy of the INRatio®
    2 products. Alere's FDA-compliant package insert, for example, demonstrates that
    3 perfect concordance with a lab device would not be expected. A graph from
    4 INRatio's® package insert is reproduced below.49 It shows that the INRatio®
    5 readings are accurate, but at times vary from the lab reading. For example, a point in
    6 the lower right corner appears to be just under 2 based on the INRatio® reading but
    7 around 5.5 based on the lab reading. Thus, the package insert (much like the actual
    8 device performance discussed in Section IV) shows that the INRatio® readings are
    9 accurate but will occasionally diverge from the lab result. The package insert is thus
   10 inconsistent with Mr. Andrien's methodology, which implicitly compares INRatio®
   11 performance to a standard of perfection.
   12
      Figure 3: Excerpt from INRatio® package insert comparing INRatio® to lab
   13 readings
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   24
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   27
   28   49
             Alere. “INRatio® PT/INR Test Strips Package Insert,” 2013.
                                                 -28-               Case No. 16-cv-01255-GPC-AGS
               DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                                    CERTIFICATION

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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3526 Page 50 of
                                     136




     1          55.    I also understand that a possible alternative to using INRatio® would
     2 be to forego home monitoring altogether. However, I understand that home
     3 monitoring has benefits for qualified patients compared with using a lab or
     4 anticoagulation clinic for testing.50 Thus, the potential clinical downside of these
     5 alternatives would need to be considered in the "but-for" world to the extent that
     6 was the alternative chosen for a particular putative class member.
     7          56.    Further, other brands of home monitoring devices could be alternatives
     8 in the "but-for" world. However, I understand that these potential alternative
     9 devices would not produce "perfect" readings in every instance.51 This too is
    10 inconsistent with Mr. Andrien's methodology, which implicitly compares INRatio®
    11 performance to a standard of perfection.
    12 VIII. CONCLUSION
    13          57.    In conclusion, Mr. Andrien has not performed the type of empirical or
    14
    15   50
           See, e.g., Hanna E. Bloomfield et al., Meta-analysis: Effect of Patient Self-testing
    16   and Self-management of Long-Term Anticoagulation on Major Clinical Outcomes
         (Annals of Internal Medicine, 2011). Joseph Garcia-Alamino et al., Self-monitoring
    17   and Self-management of oral anticoagulation (Cochrane Database of Systematic
    18   Reviews, 2010). Carl Heneghan et al., Self-monitoring of oral anticoagulation:
         systematic review and meta-analysis of individual patient data (Lancet, 2012).
    19
         David Matchar et al. Effect of Home Testing of International Normalized Ratio on
    20   Clinical Events (New England Journal of Medicine, 2010). David Matchar et al.,
         The impact of frequency of patient self-testing of prothrombin time on time in target
    21
         range within VA Cooperative Study #481: The Home INR Study (THINRS), a
    22   randomized, controlled trial (Journal of Thrombosis and Thrombolysis, 2015).
         51
    23     Sara Vazquez, Ryan Fleming, and Stacy Johnson, Comparison of two point-of-
         care international normalized ratio devices and laboratory method, Blood
    24   Coagulation and Fibrinolysis (2017). See also FDA Public Workshop, “Point of
    25   Care PT/INR Devices for Monitoring Warfarin Therapy”, p. 45, available at
         https://www.fda.gov/downloads/MedicalDevices/NewsEvents/WorkshopsConferenc
    26   es/UCM491546.pdf. In addition, a large study has shown clinically equivalent
    27   outcomes with INRatio®2 versus Roche's CoaguChek XS®. See Jan Brouwer,
         Hugo Stoevelaar, and Christoph Sucker, The Clinical Impact of Different
    28   Coagulometers on Patient Outcomes, (Advances in Therapy, 2014), p. 639.
                                                 -29-               Case No. 16-cv-01255-GPC-AGS
              DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
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    1 Andren, Dina and Bludman, Sidney v. Alere, Inc., et al.
      U.S.D.C. Southern District of California, Case No. 16-cv-01255-GPC-NLS
    2
                                      PROOF OF SERVICE
    3
             I am a resident of the State of California, over the age of eighteen years, and
    4 not a party to the within Action. My business address is Sedgwick LLP, 333 Bush
                th
    5 Street, 30 Floor, San Francisco, CA 94104. On July __, 2017, I served the within
      document:
    6
         DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO
    7                   PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
    8     ;        MAIL – by placing the document(s) listed above in a sealed envelope with
                   postage thereon fully prepaid, in the United States mail at Chicago, Illinois,
    9              addressed as set forth below.
   10             PERSONAL SERVICE - by personally delivering the document(s) listed
                   above to the person(s) at the address(es) set forth below.
   11
                  OVERNIGHT COURIER - by placing the document(s) listed above in a
   12              sealed envelope with shipping prepaid, and depositing in a collection box
                   for next day delivery to the person(s) at the address(es) set forth below via
   13              FEDERAL EXPRESS..
   14             ELECTRONIC MAIL– by causing the document(s) listed above to be sent
   15              via ELECTRONIC MAIL to the person(s) listed below. I did not receive,
                   within a reasonable time after the transmission, any electronic message or
   16              other indication that the transmission was unsuccessful.
   17
             I declare under penalty of perjury under the laws of the State of California
   18 that the above is true and correct. Executed on July __, 2017, at San Francisco,
      California.
   19
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   21
                                      Attorneys for Plaintiffs
   22
        Mark P. Pifko, Esq.                             Attorneys for Plaintiffs
   23   Roland K. Tellis, Esq.                          DINA ANDREN AND SIDNEY BLUDMAN
        Peter B. Klausner, Esq.
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   27                trellis@barronbudd.com
                     pklausner @barronbudd.com
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                 Scher Declaration

                         Appendix A




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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3531 Page 55 of
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 Appendix A. Curriculum vitae of Benjamin William Douglas Scher
 SUMMARY OF EXPERIENCE

 Ben Scher is an expert in providing data-driven insights to help solve complex problems. He has
 extensive experience performing empirical analyses of large data sets, conducting statistical and
 economic analysis, and serving as lead consulting expert in government investigations and through all
 phases of litigation. Mr. Scher’s work has focused extensively on the healthcare and life sciences sectors.
 He has served as lead consulting expert for drug manufacturers, medical device manufacturers, and
 healthcare providers on numerous engagements, many of which involve alleged False Claims Act (FCA)
 violations. He also recently served as a testifying expert for a large healthcare provider in a matter
 involving allegations of FCA violations. Many of the matters Mr. Scher has consulted on involve
 hundreds of millions of dollars or more in controversy.

 SELECTED EXPERIENCE

    In United States ex rel. George v. Fresenius Medical Care Holdings, Inc., served as testifying expert
     on behalf of Fresenius Medical Care. Analyzed several large internal databases and claims databases.
     Deposition taken January 2016. In late 2016, majority of opposing expert’s opinions excluded under
     Daubert and Fresenius granted summary judgment on FCA claims.
    Serving as lead consulting expert for a large hospital chain facing a government investigation relating
     to allegations of FCA violations. Analyzing sampling and extrapolation methods used by the
     Government and determining appropriateness and statistical validity of the approach. Evaluating
     potential economic damages. Presented analyses to counsel for DOJ.
    Serving as lead consulting expert for a medical device manufacturer facing a government investigation
     regarding allegations of FCA violations for several products. Utilizing several large data sets pertaining
     to the products at issue and their clinical usage to perform statistical and empirical analyses of the
     allegations. Evaluating potential economic damages. Presented analyses to counsel for DOJ and OIG
     on several occasions.
    Provided a report relating to statistical analysis of several data sets to a medical device manufacturer in
     support of its interactions with FDA regarding its manufacturing of a certain product.
    Serving as lead consulting expert for a large provider of healthcare services. Analyzing several large
     internal data sets to gather insights on issues relating to the frequency and medical appropriateness of
     certain services. Assisting counsel in discussions with the government.




                                                -1-                     Case No. 16-cv-01255-GPC-AGS
      DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                           CERTIFICATION




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    Serving as lead consulting expert for a pharmaceutical company facing an investigation relating to
     alleged off-label promotion. Evaluating causation and potential economic damages using several large
     data sets pertaining to the sales and reimbursement of the products. Assisting counsel in discussions
     with the government.
    Serving as lead consulting expert for a medical device manufacturer facing a government investigation
     regarding allegations of alleged kickbacks and medically unnecessary services. Analyzing several large
     data sets relating to the sales and pricing of certain products and the frequency of certain services.
    Served as lead consulting expert for a major drug manufacturer throughout a multiyear government
     investigation spanning several products and qui tam allegations. Provided consulting expertise on
     liability, causation, and damages. Allegations included off-label promotion, violations of the Anti-
     Kickback Statute, and violations of federal and state FCA laws. Analyzed hundreds of millions of claim
     records submitted to Medicare and state Medicaid programs. Also analyzed the manufacturer’s pricing
     patterns and medical providers’ prescription and drug administration patterns. Evaluated potential
     economic damages. Worked closely with counsel for several years throughout various phases of
     government investigations and litigation. Participated in settlement discussions with the government.
    Serving as lead consulting expert for a major nationwide healthcare provider facing allegations of FCA
     violations stemming from the frequency with which certain services were provided. Analyzing several
     large databases to evaluate potential causation and economic damages.
    Served as co-lead consulting expert for a major brand drug manufacturer in a matter involving
     allegations of off-label marketing. Worked with several large databases to provide insight on causation
     and potential economic damages issues. Evaluated statistical validity of approach used by Relator’s
     expert to sample sales representatives and their “call notes.”
    Worked on behalf of a specialty pharmacy in a matter involving allegations of Anti-Kickback Statute
     violations. Supported multiple experts throughout the litigation and provided advice to counsel at trial.
    Provided data analytics and meta-analysis of healthcare literature on behalf of a medical device
     manufacturer in support of its interactions with FDA regarding the performance of certain products.
    Provided data analytics, cost-benefit analyses, and meta-analysis of healthcare literature on behalf of a
     medical device manufacturer in support of its interactions with FDA regarding a potential expansion of
     the approved indications for a product.




                                               -2-                     Case No. 16-cv-01255-GPC-AGS
     DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                          CERTIFICATION



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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3533 Page 57 of
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    Served as lead manager supporting expert analyses of Dr. B. Douglas Bernheim on behalf of Amgen in
     Amgen, Inc. v. F. Hoffman-La Roche Ltd. The court was considering whether to grant a permanent
     injunction barring F. Hoffman-La Roche from selling and marketing a product that infringed Amgen’s
     patents. Analyses and testimony focused on the implications of recently introduced Medicare
     reimbursement policies on competitive dynamics among drug manufacturers and the impact of the
     potential entry of F. Hoffman-La Roche’s product on Amgen, healthcare providers, Medicare, and
     third-party payors. Evaluated discovery documents and data and provided advice to counsel throughout
     expert and fact witness depositions and the permanent injunction hearing. The court granted a
     permanent injunction in Amgen’s favor, barring F. Hoffman La-Roche from entering the US market
     with its competing drug.
    Supported several experts including Dr. Eric M. Gaier on behalf of pharmaceutical manufacturers in
     various matters involving allegations pertaining to the published Average Wholesale Prices for
     prescription drugs. Assisted experts with analyses of common impact, feasible damage methodologies,
     and merits. Sample matters worked on include In re Pharmaceutical Industry Average Wholesale Price
     Litigation; State of Nevada v. American Home Products Corp.; State of Montana v. Abbott Labs.;
     Swanston v. TAP Pharmaceutical Products Inc.; Commonwealth of Massachusetts v. Mylan
     Laboratories, Inc.; and State of Wisconsin v. Amgen Inc.
    Supported the expert work of Dr. Eric M. Gaier on behalf of Augustine Medical, Inc. defending an
     illegal monopolization counterclaim in Augustine Medical, Inc. v. Mallinckrodt, Inc. Responsibilities
     included assisting the expert in analyses of market definition, market power, competitive impact, and
     damages. The matter was dismissed by summary judgment, and the opinion of the opposing expert was
     excluded under Daubert.
    Worked on behalf of AMD in the landmark microprocessor antitrust case AMD v. Intel. Led a team
     supporting Dr. B. Douglas Bernheim to review documents and depositions pertinent to understanding
     Intel’s and AMD’s relationships with their customers. Before the case was brought to trial, AMD and
     Intel agreed to a $1.25 billion settlement that included restrictions on certain business practices of Intel.
    Provided analysis of terms in contracts between American Express and merchants on behalf of
     American Express. These terms were alleged to be anticompetitive by the United States Department of
     Justice and several states, as well as by several direct action merchants in two different matters.
    Supported expert testimony of Dr. Randal Heeb in United States v. Dicristina regarding econometric
     and game theoretical evidence. The case centered on the question of whether poker is a form of
     gambling, and therefore illegal under the Illegal Gambling Business Act (IGBA). Based on analyses
     conducted using a data set of more than 415 million hands of online No Limit Hold’em poker, Bates
     White demonstrated that poker is, in fact, predominantly a game of skill, not chance. Judge Jack B.
     Weinstein ultimately ruled that poker is “predominated by skill” and therefore does not fit the definition
     of gambling under the IGBA.
    Supported the expert work of Dr. Eric M. Gaier on market definition, market power, and competitive
     impact on behalf of the District of Columbia in District of Columbia v. CVS Corp.
                                               -3-                     Case No. 16-cv-01255-GPC-AGS
     DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
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    Supported Dr. Keith Waehrer on behalf of Allflex in Allflex USA, Inc. v. Avid Identification Systems,
     Inc. The case involved allegations that defendant Avid engaged in exclusionary conduct involving radio
     frequency identification microchips for pets. Supported Dr. Waehrer’s economic analysis of relevant
     markets, market power, and the impact of the conduct at issue.

 PUBLICATIONS

    “Similar Products at Different Prices: Can Biopharmaceutical Companies Segment Markets?,” with
     Christopher Stomberg, Richard Manning, Kathleen Twigg, and Andrew Huson, International Journal
     of the Economics of Business 22, no. 2 (2015): 231–44.
    “Medicare Part B Data Made Available to the Public: A Wealth of Information, but Approach with
     Care,” with Kathleen Twigg and Andrew Huson, Pharmaceutical Executive, Nov. 2014.
    “Empirical Analysis of Causation and Damages in Off-Label Marketing Cases,” with Eric M. Gaier
     and Arun Sharma, Bates White Economic Consulting, Apr. 2013.

 PRESENTATIONS AND PANELS

    Participated as an expert witness in McDermott Will & Emery’s Expert Training Program, May 2015
     and 2017
    “Medicare Part B physician payments,” presented at Bates White’s Life Sciences Symposium, June
     2014

 EDUCATION

    BS, Policy Analysis and Management, Cornell University




                                               -4-                     Case No. 16-cv-01255-GPC-AGS
     DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
                                          CERTIFICATION



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         Scher Declaration

                  Appendix B




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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3536 Page 60 of
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 Appendix B. Materials considered
    Deposition of Deborah Blundell, Apr. 18, 2017.
    Deposition of Sallie Kennedy, May 10, 2017.

    Deposition of Sallie Kennedy, Exh. 6, ALR_AND0000020298-304.
    Expert Report of Jeffrey S. Andrien, June 21, 2017.
    First Amended Complaint, Oct. 3, 2016.

    MAPLE data.
    Bloomfield, Hanna E., Ange Krause, Nancy Greer, Brent C. Taylor, Roderick MacDonald, Indulis
     Rutks, Preetham Reddy, Timothy J. Wilt, Meta-analysis: Effect of Patient Self-testing and Self-
     management of Long-Term Anticoagulation on Major Clinical Outcomes (Annals of Internal
     Medicine, 2011).
    Brouwer, Jan, Hugo Stoevelaar, and Christoph Sucker, The Clinical Impact of Different
     Coagulometers on Patient Outcomes, (Advances in Therapy, 2014).
    Garcia-Alamino, Joseph, AM Ward, P Alonso-Coello, R Perera, C Bankhead, D Fitzmaurice, CJ
     Heneghan. Self-monitoring and Self-management of oral anticoagulation (Cochrane Database of
     Systematic Reviews, 2010).
    Heneghan, Carl, Alison Ward, Rafael Perera, Clare Bankhead, Alice Fuller, Richard Stevens, Kairen
     Bradford, Sally Tyndel, Pablo Alonso-Coello, Jack Ansell, Rebecca Beyth, Artur Bernardo, Thomas
     Decker Christensen, Manon Cromheecke, Robert G Edson, David Fitzmaurice, Alain P A Gadisseur,
     Josep M Garcia-Alamino, Chris Gardiner, Michael Hasenkam, Alan Jacobson, Scott Kaatz, Farhad
     Kamali, Tayyaba Irfan Khan, Eve Knight, Heinrich Körtke, Marcel Levi, David Bruce Matchar,
     Bárbara Menéndez-Jándula, Ivo Rakovac, Christian Schaefer, Andrea Siebenhofer, Juan Carlos
     Souto, Rubina Sunderji, Kenneth Gin, Karen Shalansky, Heinz Völler, Otto Wagner, Armin
     Zittermann. Self-monitoring of oral anticoagulation: systematic review and meta-analysis of
     individual patient data (Lancet, 2012).
    Matchar, David, Alan Jacobson, Rowena Dolor, Robert Edson, Lauren Uyeda, Ciaran S. Phibbs, Julia
     E. Vertrees, Mei-Chiung Shih, Mark Holodniy, Philip Lavori. Effect of Home Testing of International
     Normalized Ratio on Clinical Events (New England Journal of Medicine, 2010).
    Matchar, David, Sean R. Love, Alan K. Jacobson, Robert Edson, Lauren Uyeda, Ciaran S. Phibbs,
     Rowena J. Dolor. The impact of frequency of patient self-testing of prothrombin time on time in target
     range within VA Cooperative Study #481: The Home INR Study (THINRS), a randomized, controlled
     trial (Journal of Thrombosis and Thrombolysis, 2015).



                                                    -1-                Case No. 16-cv-01255-GPC-AGS
     DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
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    Vazquez, Sara, Ryan Fleming, Stacy Johnson. Comparison of two point-of-care international
     normalized ratio devices and laboratory method (Blood Coagulation and Fibrinolysis, 2017).

    Aetna, “Prothrombin Time (INR) Home Testing Devices,” accessed July 6, 2017,
     http://www.aetna.com/cpb/medical/data/100_199/0173.html.
    Alere. “INRatio® PT/INR Test Strips Package Insert,” 2013.

    Centers for Medicare & Medicaid Healthcare Common Procedure Coding System – General
     Information, accessed July 6, 2017,
     https://www.cms.gov/Medicare/Coding/MedHCPCSGenInfo/index.html.

    Centers for Medicare & Medicaid Services, “Decision Memo for Prothrombin Time (INR) Monitor
     for Home Anticoagulation Management,” accessed July 6, 2017, https://www.cms.gov/medicare-
     coverage-database/details/nca-decision-memo.aspx?NCAId=72.

    Centers for Medicare & Medicaid Services, “National Coverage Determination (NCD) for Home
     Prothrombin Time/International Normalized Ratio (PT/INR) Monitoring for Anticoagulation
     Management (190.11),” accessed July 5, 2017, https://www.cms.gov/medicare-coverage-
     database/details/ncd-details.aspx?ncdid=269.
    Centers for Medicare & Medicaid System, “Pub 100-04 Medicare Claims Processing,” available at
     https://www.cms.gov/Regulations-and-Guidance/Guidance/Transmittals/downloads/R1562CP.pdf.

    Kaiser Family Foundation, “A Primer on Medicare: Key Facts About the Medicare Program and the
     People it Covers,” accessed July 6, 2017, http://www.kff.org/report-section/a-primer-on-medicare-
     what-types-of-supplemental-insurance-do-beneficiaries-have/.

    PR Newswire, “Inverness Medical Innovations Changes Name to Alere,” July 15, 2010, accessed July
     6, 2017, http://www.prnewswire.com/news-releases/inverness-medical-innovations-changes-name-to-
     alere-98538494.html.

    Roche, “2015 Medicare Reimbursement Handbook for Healthcare Professionals,” available at
     http://www.coaguchek-usa.com/content/dam/internet/dia/coaguchek/coaguchek-
     usa_com/coaguchek_hcp/pdf/CoaguChek-Medical-Reimbursement-Handbook-for-HCP.pdf.

    SEC Edgar Archives data, “Inverness Medical Innovations to Acquire Hemosense, Inc.,” accessed
     July 6, 2017, https://www.sec.gov/Archives/edgar/data/1127393/000119312507173736/dex991.htm.
    SEC Edgar Archives data, Alere 2017 10-k filing, Exhibit 21.1, available at
     http://otp.investis.com/clients/us/alere/SEC/sec-
     show.aspx?FilingId=12111258&Cik=0001145460&Type=PDF&hasPdf=1.
    U.S. Food and Drug Administration Public Workshop, “Point of Care PT/INR Devices for
     Monitoring Warfarin Therapy,” available at



                                               -2-                     Case No. 16-cv-01255-GPC-AGS
     DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3538 Page 62 of
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     https://www.fda.gov/downloads/MedicalDevices/NewsEvents/WorkshopsConferences/UCM491546.
     pdf.

    U.S. Food and Drug Administration, 510(k) Premarket Notification, available at
     https://www.accessdata.fda.gov/cdrh_docs/reviews/K110212.pdf.
    U.S. Food and Drug Administration, 510(k) Premarket Notification, accessed July 6, 2017,
     https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K021923.
    U.S. Food and Drug Administration, 510(k) Premarket Notification, accessed July 6, 2017,
     https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K072727.

    U.S. Food and Drug Administration, 510(k) Premarket Notification, available at
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                                               -3-                     Case No. 16-cv-01255-GPC-AGS
     DECLARATION OF BENJAMIN WILLIAM DOUGLAS SCHER IN OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS
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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3539 Page 63 of
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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3550 Page 74 of
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               San George Addendum A




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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3555 Page 79 of
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                                     Richard C. San George, Ph.D.
                                        6964 Ammonite Place
                                          Carlsbad, CA 92009
                            978-771-7440 cell     ricksangeorge@gmail.com


    PROFILE

    Highly accomplished clinical research professional with executive management experience in
    the in vitro diagnostics industry. Results driven leader for clinical validations, discovery and
    outcomes research in cardiology, diabetes, infectious disease and other areas. Experienced in
    point-of-care diagnostics including home, patient self-test and CLIA waived systems. Strong
    relationship builder and site management team member. Excellent ability to set and achieve
    strategic business goals for new products.

    EXPERIENCE

    Alere, formerly Inverness Medical Innovations (San Diego, CA)                         2010-present
    Vice President Clinical Affairs                                                       2012-present
    Senior Director, Clinical & Medical Affairs                                           2010-2012
    Leader of department of about 35 consisting of clinical directors, scientists, trial managers,
    research associates, trial assistants, data managers and biostatisticians designing and executing
    25-35 studies worldwide for all company GBUs: cardiovascular acute and chronic care,
    diabetes/metabolic syndrome, infectious disease, DOA/Tox and women’s health, and for
    company divisions around the world (see also below). Responsible for oversight of post-market
    clinical studies worldwide for all GBUs. Leader for Scientific Affairs in North America with 5
    additional reports. Leader for Medical Affairs with responsibility for medical advisory boards,
    consultants and relationships with thought leaders. Alere San Diego site R&D leader and
    member of Alere global R&D leadership team. Supervised additional R&D team of 15 for 2
    years.

    Inverness Medical Innovations, (Waltham, MA)                                          2006-2010
    Director Clinical Research                                                            2009-2010
    Developed clinical study strategies, study designs, protocols and reports in support of new
    product introductions for all company SBUs by integrating inputs from key stakeholders in R&D,
    regulatory affairs, biostatistics, SBU and outside opinion leaders to achieve definitive results for
    validation of the clinical utility and performance of point-of-care (POC) assays for troponin,
    CKMB, myoglobin, BNP, D-Dimer, NGAL, INR (professional use, heparin bridging, and patient
    self-test), hemoglobin A1c, total cholesterol, HDL, LDL, triglycerides, hsCRP, PlGF, gastric cancer,
    CD4 cells, and Tox 15 panel; scientific lead for first ever evaluations of heart failure patient self-
    testing of BNP in the home; developed error grids for CLIA waiver for BNP, hsCRP and LDL;
    headed AMI publication committee; directed 2 clinical scientists and a medical writer.




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 Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3556 Page 80 of
                                      136

Scientific/Medical Affairs Director                                                    2008-2008
Provided scientific support for sales in northeast region of US through relationship building with
key customers and opinion leaders, promoting the clinical utility and operational efficiencies of
POC systems for cardiac markers, D-Dimer and DOA/Tox used in ED settings, troubleshooting,
and providing continuing medical education. Directed studies to validate innovative POC
systems for counting CD4 cells and for performing nucleic acid testing using PCR to monitor anti-
retroviral therapy in HIV-positive individuals.

Clinical Program Director                                                              2006-2008
Directed all clinical studies related to validation of new POC coagulation device for measuring
INR and monitoring coumadin anticoagulation therapy including accuracy assessments and CLIA
waiver studies for professional and patient self-test intended uses in the US; provided support in
Europe for patient self-management studies, accuracy evaluations, publications and
independent performance assessements; provided technical direction for R&D verification and
validation, and manufacturing QC specifications for coagulation program. Directed multi-site
investigation into the clinical utility of ischemia modified albumin (IMA) in the diagnosis and
prognosis of sepsis; provided technical support for manufacture of IMA reagent, controls and
calibration verification materials, and for multi-site study investigating the clinical utility of IMA
as a biomarker for cardiac ischemia in chest pain patients in the emergency room. Developed
clinical strategy for novel BNP device intended for monitoring and management of heart failure
patients in professional POC and home use settings. Provided leadership for cardiology clinical
affairs department.

AgaMatrix, (Cambridge, MA, Salem, NH)                                                   2004-2006
Vice President Clinical Affairs                                                         2005-2006
Vice President R&D                                                                      2004-2005
Director of Quality & Regulatory Affairs                                                2004-2004
Provided organizational and product development leadership for diabetes care startup
company. Wrote design control procedures and created initial quality systems. Provided lead
role in specification of product requirements, risk analysis, human factors, feasibility studies,
verification and validation, and design transfer for innovative blood glucose monitoring (BGM)
systems. Developed glucose test strip reagent and glucose control solutions for internal and
external uses. Developed calibration traceability procedure and directed clinical studies to
verify system calibration and accuracy. Directed and conducted more than a dozen external
clinical studies to evaluate ease of use, accuracy and alternate site testing of new BGM system
for prototype development, CE Mark, 510k clearance and post market surveillance. Provided
technical support for all regulatory submissions.

LifeScan (Waltham, MA)                                                                  2003-2003
Clinical Evaluations
In this contract assignment, directed a multi-center post-market clinical outcome research study
to evaluate the UltraSmart diabetes management product. Responsibilities included
development of study protocol and case report forms, clinical site selection and initiations,
selection of hemoglobin A1c reference method and central laboratory, selection of clinical
research organization for data management and study monitoring, establishment of clinical site
research agreements, and management of IRB submissions and approvals. Other



Richard C. San George, Ph.D.                                                                             -2-


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 Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3557 Page 81 of
                                      136

responsibilities included development of department quality systems and planning for
additional clinical studies. Managed clinical research group of four.

Design Mentor (Pelham, NH)                                                         2001-2003
Vice President R&D                                                                 2002-2003
Director & Program Manager                                                         2001-2002
Directed and managed the product development services provided to biotech and medical
device clients assuring that engineering, chemistry, hematology, business and marketing needs
were integrated into a viable customer-centric product. Product development programs
included automation of the process for pathogen inactivation of red blood cells, design of novel
cardiac assist pump devices, and cancer diagnostics. Participated in establishing the strategic
direction of the company and in devising and implementing the tactical mechanisms consistent
with the overarching corporate principles and goals of this start-up organization. Managed
group of upto 25 engineers.

Independent Consultant (Harvard, MA)                                               2000-2001
Diagnostic and Clinical R&D
Provided consulting services to clients in the medical diagnostic industry. Work included the
evaluation of new methods for the measurement of homocysteine, investigation of methods for
the diagnosis of mad cow disease and CJD, planning and execution of clinical trials for new blood
glucose monitoring devices, and evaluation of novel methods for determination of hemoglobin
A1c.

Bionostics (Devens, MA)                                                            1998-2000
Vice President & Chief Technology Officer
Provided leadership as the company’s technology visionary while playing a key role in strategic
business development, client relationships, and corporate revenue growth. Made key
contributions to several new product introductions and contracts in the company’s existing
critical care quality control product line and business. Led the company into the new diabetes
care quality control product line and business that diversified the company’s product offerings
and manufacturing capabilities, and enhanced its potential for future business growth. Revenue
more than doubled during this period. Directed R&D group of 3-6.

Instrumentation Laboratory, (Orangeburg, NY)                                       1997-1998
Director of Product Support
Head of department responsible for technical support for the manufacture of $100M of
coagulation and critical care reagents, controls and calibrators, transfer of new products from
R&D and other manufacturing sites into manufacturing, complaint investigations and corrective
actions, and stability programs in a FDA regulated GMP and ISO facility; member of plant
management team. Managed group of 5-10.

SAGE BIOCHEM (Waltham, MA)                                                         1996-1997
President
Founded company to provide professional consulting services to the medical diagnostics
industry, and to fund and develop a diagnostic blood test for alcoholism.



Richard C. San George, Ph.D.                                                                        -3-


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 Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3558 Page 82 of
                                      136



Instrumentation Laboratory (Lexington, MA)                                          1987-1995
R&D Program Manager                                                                 1994-1995
Managed design and development of new automated blood coagulation analyzers; performed
worldwide market and competitive system analysis and developed concepts with strategic
business unit; analyzed standard costs, development costs and processes; performed feasibility,
simulations, and wrote system requirements specifications with R&D engineers; prepared
budgets, schedules, plans, and managed interdepartmental interfaces.
R&D Manager, Core Reagent Technologies                                              1993-1994
Provided management and technical direction as needed for group of 15 including 6 Ph.D.
scientists. Department projects included the application of routine and immuno chemistries to the
ILab 900 clinical chemistry analyzer with R&D group in Milan, Italy; E-site evaluation of the
ILab 900; development of homogeneous latex particle agglutination immunoassays for the
Monarch and ILab 900 chemistry analyzers with R&D group in Barcelona, Spain; expression and
production of recombinant proteins; purification of antibodies, recombinant and other proteins for
clinical reagents; and development of quality control materials for blood gas, co-oximetry and
electrolyte measurements. Prepared and managed department budgets.
R&D Manager, Core Chemistry Reagents                                                1990-1993
Managed and provided technical direction for development of new and OEM reagents for the
Monarch chemistry systems from concept through market release including reagents for
measuring lipids, enzymes, metabolites, and DAUs. Directed development of clinical chemistry
reagent applications and D-site evaluation of new clinical chemistry analyzer. Developed APTT
reagent and normal coagulation control for ACL analyzer. Managed group of 10-15 scientists.
Principal Scientist                                                                 1988-1990
Senior Scientist                                                                    1987-1988
Performed feasibility and development of liquid stable reagents for ALP, AST, ALT, BUN, and
GGT for the Monarch; developed NCEP standardized methodologies for cholesterol and HDL
cholesterol; evaluated and developed the fluidic, optical, and thermal regulation systems of a
new chemistry analyzer; wrote and developed new calibrator value assignment protocols;
supervised 3 scientists.

Albert Einstein College of Medicine (New York, NY)                                  1980-1987
Associate, Department of Biochemistry                                               1983-1987
Research on a diagnostic test for alcoholism; determined the sites and structures of the chemical
modifications of human hemoglobin by acetaldehyde and other metabolites of ethanol, and
developed methods for their quantitative determination; investigated the structures of the post-
translationally modified hemoglobins found in alcoholism; used EI and FAB mass spectrometry
of peptide and polypeptide adducts, 13C NMR of labeled peptides and proteins, reverse phase and
ion exchange HPLC of proteins and polypeptides, peptide mapping, amino acid analysis, 3H and
14
  C radiolabeling methods; prepared grant proposals and renewals; ran department mass
spectrometer facility; supervised 1 technician.




Richard C. San George, Ph.D.                                                                         -4-


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 Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3559 Page 83 of
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Instructor, Dept. of Medicine, Div. of Experimental Hematology                   1982-1983
Postdoctoral Research Fellow, Dept. of Medicine, Div. of Experimental Hematology 1980-1982
Research on the polymerization of sickle hemoglobin within intact red blood cells by non-
invasive NMR methods (19F, 31P, and 1H spin echo); described the effects of magnetic
susceptibility heterogeneity in aqueous suspensions of paramagnetic deoxygenated red blood cells
on the NMR linewidths and relaxation properties of intracellular nuclei; studied the
polymerization of purified sickle hemoglobin in solution by low angle laser light-scattering and
NMR relaxation; investigated the structure-function relationships in cooperative dimeric
invertebrate hemoglobins by a variety of spectroscopic methods; studied the mode of
accumulation by red blood cells of the antimalarial drug mefloquine; prepared grants and
manuscripts.

Fordham University (New York, NY)
Adjunct Assistant Professor, School of General Studies                                1983-1987
Lectured undergraduate courses in Organic Chemistry, Organic Laboratory/recitation, and
Biochemistry (1 year); supervised 2 teaching assistants.
Postdoctoral Fellow, Department of Chemistry                                          1980-1980
Research on the subunit assembly of arthropod hemocyanins using low angle laser light-
scattering and using alkylureas and Hofmeister salts as probes of the subunit interactions.

EDUCATION
Ph.D. Biochemistry, Fordham University, New York, NY
B.S. Chemistry, Bucknell University, Lewisburg, PA

CONTINUING EDUCATION
    x   MIT Sloan School of Management: Managing Complex Product Development Projects,
        2002.
    x   Harvard University Extension School: Financial Accounting, 1993; Total Quality
        Management, 1992.
    x   American Management Association: R&D Management, 1992; Project Management,
        1991.
    x   American Association for Clinical Chemistry: Diagnostic Applications of Latex
        Technology, Theory and Practice, 1992.
    x   Richard D. De Veaux, Princeton University, at Instrumentation Laboratory: Experimental
        Design and Analysis, 1988.

PATENTS
    x   US Patent 5,278,044 - Stable Aqueous NADH Reagent and Kit, 1994
    x   PCT/US2012/049543 – Methods and Compositions for Monitoring Heart Failure,
        pending

PROFESSIONAL SOCIETY MEMBERSHIPS
AAAS, AACC, ACS, NCCLS Subcommittee Member - Cholesterol Reference Materials (1994-1996).




Richard C. San George, Ph.D.                                                                       -5-


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 Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3560 Page 84 of
                                      136

HONORS AND AWARDS
NIH National Research Service Award (1980,1981), Phi Lambda Upsilon, Sigma Xi, Alpha Sigma
Lambda.

PUBLICATIONS
1. Herskovits, T.T., Cavanagh, S.M. and San George, R.C., Light-Scattering Investigations of the
   Subunit Dissociation of Human Hemoglobin A. Effects of Various Neutral Salts.
   Biochemistry 16: 5795-5801, 1977.

2. Herskovits, T.T., San George, R.C. and Cavanagh, S..M., Light-Scattering Studies of the
   Quaternary Structure and Subunit Dissociation of Proteins: The Use of Hydrophobic Solutes
   and Salts as Probes. J. Colloid & Interface Sci. 63: 226-234, 1978.

3. Herskovits, T.T., Erhunmwunsee, L.J., San George, R.C., and Herp, A., Subunit Structure and
   Dissociation of Callinectes Sapidus Hemocyanin. Biochim. Biophys. Acta 667: 44-58, 1981.

4. Herskovits, T.T., San George, R.C., and Erhunmwunsee, L.J., Light-Scattering Investigation of
   the Subunit Dissociation of Homarus Americanus Hemocyanin. Effects of Salts and Ureas.
   Biochemistry 20: 2580-2587, 1981.

5. Herskovits, T.T., Carberry, S.E., and San George, R.C., Subunit Structure and Dissociation of
   Homarus Americanus Hemocyanin. Effects of Salts and Ureas on the Acetylated and
   Unmodified Hexamers. Biochemistry 22: 4107-4112, 1983.

6. Fabry, M.E. and San George, R.C., Effect of Magnetic Susceptibility on Nuclear Magnetic
   Resonance Signals Arising from Red Cells: A Warning. Biochemistry 22: 4119-4125, 1983.

7. San George, R.C., Nagel, R.L., and Fabry, M.E., On the Mechanism for the Red Cell
   Accumulation of Mefloquine, an Antimalarial Drug. Biochim. Biophys. Acta 803: 174-181,
   1984.

8. San George, R.C. and Hoberman, H.D., Post-Translational Modification of Hemoglobin A in
   Alcoholism. NIAAA Research Monograph No. 17: Early Identification of Alcohol Abuse,
   1985.

9. San George, R.C. and Nagel, R.L., Dimeric Hemoglobins from the Arcid Blood Clam, Noetia
   Ponderosa; Structure and Functional Properties. J. Biol. Chem. 260: 4331-4337, 1985.

10. Hirsch, R.E., San George, R.C., and Nagel, R.L., Intrinsic Fluorimetric Determination of the
    Stable State of Aggregation in Hemoglobins. Anal. Biochem. 149: 415-420, 1985.

11. San George, R.C. and Hoberman, H.D., Reaction of Acetaldehyde with Hemoglobin. J. Biol.
    Chem. 261: 6811-6821, 1986.

12. Borgese, T.A., Harrington, J.P., Hoffman, D., San George, R.C., and Nagel, R.L., Anadara
    Ovalis Hemoglobins: Distinct Dissociation and Ligand Binding Characteristics. Comp.
    Biochem. Physiol. 86B: 155-165, 1987.


Richard C. San George, Ph.D.                                                                       -6-


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 Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3561 Page 85 of
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13. Hoberman, H.D. and San George, R.C., Reaction of Tobacco Smoke Aldehydes with Human
    Hemoglobin. J. Biochem. Toxicol. 3: 105-119, 1988.

14. San George, R.C. and Hoberman, H.D., Structure of Stable Adducts of Hemoglobin and
    Acetaldehyde Based on 13C NMR and Mass Spectrometry. Manuscript in preparation.

Recent publications based on clinical studies sponsored by Alere and designed,
conducted and/or written up with direction from R.C. San George:

15. Peacock, W.F., Nagurney, J.T., Birkhahn, R., Singer, A.J., Shapiro, N., Hollander, J.E., Glynn, T,
    Nowack, R., Safdar, B., Miller, C.D., Peberdy, M., Counselman, F., Chandra, A., Kosowosky, J.,
    Neuenschwander, J., Shrock, J., Plantholf, S., Lewandrowski, E., Wong, V., Kupfer, K., and
    Diercks, D.B. Myeloperoxidase in the Diagnosis of Acute Coronary Syndromes. The
    importance of Spectrum. Am Heart J 162:893-899, 2011.

16. Diercks, D.B., Peacock, W.F., Hollander, J.E., Singer, A.J., Birkhahn, R., Shapiro, N., Glynn, T.,
    Nowack, R., Safdar, B., Miller, C.D., Lewandrowski, E., and Nagurney, J.T. Diagnostic
    Accuracy of a Point-of-Care Troponin I Assay for Acute Myocardial Infarction within 3 Hours
    after Presentation in Early Presenters with Chest Pain. Am Heart J 163: 74-80, 2012.

17. Smith, S.W., Diercks, D.B., Nagurney, J.T., Hollander, J.E., Miller, C.D., Schrock, J.W., Singer,
    A.J., Apple, F.S., McCullough, P.A., Ruff, C.T., Sesma Jr., and A., Peacock, W.F. Central Versus
    Local Adjudication of Myocardial Infarction in a Cardiac Biomarker Trial. Am Heart J
    165:273-279, 2013.

18. Maisel, A., Barnard, D., Jaski, B., Frivold, G., Marais, J., Azer, M., Miyamoto, M.I., Lombardo,
    D., Kelsay, D., Borden, K., Iqbal, N., Taub, P.R., Kupfer, K., Clopton, P., and Greenberg, B.
    Primary Results of the HABIT Trial (Heart Failure Assessment with BNP in the Home). J Am
    Coll Cardiol 61: 1726-35, 2013.

19. DeSantis, G., Hogan-Schlientz, J., Liska, G., Kipp, S., Sallee, R., Wurster, M., Kupfer, K., and
    Ansell, J., STABLE Results: Warfarin Home Monitoring Achieves Excellent INR Control. Am J
    Manag Care 20(3):202-209, 2014.

20. McDonald, K., Troughton, R., Dahlström, U., Dargie, H., Krum, H., Van der Meer, P.,
    McDonagh, T., Atherton, J., Kupfer, K., San George, R., Richards, M., and Doughty, R., Daily
    Home BNP Monitoring in HF for prediction of impending clinical deterioration : Results from
    the HOME HF study. EU J Heart Failure submitted.

ABSTRACTS
1. Fabry, M.E, and San George, R.C., Detection of Hemoglobin S Polymerization and
   Hemoglobin C Crystallization in Intact Cells by 31P and 19F NMR. 22nd Experimental NMR
   Conference, Asilomar, CA, 1981.




Richard C. San George, Ph.D.                                                                             -7-


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 Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3562 Page 86 of
                                      136

2. San George, R.C., Fabry, M.E., and Nagel, R.L., 19F NMR Studies of the Uptake and Binding by
   Red Cells of the Antimalarial Drug Mefloquine. Xth International Conference on Magnetic
   Resonance in Biological Systems, Stanford University, Stanford, CA, 1982.

3. San George, R.C. and Fabry, M.E., Magnetic Susceptibility Matching in NMR Studies of
   Deoxy Red Cells. Gordon Research Conference on Magnetic Resonance in Biology and
   Medicine, Tilton, NH, 1982.

4. San George, R.C., Nagel, R.L., and Fabry, M.E., Mefloquine Accummulates in the Red Cell by
   Binding to the Membrane and Hemoglobin. Blood 60: 24a, 1982.

5. Fabry, M.E. and San George, R.C., The Effect of Magnetic Susceptibility on NMR Signals
   Arising from Red Cells. 24th Experimental NMR Conference, Asilomar, CA 1983.

6. Hirsch, R.E., San George, R.C., and Nagel, R.L., Intrinsic Fluorescence Studies of the
   Hemoglobins of the Clam, Noetia Ponderosa. Photochem. Photobiol. 395: 955, 1984.

7. San George, R.C. and Hoberman, H.D., Stable Modifications of Hemoglobin by Acetaldehyde.
   Fed. Proc. 44: 1618, 1985.

8. San George, R.C. and Hoberman, H.D., Imidazolidinone Adducts of Peptides and
   Hemoglobin. Fed. Proc. 45: 1614, 1986.

9. San George, R.C. and Hoberman, H.D., Structure of Stable Acetaldehyde Adducts of Peptides
   and Proteins: Results of Mass Spectrometric Analysis. Fed. Proc. 46: 2153, 1987.

10. Fannon Jr., W.J., Jordan, S.L., Adiletto, C.A., San George, R.C., and Martin, R.F., Development
    of an Improved IL Test Monarch Cholesterol Reagent Which Meets the 1992 NCEP
    Guidelines. Clin. Chem. 36: 961-962, 1990.

11. San George, R.C. and Szulc, M.E., Alkaline Phosphatase Activity vs pH Profiles for Controls
    and Patient Samples in DEA, AMP and Mixed Buffers. Clin. Chem. 36: 1126, 1990.

12. San George, R.C., Roesch, C.M., and Jensen, T.C., Development of a Two-Component Liquid
    Stable Alkaline Phosphatase Reagent for the IL Monarch ™ Chemistry Systems. Clin. Chem.
    37: 910, 1991.

13. San George, R.C. and Adiletto, C.A., Development of a Liquid Stable NADH and its Use in 2-
    Reagent Assays for AST and ALT on the IL Monarch™ Chemistry Systems. Clin. Chem. 37:
    912, 1991.

14. Jensen, T.C., Hanford, H., Grant, L.R., and San George, R.C., Development of a Liquid Stable
    Urea Nitrogen Reagent for the IL Monarch™ Chemistry Systems. Clin. Chem. 38: 1052-1053,
    1992.

15. Studebaker, J.T., Adiletto, C.A., San George, R.C., and McNamara, J.R., HDL Cholesterol
    Measurement Using Dextran Sulfate Precipitation and Enzymatic Cholesterol Analysis on the
    IL Monarch™ Chemistry Systems. Clin. Chem. 38: 1063, 1992.


Richard C. San George, Ph.D.                                                                          -8-


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 Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3563 Page 87 of
                                      136


16. Adiletto, C.A., Alhussaini, K.E., and San George, R.C., Development of a Liquid Stable Alanine
    Aminotransferase (ALT) Reagent for the IL Monarch® Chemistry Systems. Clin. Chem. 39:
    1157, 1993.

17. Hanford, H., Frontini, D., San George, R.C., and Papagni, M., Development of a Liquid Stable
    Glucose Reagent for the IL Monarch® Chemistry Systems. Clin. Chem. 39: 1215, 1993.

18. San George, R.C., Evaluation of MarChem™ EP_Suite for Windows Software for the
    Performance of Calculations and the Creation of Graphical Plots Recommended by NCCLS
    Evaluation Protocols. Clin. Chem. 43: S121, 1997.

19. DeSantis, G., Zhang, M., Kalvelage, K., Lacorte, A., Garcia, E., Kupfer, K., San George, R.,
    Analytical Performance Characteristics of the Enhanced Heparin Insensitive Alere
    INRatio®/INRatio®2 PT/INR Monitoring System. Proceedings of the 11th National Conference
    on Anticoagulant Therapy, May 5-7, 2011, Boston MA; International Society of Thrombosis
    and Hemostasis, July 23 -28, 2011, Kyoto, Japan.




Richard C. San George, Ph.D.                                                                         -9-


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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3564 Page 88 of
                                     136




                  Alt Declaration



                            Exhibit 4
                                           50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                    STATUTE OF
                                                                                                                                RELIANCE /                                                                                            LIMITATIONS
                      PRIVATE RIGHT OF CLASS ACTION               LIMITATIONS &                                                                         AFFIRMATIVE ACTS /                                      DAMAGES &
         JDX                                                                           ACTUAL INJURY         DECEPTION          PROXIMATE                                                SCIENTER                                      ON UNJUST            OTHER
                           ACTION       PROHIBITION                 DISCOVERY                                                                          MATERIAL OMISSIONS                                        REMEDIES
                                                                                                                                CAUSATION                                                                                             ENRICHMENT
                                                                       RULE
 Alabama            Private right of action Class actions      SOL expires one "Monetary damages" NA                       Reliance not              "A representation is deceptive Defense to             Greater of actual                         Prefiling demand
                    permitted,               prohibited unless year from            are required for                       controlling               if it contains a material claim culpability if        damages or$100; up to                     required and must
 Deceptive Trade but Ps must send a brought by the             discovery, but no showing of injury.                        inquiry, but              or omission that is             defendant did not     three times actual                        waive any other
 Practices Act      demand letter fifteen state's Attorney later than four years                                           misconduct must           reasonably like to mislead      knowingly commit      damages in discretion of                  cause of action
                    days before filing suit. General.          after the incident -                                        cause monetary            consumers acting reasonably violation of the act.     the court; no                             arising out of
 Ala. Code §§ 8-19- The attorney general                       unless the contract                                         damage.                   under the circumstances to                            prejudgment interest                      transaction to bring
 1, et seq.         and district attorneys                     or warrant is for                                                                     their detriment. A                                    unless recovery based                     action under the
                    have power to                              more than three                                                                       representation or omission is                         in contract; punitive                     act.
                    investigate prohibited                     years then no more                                                                    material if it is of the kind                         damages available;
                    conduct and start                          than one year from                                                                    usually relied upon by a                              attorney's fees
                    legal proceedings.                         the date of                                                                           reasonably prudent person."                           mandatory.
                                                               expiration or more
                                                               than one year after
                                                               discovery,
                                                               whichever occurs
                                                               first.
                    Ala. Code §§ 8-19-1, Ala. Code § 8-        Ala. Code § 8-       Ala. Code § 8-19-                      Ala. Code § 8-19-                                         Ala. Code § 8-        Ala. Code §§ 8-8-10, 8-                   Ala. Code §§ 8-19-
                    8-19-4, 8-19-10          19-10(f)          19-14                10(a)(1)                               10(a)                                                     19-13                 19-10(a)(1)-(2)                           10(e), 8-19-15
                    Ex Parte Exxon           Ex Parte                               Billions v. White &                    F.T.C. v. Tachman, F.T.C. v. Accent Mktg.,                Strickland v. Katko   Orkin Exterminating                       Deerman v. Fed.
                    Corp., 725 So. 2d        Exxon Corp.,                           Stafford Furniture                     318 F.3d1273, 1281 Inc., No. 02-405, 2002 WL              Mfg., Inc., 512 So.   Co., Inc. v. Jeter, 835                   Home Loan Mortg.
                    930, 933 (1998);         725 So. 2d                             Co., 528 So. 2d.                       (11th Cir.2003);      31257708 (S.D. Ala. July            2d 714, 717 (1987);   So. 2d 25, 43 (2001).                     Corp., 955 F. Supp.
                    Billions v. White&       930, 933                               878, 880 (Ala. Civ.                    McGregor v. Chierico, 1, 2002) (internal citations        Sam v. Beaird, 685                                              1393 (N.D. Ala.1997).
                    Stafford Furniture       (1998).                                App. 1988).                            206 F.3d 1378, 1388 omitted).                             So. 2d 742, 744
                    Co., 528 So. 2d 878,                                                                                   (11th Cir. 2000).                                         (Ala. Ct. App.
                    880 (Ala. Civ. App.                                                                                                                                              1996).
                    1988).
 Alaska             The attorney             Class actions     Two years from Ascertainable loss           Actual          Right of action           Prohibits: "knowingly           Intent to deceive     Greater of three times                    Written notice prior
                                                                                                                                                                                                                                                                                                                  136




                    general may bring        arguably          discovery of         of money or            deception not   requires                  concealing, suppressing, or     need not be           actual damages or                         to action for
 Unfair Trade       suit. Private right of allowed.            violation.           property is required required.         ascertainable loss        omitting a material fact with   proven. However,      $500; prejudgment                         injunction required;
 Practices and      action permitted.                                               for a private right of                 incurred as a result of   intent that others rely upon    intent that others    interest not exempted;                    50% of punitive
 Consumer                                                                           action.                                violation.                the concealment,                rely upon the         discretionary punitive                    damages go to the
 Protection Act                                                                                                                                      suppression, or omission in     concealment,          damages allowed;                          state.
                                                                                                                                                     connection with the sale or     suppression, or       attorney's fees allowed;
 Alaska Stat.                                                                                                                                        advertisement of goods or       omission in           injunctive relief
 §§45.50.471, et                                                                                                                                     services whether or not a       connection with the   available; treble
 seq.                                                                                                                                                person has in fact been         sale or               damages for willful
                                                                                                                                                     misled, deceived or             advertisement of      violations.
                                                                                                                                                     damaged."                       goods is needed.
                     Alaska Stat.                               Alaska Stat.     Alaska Stat.            Alaska Stat.      Alaska Stat. §            Alaska Stat. §                  Alaska Stat.          Alaska Stat. §§                           Alaska Stat. §§
                     §§45.50.531(a), (c)                        §45.50.531(f)    §§45.50.471,            §§45.50.471,      45.50.531(a)              45.50.471(b)(12)                §45.50.471(b)(12)     09.30.070,45.50.53                        45.50.531(i),45.50.53
                                                                                 45.50.531(a)            45.50.531(a)                                                                                      1(a), 45.50.535                           5
                                            Weimer v.                            Garrison v. Dixon,                        C.f., State v. O’Neill                                    Odom v. Fairbanks State v. O'Neill
                                            Continental Car &                    19P.3d 1229, 1235                         Investigations Inc.,                                      Mem'l Hosp., 999 Investigations Inc., 609
                                            Truck, LLC,                          n.22 (2001) ("A                           609P.2d 520, 534-35                                       P.2d123, 132          P. 2d 520, 524 (1980).
                                            237P.3d 610                          person who suffers                        (1980) (finding that                                      (2000); State v.
                                            (2010); Neese v.                     an ascertainable                          "actual injury as a                                       O'Neill
                                            Lithia Chrysler                      loss of money or                          result of the deception                                   Investigations, Inc.,
                                            Jeep of                              property as a result                      is not required." "All                                    609 P.2d 520, 535
                                            Anchorage, Inc.,                     of another person's                       that is required is a                                     (1980).
                                            210P.3d 1213                         act or practice                           showing that the acts
                                            (2009).                              declared unlawful by                      and practices were
                                                                                 AS45.50.471 may                           capable of being
                                                                                 bring a civil action.")                   interpreted that way.")
 Arizona             The attorney general Class actions         One year from    Actual damage or                          Reliance required, Prohibits the use or                   Wrongful              Permits compensatoryRequires: an
                     has the right to     permitted.            discovery of     injury required.                          but it need not be      employment of any                 concealment           damages; however no enrichment, an
 Consumer Fraud      enforce the Consumer                       violation.                                                 reasonable;             deception, deceptive act or       must be "intent       statutory damages in impoverishment,
 Act                 Fraud Act. Private                                                                                    proximate               practice, fraud, false            that others rely."    private actions;     connection between
                                                                                                                                                                                                                                                                             Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3565 Page 89 of




                     right of action for                                                                                   causation of injury     pretense, false promise,          However, specific     punitive damages if enrichment and
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                                                                                                                      3DJH
                                              50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                         STATUTE OF
                                                                                                                                    RELIANCE /                                                                                          LIMITATIONS
                       PRIVATE RIGHT OF CLASS ACTION                    LIMITATIONS &                                                                     AFFIRMATIVE ACTS /                                   DAMAGES &
         JDX                                                                                 ACTUAL INJURY         DECEPTION        PROXIMATE                                            SCIENTER                                        ON UNJUST             OTHER
                            ACTION       PROHIBITION                      DISCOVERY                                                                      MATERIAL OMISSIONS                                     REMEDIES
                                                                                                                                    CAUSATION                                                                                           ENRICHMENT
                                                                             RULE
 Ariz. Rev. Stat. Ann. injured individuals.                                                                                    also required.          misrepresentation, or         intent not required violation is wanton, impoverishment,
 §§44-1521, et seq.                                                                                                                                    concealment of a material     - intent to do the     reckless or involves absence of
                                                                                                                                                       fact.                         act is sufficient.     spite or ill will; and justification for
                                                                                                                                                                                                            attorney's fees if fraud enrichment and
                                                                                                                                                                                                            claim arises out of      impoverishment, and
                                                                                                                                                                                                            contract (court has absence of remedy
                                                                                                                                                                                                            discretion).             provided by law.
                                                                                                                                                                                                                                     Unjust enrichment is
                                                                                                                                                                                                                                     unavailable if
                                                                                                                                                                                                                                     plaintiff has received
                                                                                                                                                                                                                                     the benefit of its
                                                                                                                                                                                                                                     bargain, or unjust
                                                                                                                                                                                                                                     enrichment claim
                                                                                                                                                                                                                                     requires that plaintiff
                                                                                                                                                                                                                                     lacks a legal
                                                                                                                                                                                                                                     remedy.
                                                                      Ariz. Rev. Stat. Ann.                                                            Ariz. Rev. Stat. Ann. § 44-   Ariz. Rev. Stat. Ann. Ariz. Rev. Stat. Ann. §
                                                                      § 12-541(5)                                                                      1522(A)                       § 44-1522(A)           12-341.01(A)
                       Sellinger v. Freeway      Sellinger v.         Murry v. W. Am.       Holeman v. Neils,                  Winkler v. DTE, Inc.,                                 Flagstaff Med.         Howell v. Midway         Cmty. Guardian Bank
                       Mobile Home Sales,        Freeway Mobile       Mortg. Co., 604       803F.Supp. 237,                    205 F.R.D. 235, 242                                   Ctr., Inc. v.          Holdings, Inc., 362 F. v. Hamlin, 182 Ariz.
                       Inc.,521 P.2d 1119,       Home Sales,          P.2d 651, 654         242 (D. Ariz.1992);                (D. Ariz. 2001);                                      Sullivan, 773 F.       Supp. 2d 1158,1165 (D. 627, 898 P.2d 1005
                       1122 (1974); Haisch       Inc.,521 P.2d        (Ariz. Ct. App.       Nataros v. Fine Arts               Holeman v. Neils,803                                  Supp.1325,             Ariz. 2005); Holeman v. (Ct. App. 1995),
                       v. Allstate Ins. Co., 5   1119, 1122           1979); Alaface v. Gallery of                             F. Supp. 237, 242 (D.                                 1361-62 (D.            Neils, 803 F. Supp. 237, corrected (July 10,
                       P.3d 940, 944 (Ariz.      (1974); Haisch v.    Nat'l Inv.            Scottsdale, Inc.,                  Ariz. 1992); Kuehn v.                                 Ariz.1991), aff'd      242-43 (D. Ariz. 1992); 1995)(pleading
                       Ct. App. 1994).           Allstate Ins. Co.,   Co.,892 P.2d          612P.2d 500, 504                   Stanley, 91 P.3d 346,                                 in part, rev'd in      Linthicum v. Nationwide requirements; Brooks
                                                 5 P.3d 940, 944      1375, 1381            (Ariz. Ct. App.                    351 (Ariz. Ct. App.                                   part by 962 F.2d       Life Ins. Co.,723 P.2d v. Valley Nat’l Bank,
                                                 (Ariz. Ct. App.      (Ariz. Ct. App.       1980).                             2004); Dunpal v.                                      879 (9th Cir.          675, 680 (1986);         548 P.2d 1166, 1171
                                                 1994).               1994).                                                   Jimmy GMC of                                          1992); Alaface         Bennett v. Appaloosa (Ariz. 1976) (affirming
                                                                                                                                                                                                                                                                                                            136




                                                                                                                               Tuscon, Inc., 666                                     v. Nat'l Inv., Co., Horse Club, 35 P.3d dismissal of unjust
                                                                                                                               P.2d 83,87 (Ariz. Ct.                                 892P.2d 1375,          426, 432 (Ariz. Ct. App. enrichment
                                                                                                                               App. 1983);Peery v.                                   1380 (Ariz. Ct.        2001); Nataros v. Fine claims where plaintiff
                                                                                                                               Hansen, 585 P.2d                                      App. 1994);            Arts Gallery             received the benefit of
                                                                                                                               574, 578 (Ariz. Ct.                                   Cearley v.             ofScottsdale, Inc., 612 the bargain); US Life
                                                                                                                               App.1978).                                            Wieser, 727            P.2d 500,504 (Ariz. Ct. Title Co. of Ariz. v.
                                                                                                                                                                                     P.2d 346,348           App. 1980);Peery v.      Gutkin, 732 P.2d
                                                                                                                                                                                     (Ariz. Ct. App.        Hansen, 585 P.2d574, 579, 585 (Ariz. Ct.
                                                                                                                                                                                     1986); State v.        578 (Ariz. Ct. App.      App. 1986);
                                                                                                                                                                                     Goodyear Tire & 1978) .                         Trustmark Ins. Co. v.
                                                                                                                                                                                     Rubber Co., 626                                 Bank One, Arizona,
                                                                                                                                                                                     P.2d1115, 1118                                  NA, 48 P.3d 485, 491
                                                                                                                                                                                     (Ariz. Ct. App.                                 (Ariz. Ct. App. 2002)
                                                                                                                                                                                     1981).                                          (“To establish a
                                                                                                                                                                                                                                     claim for unjust
                                                                                                                                                                                                                                     enrichment, a party
                                                                                                                                                                                                                                     must show . . . the
                                                                                                                                                                                                                                     absence of a legal
                                                                                                                                                                                                                                     remedy.”).
 Arkansas          The attorney general Class actions                 Five years           Actual damage or                    Right of action         Prohibits acts, use, or       Prohibits making Allows only                    Unjust enrichment is
                   may bring an action. permitted.                    from the             injury required.                    requires actual         employment by any person      knowingly false        compensatory             unavailable if
 Deceptive Trade Private right of action                              violation.                                               damage or injury        of any deception, fraud, or   representations of damages and                  plaintiff has received
 Practices Act     for any person                                                                                              incurred as a result    false pretense or             benefits of product; reasonable                 the benefit of its
                   actually injured;                                                                                           of a violation of the   concealment of a material     prohibits act, use, or attorney's fees;         bargain.
 Ark. Code. Ann §§ private right of action                                                                                     act.                    fact.                         employment by any however, allows for
 4-88-101, et seq. for enhanced                                                                                                                                                      person of any          punitive damages for
                   penalties only for                                                                                                                                                deception, fraud, or elderly and disabled
                   elderly and disabled                                                                                                                                              false pretense or persons.
                   persons.                                                                                                                                                          concealment with
                                                                                                                                                                                     intent that others
                                                                                                                                                                                                                                                                       Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3566 Page 90 of




                                                                                                                                                                                     reply.
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                                         50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                     STATUTE OF
                                                                                                                                 RELIANCE /                                                                                             LIMITATIONS
                      PRIVATE RIGHT OF CLASS ACTION                 LIMITATIONS &                                                                       AFFIRMATIVE ACTS /                                    DAMAGES &
         JDX                                                                            ACTUAL INJURY         DECEPTION          PROXIMATE                                               SCIENTER                                        ON UNJUST                  OTHER
                           ACTION       PROHIBITION                   DISCOVERY                                                                        MATERIAL OMISSIONS                                      REMEDIES
                                                                                                                                 CAUSATION                                                                                              ENRICHMENT
                                                                         RULE
                     Ark. Code Ann. §§ 4-                         Ark. Code Ann. § 4- Ark. Code Ann. §§ 4-                   Ark. Code. Ann. § 4- Ark. Code. Ann. § 4-88-108(2)Ark. Code Ann.            Ark. Code Ann. §§ 4-88-
                     88-113(f), 4-88-204                          88-115 (2015).      88-113(f), 4-88-204.                   88-113(f)                                         §§ 4-88-                  113(f)& 4-88-204
                                                                                                                                                                               107(a)(1), 4-88-
                                                                                                                                                                               108(2)
                                              Lenders Title Co.                                                                                                                                                                     Frein v. Windsor
                                              V. Chandler, 186                                                                                                                                                                      Weeping Mary LP,
                                              S.W.3d 695, 702-                                                                                                                                                                      2009 Ark. App. 774, at
                                              04 (2004).                                                                                                                                                                            *7-8 (Ark. Ct. App.
                                                                                                                                                                                                                                    2009).
 California (I)      Private right of action Class action         Three years from Requires some                             Causation required      Materiality required. A            No scienter         Greater of actual                                Requires 30 day
                     permitted, but limited permitted.            date of improper showing of "any                           as damages must be      misrepresentation is material requirement;             damages or$1,000 in a                            pre-suit notice and
 Consumers Legal     to consumers who                             practice.        damage".                                  "as a result" of the    if "it induced the plaintiff to however, violation class action; injunctive                             opportunity to
 Remedy Act          purchased product for                                                                                   unlawful practice.      alter his position to his          must be intentional relief permitted;                                cure.
                     personal, family or                                                                                     Reliance required       detriment. Stated in terms of to receive damages. prejudgment interest
 Cal. Civ. Code §§   household purposes.                                                                                     where claim is based    reliance, materiality means                            allowed; punitive
 1750, et seq.                                                                                                               on fraudulent           that without the                                       damages allowed;
                                                                                                                             conduct; only permits   misrepresentation, the                                 attorney's fees
                                                                                                                             a classwide inference   plaintiff would not have acted                         available.
                                                                                                                             of causation and        as he did. It must be shown
                                                                                                                             reliance where a        that the plaintiff actually relied
                                                                                                                             single, material        upon the misrepresentation;
                                                                                                                             misrepresentation       i.e., that the representation
                                                                                                                             was made directly to    was 'an immediate cause of
                                                                                                                             each class member.      his conduct which alters his
                                                                                                                                                     legal relations' and that
                                                                                                                                                     without such representations,
                                                                                                                                                     he would not, in all
                                                                                                                                                     reasonable probability, have
                                                                                                                                                                                                                                                                                                                          136




                                                                                                                                                     entered into the contract or
                                                                                                                                                     other transaction.'"
                     Cal. Civ. Code §§        Cal. Civ. Code §§ Cal. Civ. Code §     Cal. Civ. Code §                        Cal. Civ. Code §                                           Cal. Civ. Code      Cal. Civ. Code §§                                Cal. Civ. Code § 1782
                     1761(d), 1780,           1780,1781         1783                 1780(a)                                 1780(a)                                                    §§1770(a), 1784 1780(a), 1780(c),
                     1781                                                                                                                                                                                   1780(e)
                                                                                                                           Gonzalez v.               Caro v. Procter & Gamble
                                                                                                                           Proctor & Gamble          Co., 18 Cal. App. 4th 644,
                                                                                                                           Co., 247 F.R.D.           667 (Cal. Ct. App.1993);
                                                                                                                           616, 624-25 (S.D.         Lacher v. Sup. Ct., 230 Cal.
                                                                                                                           Cal.2007);                App. 3d 1038, 1049 (Cal. Ct.
                                                                                                                           Vasquez v. Sup.           App.1991).
                                                                                                                           Ct.,4 Cal. 3d 800,
                                                                                                                           814 (1971);
                                                                                                                           Buckland v.
                                                                                                                           Threshold Enters.,
                                                                                                                           Ltd., 155 Cal.
                                                                                                                           App.4th 798, 811
                                                                                                                           (Cal. Ct.
                                                                                                                           App.2008); Caro v.
                                                                                                                           Proctor & Gamble
                                                                                                                           Co., 18 Cal.
                                                                                                                           App.4th 644, 668-
                                                                                                                           69 (Cal. Ct. App.
                                                                                                                           1993).
 California (II)    The attorney general,     Class               Four years from Actual injury required. Only permits a Plaintiff must           Materiality required; duty to     No mens rea          No civil damages in        Unjust enrichment is Allows claim to be
                    district attorneys, and   certification       accrual of action;                      classwide        establish causation disclose required for                requirement under    private cause of           unavailable if         based on "unfair"
 Unfair Competition city and county           required for        three years for                         inference of     and actual reliance omission based claim.                the Unfair           action. Damages not        plaintiff has received conduct, but California
 Law                counsel may bring         private             false advertising                       causation where in accordance with                                        Competition Law.     permitted, only            the benefit of its     courts have not
                    actions to enforce.       claims.             claims.                                 single, material principles of ordinary                                                        equitable relief           bargain.               reached a consensus
 Cal. Bus. & Prof. Private right of action                                                                misrepresentatio fraud actions.                                                                including restitution.                            on the standard of
                                                                                                                                                                                                                                                                                     Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3567 Page 91 of




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                                             50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                   STATUTE OF
                                                                                                                                  RELIANCE /                                                                                          LIMITATIONS
                      PRIVATE RIGHT OF CLASS ACTION               LIMITATIONS &                                                                         AFFIRMATIVE ACTS /                                    DAMAGES &
          JDX                                                                         ACTUAL INJURY            DECEPTION          PROXIMATE                                              SCIENTER                                      ON UNJUST                 OTHER
                           ACTION       PROHIBITION                 DISCOVERY                                                                          MATERIAL OMISSIONS                                      REMEDIES
                                                                                                                                  CAUSATION                                                                                           ENRICHMENT
                                                                       RULE
 Code,§§ 17200 et permitted for those                                                                        n was directly                                                                              No attorney's fees,      Unjust enrichment is "unfairness" to be
 seq.             injured as a result of                                                                     made to each                                                                                unless available         not a standalone     used in consumer
                  defendant's conduct.                                                                       class member.                                                                               through contract or      cause of action.     actions.
                                                                                                             For a fraud prong                                                                           other statute.
                                                                                                             claim under the
                                                                                                             UCL based on an
                                                                                                             alleged
                                                                                                             misrepresentatio
                                                                                                             n in a long-term
                                                                                                             advertising
                                                                                                             campaign, the
                                                                                                             misrepresentatio
                                                                                                             n must have
                                                                                                             been material.
                      Cal. Bus. & Prof.       Cal. Bus. & Prof. Cal. Bus. & Prof.   Cal. Bus. & Prof. Code                                                                                                Cal. Bus. & Prof. Code Melchior v. New Line
                      Code §§ 17203,          Code §§ 17203, Code §17208;           §§ 17203, 17204                                                                                                       §§ 17203, 17205, 17206Prods., Inc., 106 Cal.
                      17204                   17204             Cal. Civ. Proc.                                                                                                                                                  App. 4th 779, 792
                                                                Code §§ 338(a),                                                                                                                                                  (2003); McKell v.
                                                                338(h)                                                                                                                                                           Wash. Mut., Inc., 142
                                                                                                                                                                                                                                 Cal. App. 4th 1457,
                                                                                                                                                                                                                                 1490 (2006); Brazil v.
                                                                                                                                                                                                                                 Dell Inc., No. C–07–
                                                                                                                                                                                                                                 01700 RMW, 2010
                                                                                                                                                                                                                                 WL 5258060, * 4
                                                                                                                                                                                                                                 (N.D. Cal. Dec. 21,
                                                                                                                                                                                                                                 2010); Levine v. Blue
                                                                                                                                                                                                                                 Shield of Cal., 189
                                                                                                                                                                                                                                 Cal. App. 4th 1117,
                                                                                                                                                                                                                                                                                                                        136




                                                                                                                                                                                                                                 1138 (2010)
                      Arias v. Super. Ct.,                                                                     Gonzalez v.        In re Tobacco II       Berryman v. Merit Prop.      In re Tobacco II    Korea Supply v.        Peterson v. Cellco       See generally Bardin
                      46 Cal. 4th 969,                                                                         Procter & Gamble Cases, 46 Cal. 4th Mgmt., Inc., 152 Cal. App. 4th Cases, 46 Cal. 4th Lockheed Martin Corp., P’ship, 164 Cal. App. v. Daimler-Chrysler
                      975 (2009);                                                                              Co., 247 F.R.D. 298, 306 (2009)           1544, 1556-57 (Cal. Ct. App. 298, 306 (2009); 29 Cal. 4th1134, 1144 4th 1583 (4th Dist.          Corp., 136Cal. App.
                      Californian's for                                                                        616, 624-26 (S.D. (holding that private 2007); Daugherty v. Am.        State Farm Fire& (2003).                   2008) (holding that the4th 1255, 1265-74
                      Disability Rights v.                                                                     Cal. 2007); In re plaintiffs must         Honda Motor Co, Inc., 144 Cas. Co. v. Sup.                              trial court properly     (Cal. Ct. App. 2006)
                      Mervyn's, LLC, 39                                                                        Tobacco II Cases,demonstrate "actual Cal. App.4th 824, 839 (Cal. Ct., 45Cal. App. 4th                             sustained defendant’s (applying several
                      Cal.4th 223, 227,                                                                        46 Cal. 4th 298, reliance . . . in        Ct. App. 2006); Caro v.      1093, 1105 (Cal.                           demurrer to plaintiffs’ definitions of "unfair"
                      233 n.4 (2006);                                                                          326-27 (2009); accordance with well- Procter & Gamble Co., 18          Ct. App. 1996).                            unjust enrichment        to affirm dismissal of
                      Hall v. Time, Inc.,                                                                      Vasquez v. Sup. settled principles        Cal. App. 4th 644, 667 (Cal.                                            claim because            unfair competition
                      158 Cal.App.4th                                                                          Ct., 4 Cal. 3d     regarding the element Ct. App.1993).                                                           plaintiffs received the claim and urging CA
                      847, 852 (2008)                                                                          800,814 (1971); of reliance in ordinary                                                                           benefit of the bargain). legislature and
                                                                                                               Caro v. Proctor & fraud actions.")                                                                                                         Supreme Court to
                                                                                                               Gamble Co.,18                                                                                                                              clarify correct
                                                                                                               Cal. App. 4th 644,                                                                                                                         formulation governing
                                                                                                               668-69 (Cal. Ct.                                                                                                                           consumer cases.)
                                                                                                               App. 1993).
 California (III)  Permits any person Class                     3 years for         Consumers must                                The statute affords An inference of reliance        A violation of this Private individuals
                   acting for the interests certification       false               allege that they                              protection against the would arise as to an entire statute may be       who bring suit are
 False Advertising of itself, its members, required for         advertising         suffered damages as                           probability or         class as long as material    committed without limited to
 Law               or the general public, private               claims.             a result of the use or                        likelihood as well as misrepresentations were any specific intent. restitution and
                   to initiate an action for claims.                                employment by any                             the actuality of       made to the class members. "Any statement        equitable relief.
 Cal. Bus. & Prof. restitutionary and/or                                            person of a method,                           deception or           Materiality is generally     which is deceptive Public officers can
 Code§§ 17500, et injunctive relief                                                 act, or practice                              confusion.             judged by a reasonable       or merely           seek civil penalties
 seq.              against a person or                                              declared to be                                Consumers allege       person standard, meaning misleading, without capped at $2,500 per
                   business entity who                                              unlawful pursuant to                          that they suffered     that a misrepresentation is intent to deceive, violation. The
                   has engaged in any                                               the statute. The court                        actual damage as a deemed material if a             violates the        Attorney General has
                   unlawful, unfair, or                                             may order relief                              result of the          reasonable person would      statute."           only one cause of
                   fraudulent business                                              without individualized                        defendant's actions. attach importance to its                           action against a
                   actor practice or                                                proof of deception,                                                  existence or nonexistence in                     particular defendant
                                                                                                                                                                                                                                                                                   Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3568 Page 92 of




                   unfair, deceptive,                                               injury, and reliance if it                                           determining his choice of                        for violating this
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                                             50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                      STATUTE OF
                                                                                                                                 RELIANCE /                                                                                        LIMITATIONS
                      PRIVATE RIGHT OF CLASS ACTION                  LIMITATIONS &                                                                     AFFIRMATIVE ACTS /                                   DAMAGES &
         JDX                                                                             ACTUAL INJURY           DECEPTION       PROXIMATE                                             SCIENTER                                     ON UNJUST            OTHER
                           ACTION       PROHIBITION                    DISCOVERY                                                                      MATERIAL OMISSIONS                                     REMEDIES
                                                                                                                                 CAUSATION                                                                                         ENRICHMENT
                                                                          RULE
                      untrue, or misleading                                            determines that such                                        action in the transaction in                        section, but the
                      advertising of any act                                           a remedy is necessary                                       question.                                           amount of civil
                      prohibited by Chapter                                            to prevent the use or                                                                                           penalties which may
                      1 (commencing with                                               employment of the                                                                                               be imposed is
                      Cal. Bus. & Prof.                                                unfair practice.                                                                                                dependent upon the
                      Code § 17500).                                                                                                                                                                   number of violations
                                                                                                                                                                                                       committed. Public
                                                                                                                                                                                                       officers can seek civil
                                                                                                                                                                                                       penalties capped at
                                                                                                                                                                                                       $6,000 per violation
                                                                                                                                                                                                       for violating
                                                                                                                                                                                                       injunctions granted
                                                                                                                                                                                                       by the act.
                                                                   Cal. Bus. & Prof.                                                                                                                   Cal. Bus. & Prof. Code
                                                                   Code §17500;                                                                                                                        §§ 17535.5, 17536
                                                                   Cal. Civ. Proc.
                                                                   Code §§ 338(a),
                                                                   338(h)
                      Rosales v. Citibank,     Cole v. Asurion                         In re Toyota Motor                    In re Toyota Motor     In re Toyota Motor Corp., 790 People ex rel. Mosk Rosales v. Citibank, 133
                      133F. Supp. 2d           Corp .,267 F.R.D.                       Corp., 790 F. Supp.                   Corp.,790 F. Supp. 2d F. Supp. 2d 1152, 1169-70 v. Lynam, 253 Cal. F. Supp. 2d 1177, 1182
                      1177, 1182 (N.D.         322, 331 (C.D.                          2d1152, 1169-70                       1152, 1169-70 (C.D. (C.D. Cal. 2011).                App. 2d959, 966 (N.D. Cal.2001); Chern
                      Cal. 2001).              Cal. 2010).                             (C.D. Cal.2011);                      Cal. 2011); People v.                                (Cal. Ct. App.1967); v. Bank of America, 15
                                                                                       People v. Dollar Rent-                Toomey, 157 Cal.                                     People v. Wahl,39 Cal. 3d 866, 876 (1976);
                                                                                       A Car Sys., 211 Cal.                  App.3d 1, 18 (Cal. Ct.                               Cal. App. 2d         People ex rel. Mosk v.
                                                                                       App. 3d 119, 129-                     App.1984).                                           Supp.771, 773 (Cal. Lynam, 253 Cal. App.
                                                                                       31(Cal. Ct. App.                                                                           App. Dep’t Sup. Ct. 2d 959,966 (Cal. Ct.
                                                                                       1989).                                                                                     1940).               App. 1967).
 Colorado             The attorney             Class actions       Three years from Requires injury in                       False representation Prohibits concealment of        Certain violations- In a class action, only                    Plaintiffs must
                                                                                                                                                                                                                                                                                                                 136




                      general and the          permitted.          violation (last     fact, caused by the                   must induce party to material information            including falsely    actual damages are                        demonstrate alleged
 Consumer             district attorneys                           instance), plus one challenged practice.                  act, refrain from      concerning goods if such a representing            permitted. In an                          deceptive practice
 Protection Act       have the power to                            year if defendant                                         acting, or have the failure to disclose was          benefits of a        individual action, there                  significantly impacts
                      enforce the Act.                             caused the delay.                                         capacity or tendency intended to induce the          product-must be      is a statutory minimum                    the public as actual or
 Colo. Rev. Stat.     Private right of                                                                                       to attract consumers. consumer to enter into a       made knowingly. of $500; prejudgment                           potential customers. If
 Ann.§§ 6-1-101,      action available                                                                                                              transaction.                                       interest is allowed;                      claims are groundless
 et seq.              too.                                                                                                                                                                             punitive damages                          or otherwise improper,
                                                                                                                                                                                                       allowed up to three                       then plaintiff is liable
                                                                                                                                                                                                       times actual damages.                     for defendant's fees
                                                                                                                                                                                                       Reasonable attorney's                     and costs.
                                                                                                                                                                                                       fees are allowed.
                      Colo. Rev. Stat. Ann. Colo. Rev. Stat.       Colo. Rev. Stat.    Colo. Rev. Stat. Ann.                                        Colo. Rev. Stat. Ann. § 6-1- Colo. Rev. Stat.      Colo. Rev. Stat. Ann. §§                  Colo. Rev. Stat. Ann.
                      §§ 6-1-103, 6-1-105, Ann. § 6-1-113          Ann. § 6-1-115      § 6-1-113(1)(a)                                              105(1)(u)                     Ann. §§ 6-1-         6-1-113(1)(a), 6-1-                       §6-1-113(3)
                      6-1-113                                                                                                                                                     105(1)(e),(g),(u)    113(2), 6-1-113(2)(a), 6-
                                                                                                                                                                                                       1-113(3)
                    Coors v. Sec. Life of                          Robinson v.         Hall v. Walter, 969                   Rhino Linings USA,                                                        Lexton-Ancira Real                        Hall v. Walter, 969
                    Denver Ins. Co., 112                           Lynmar Racquet      P.2d 224, 235 (1998).                 Inc. v. Rocky                                                             Estate Fund, 1972 v.                      P.2d 224, 235 (1998).
                    P.3d 59, 63-64                                 Club, Inc., 851                                           Mountain Rhino                                                            Haller, 826 P.2d 819,
                    (2005); Rhino Linings                          P.2d 274, 281                                             Lining, Inc., 62 P.3d.                                                    822-24 (1992).
                    USA, Inc. v. Rocky                             (Colo. Ct. App.                                           142,147-48 (2003).
                    Mountain Rhino                                 1993).
                    Lining, Inc., 62 P.3d
                    142, 146-47 (2003).
 Connecticut        Private right of action. Class permitted       Three years         Requires                              Reliance not          Materiality not required      Not required.         Permits actual and                        No jury trial right.
                                             only on behalf of     after the           ascertainable loss of                 required.             because misrepresentation                           injunctive relief;
 Unfair Trade                                Connecticut           violation           money for private right                                     need not be part of the basis                       punitive damages and
 Practices Act                               residents or          occurred.           of action.                                                  for the bargain.                                    attorney's fees within
                                             individuals                                                                                                                                               the discretion of the
 Conn. Gen. Stat.                            injured in                                                                                                                                                court (dependent upon
 Ann.§§ 42-110a, et                          Connecticut.                                                                                                                                              proof of reckless
                                                                                                                                                                                                                                                                            Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3569 Page 93 of




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                                               50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                     STATUTE OF
                                                                                                                                 RELIANCE /                                                                                         LIMITATIONS
                        PRIVATE RIGHT OF CLASS ACTION               LIMITATIONS &                                                                     AFFIRMATIVE ACTS /                                   DAMAGES &
         JDX                                                                            ACTUAL INJURY          DECEPTION         PROXIMATE                                            SCIENTER                                       ON UNJUST                    OTHER
                             ACTION       PROHIBITION                 DISCOVERY                                                                      MATERIAL OMISSIONS                                     REMEDIES
                                                                                                                                 CAUSATION                                                                                          ENRICHMENT
                                                                         RULE
 seq.                                                                                                                                                                                                  indifference to the
                                                                                                                                                                                                       rights of others or an
                                                                                                                                                                                                       intentional or wanton
                                                                                                                                                                                                       violation of those
                                                                                                                                                                                                       rights).
                        Conn. Gen. Stat. Ann. Conn. Gen. Stat. Conn. Gen. Stat.      Conn. Gen. Stat. Ann.                                                                                             Conn. Gen. Stat. Ann.
                        §42-110g(b)           Ann. §42-110g(b) Ann. §42-110g(f)      §42-110g(a)                                                                                                       §§ 42-110g(a), 42-
                                                                                                                                                                                                       110g(d)
                                                                                                                             Izzarelli v. R.J.     Izzarelli v. R.J. Reynolds     Cheshire Mortg.      Gargano v. Heyman,                                  Assoc. Invest. Co., v.
                                                                                                                             Reynolds Tobacco      Tobacco Co., 117 F.Supp. 2d Serv., Inc. v.          525 A.2d 1343, 1347                                 Williams Assocs., 645
                                                                                                                             Co., 117 F.Supp.2d    167, 176 (D. Conn.2000).       Montes, 612 A.2d     (1987).                                             A.2d 505, 512 (1994).
                                                                                                                             167, 176 (D.                                         1130, 1144 (Conn.
                                                                                                                             Conn.2000);                                          1992); Calandro v.
                                                                                                                             Solomon v. WMN                                       Allstate Ins. Co.,
                                                                                                                             Assocs., Inc., 1994                                  778 A.2d 212, 221
                                                                                                                             WL 597390, at *6                                     (Conn. App. Ct.
                                                                                                                             (Conn. Super. Ct.                                    2001); Muntz v.
                                                                                                                             Oct. 20, 1994).                                      Kraus, 757 A.2d
                                                                                                                                                                                  1207,1214 (Conn.
                                                                                                                                                                                  App. Ct.2000).
 Delaware               Private right of action   Class action     Three years       Neither deception       Neither        Reliance not           Prohibits concealment of a Neither intent to        Actual damages          Unjust enrichment
                        allowed. Attorney         permitted to any from discovery    nor injury is           deception nor required.               material fact with the intent make a deceptive      allowed; punitive       requires (1) an
 Consumer Fraud         general may also          victim of a      of violation.     required elements       injury is                             that others would rely on that or untrue            damages allowed only enrichment; (2) an
 Act                    enforce the act.          violation of                       under the act.          required                              concealment.                   statement, nor       in cases where          impoverishment; (3) a
                                                  Subchapter II.                     However, monetary       elements under                                                       intent to induce     compensatory damages connection between
 Del. Code. Ann. tit.                                                                recovery is based on    the act.                                                             reliance required,   are available and where the enrichment and
 6,§§ 2511, et seq.                                                                  damages.                However,                                                             however some         the fraud was gross,    the impoverishment;
                                                                                                             monetary                                                             concealment          oppressive, and         (4) an absence of
                                                                                                                                                                                                                                                                                                                         136




                                                                                                             recovery is                                                          claims require       aggravated or involves “justification” or
                                                                                                             based on                                                             intent that others   a breach of a trust or “cause” for the
                                                                                                             damages.                                                             rely on the          confidence. Injunctive enrichment and
                                                                                                                                                                                  concealment at       relief permitted.       impoverishment; and
                                                                                                                                                                                  issue.                                       (5) the absence of a
                                                                                                                                                                                                                               remedy provided by
                                                                                                                                                                                                                               law. (Same as AZ)

                                                                                                                                                                                                                              SOL for unjust
                                                                                                                                                                                                                              enrichment claims is 3
                                                                                                                                                                                                                              years.
                        Del. Code. Ann. tit. 6,                   Del. Code Ann. tit. Del. Code Ann. tit. 6, Del. Code Ann.                          Del. Code Ann. Tit. 6, §    Del. Code. Ann. tit Del. Code Ann. tit 6, §§ Jackson Nat’l Life Ins.
                        §§2525, 2532, 2533 .                      10, §8106 (any       §2513(a)              tit. 6, §2513(a)                        2513(a)                     6, §2513(a)         2523, 2583               Co. v. Kennedy, 741
                                                                  action for statutory                                                                                                                                        A.2d 377, 393-94
                                                                  damages).                                                                                                                                                   (Del. Ch. 1999).
                                                  Spark v. MBNA   Pender v.            Crosse v. BCBSD,      Crosse v.         Stephenson v.         Brandywine Volkswagen,      Stephenson v.       Stephenson v.
                                                  Corp.,157 F.    DaimlerChrysler      Inc., 836 A.2d 492, BCBSD, Inc., 836 Capano Dev. Inc., 462Ltd. V. State, 312 A.2d         Capano Dev. Inc., Capano Dev. Inc.,
                                                  Supp. 2d 330,   Corp., No. 03-       487 (2003);           A.2d 492, 487     A.2d 1069, 1074       632, 633 (1973).            462 A.2d 1069,1074 462 A.2d 1069, 1077
                                                  333 (D. Del.    12022, 2004 WL Stephenson v.               (2003);           (1983); S & R Assocs.                             (1983); Pack &      (1983).
                                                  2001).          2191030, at *1 (Del. Capano Dev. Inc., 462 Stephenson v. v. Shell Oil Co., 725                                 Process, Inc. v.
                                                                  Sup. Ct. July 30, A.2d 1069, 1077          Capano Dev. Inc., A.2d 431,440 (Del.                                Celotex Corp., 503
                                                                  2004); Pack &        (1983).               462 A.2d 1069, Super. Ct. 1998);                                    A.2d 646, 657 (Del.
                                                                  Process, Inc. v.                           1077 (1983).      Pack & Process, Inc.                              Super. Ct. 1985).
                                                                  Celotex Corp., 503                                           v. Celotex Corp., 503
                                                                  A.2d 646, 650 (Del.                                          A.2d 646, 657 (Del.
                                                                  Super. Ct. 1985).                                            Super. Ct.1985).
 District of            Private right of          Class actions   Three years.         No actual             A merchant may                          Misrepresentation must be Not settled.            Once a consumer          Unjust enrichment is
 Columbia               action - any person       permitted.                           deception or          violate the act                         material and have tendency                        shows damages, the       unavailable if plaintiff
                        whether acting on                                              damage required. A whether or not                             to mislead.                                       consumer may receive     has received the
 Consumer               behalf of himself or                                           merchant may          any deception                                                                             treble damages           benefit of its bargain.
                                                                                                                                                                                                                                                                                    Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3570 Page 94 of




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                                            50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                       STATUTE OF
                                                                                                                                        RELIANCE /                                                                                           LIMITATIONS
                      PRIVATE RIGHT OF CLASS ACTION                   LIMITATIONS &                                                                            AFFIRMATIVE ACTS /                                    DAMAGES &
           JDX                                                                           ACTUAL INJURY             DECEPTION            PROXIMATE                                              SCIENTER                                       ON UNJUST                 OTHER
                           ACTION       PROHIBITION                     DISCOVERY                                                                             MATERIAL OMISSIONS                                      REMEDIES
                                                                                                                                        CAUSATION                                                                                            ENRICHMENT
                                                                           RULE
 Protection           the general public                                               violate the act           actually takes                                                                                 or$1,500 per violation,
 Procedures Act       may bring an action                                              whether or not any        place - "whether                                                                               whichever is greater;
                      to enforce the Act.                                              consumer is in fact       or not any                                                                                     attorney's fees;
 D.C. Code §§ 28-                                                                      misled, deceived or       consumer is in                                                                                 punitive damages in
 3901,et seq.                                                                          damaged thereby.          fact misled,                                                                                   cases of outrageous or
                                                                                       However, the district     deceived or                                                                                    egregious wrongdoing
                                                                                       courts have standing      damaged                                                                                        proven "by clear and
                                                                                       requirements              thereby."                                                                                      convincing evidence";
                                                                                       identical to those in                                                                                                    and an injunction.
                                                                                       Article III, requiring
                                                                                       plaintiffs to suffer
                                                                                       actual injury.
                      D.C. Code § 28-                                D.C. Code § 12-   D.C. Code § 28-           D.C. Code §                               D.C. Code § 28-3904(e)                               D.C. Code § 28-
                      3905(k)(1)                                     301(8)            3904                      28-3904                                                                                        3905(k)(1)
                                             Margolis v. U-                                                                                                                                                     District Cablevision Ltd.
                                                                                                                                                                                                                                       Dahlgren v. Audiovox
                                             Haul Int'l, Inc., No.                                                                                                                                              P'ship v. Bassin, 828  Commc’ns Corp., No.
                                             07-5245, 2009                                                                                                                                                      A.2d 714, 725-26 728   2002 CA 007884 B,
                                             D.C. Super.                                                                                                                                                        (2003).                2012 WL 2131937
                                             LEXIS 8, at *4                                                                                                                                                                            (D.C. Super. Ct.
                                             (D.C. Super. Ct.                                                                                                                                                                          March 15, 2012)
                                             2009)                                                                                                                                                                                     (plaintiffs who receive
                                                                                                                                                                                                                                       the benefit of the
                                                                                                                                                                                                                                       bargain are not
                                                                                                                                                                                                                                       entitled to restitution).
 Florida              Private right of action Class actions          Four years.       To recover damages,                          Reliance and            Not required.                Not required;        Actual damages plus Unjust enrichment is Plaintiff must allege
                      for anyone aggrieved permitted.                                  must show "actual                            causation not                                        however, must        attorney's fees and      unavailable if            that violation of the
 Deceptive and        by a violation of the                                            damages" as a result                         required.                                            show that conduct costs; equitable relief plaintiff has received Act occurred in
 Unfair Trade         act or anyone who                                                of violation. However,                                                                            is likely to mislead available. Any party whothe benefit of its         Florida.
                                                                                                                                                                                                                                                                                                                              136




 Practices Act        has suffered a loss as                                           right of action granted                                                                           reasonable           is proven to have        bargain, or if
                      a result of a violation                                          "without regard to any                                                                            customers.           brought a frivolous,     defendant has
 Fla. Stat. Ann.      of the Act.                                                      other remedy or relief                                                                                                 legally or factually     provided
 §§501.201, et seq.                                                                    to which a person is                                                                                                   meritless claim or claim consideration for the
                                                                                       entitled, anyone                                                                                                       for the purpose of       benefit received.
                                                                                       aggrieved by a                                                                                                         harassment may be        Unjust enrichment
                                                                                       violation."                                                                                                            required to post bond in claim requires that
                                                                                                                                                                                                              the amount which the plaintiff lack a legal
                                                                                                                                                                                                              court finds reasonable remedy.
                                                                                                                                                                                                              to indemnify the
                                                                                                                                                                                                              defendant for any
                                                                                                                                                                                                              damages incurred,
                                                                                                                                                                                                              including reasonable
                                                                                                                                                                                                              attorney's fees.
                      Fla. Stat. Ann. §     Fla. Stat. Ann. § Fla. Stat. Ann. §        Fla. Stat. Ann §                                                                                                       Fla. Stat. Ann. §§
                      501.211               501.211           95.11.(3)(f)             501.211(2)                                                                                                             501.211, 501.211(3)
                      Martinez v. Rick Case Barnhill v. Fla.                           Fitzpatrick v. Gen.                          Davis v. Powertel,      Davis v. Powertel, Inc., 776 Davis v. Powertel,                            Prohias v. Pfizer,        Amar Shakti
                      Cars, Inc., 278 F.    Microsoft Anti-                            Mills, Inc., 263 F.R.D.                      Inc., 776So. 2d 971, So. 2d971, 973-74 (Fla. Dist. Inc.,776 So. 2d 971,                            Inc., 485 F. Supp.        Enters., LLC v.
                      Supp.2d 1371, 1373 Trust Litig., 905                             687, 695 (S.D. Fla.                          973-74 (Fla. Dist. Ct. Ct. App. 2000).               973-74 (Fla. Dist.                            2d 1329, 1335 (S.D. Wyndham
                      (S.D. Fla.2003); PNR, So.2d 195, 197                             2010) (citing Rollins,                       App. 2000); Latman v.                                Ct. App. 2000);                               Fla. 2007)); Am.          Worldwide, Inc., No.
                      Inc. v. Beacon Prop. (Fla. Dist. Ct.                             Inc. v. Butland,951                          Costa Cruise Lines                                   W.S. Badcock Corp.                            Safety Ins. Serv.,        10-1857, 2011
                      Mgmt.,Inc., 842 So. App. 2005).                                  So. 2d 860, 869 (Fla.                        N.V., 758 So. 2d                                     v. Myers, 696 So.                             Inc. v. Griggs,           WL3687855, at *3
                      2d 773, 777 (2003).                                              Dist. Ct. App. 2006)).                       699,703 (Fla. Dist. Ct.                              2d 776,779 (Fla.                              959 So. 2d 322,           (M.D. Fla. Aug. 22,
                                                                                                                                    App.2000).                                           Dist. Ct. App.1996).                          331-32 (Fla. Dist.        2011).
                                                                                                                                                                                                                                       Ct. App. 2007).
                                                                                                                                                                                                                                       Commerce P’ship
                                                                                                                                                                                                                                       8098 Ltd. P’ship v.
                                                                                                                                                                                                                                       Equity Contracting
                                                                                                                                                                                                                                       Co., 695 So. 2d
                                                                                                                                                                                                                                       383, 390 (Fla. Dist.
                                                                                                                                                                                                                                                                                         Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3571 Page 95 of




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                                           50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                     STATUTE OF
                                                                                                                                  RELIANCE /                                                                                            LIMITATIONS
                       PRIVATE RIGHT OF CLASS ACTION                LIMITATIONS &                                                                        AFFIRMATIVE ACTS /                                    DAMAGES &
          JDX                                                                            ACTUAL INJURY            DECEPTION       PROXIMATE                                               SCIENTER                                       ON UNJUST                 OTHER
                            ACTION       PROHIBITION                  DISCOVERY                                                                         MATERIAL OMISSIONS                                      REMEDIES
                                                                                                                                  CAUSATION                                                                                             ENRICHMENT
                                                                         RULE
                                                                                                                                                                                                                                    Ct. App. 1997);Am.
                                                                                                                                                                                                                                    Safety Ins. Serv.,
                                                                                                                                                                                                                                    Inc. v. Griggs, 959
                                                                                                                                                                                                                                    So. 2d 322, 331-32
                                                                                                                                                                                                                                    (Fla. Dist. Ct. App.
                                                                                                                                                                                                                                    2007); Am. Honda
                                                                                                                                                                                                                                    Motor Co. v.
                                                                                                                                                                                                                                    Motorcycle Info.
                                                                                                                                                                                                                                    Network, Inc., 390
                                                                                                                                                                                                                                    F. Supp. 2d 1170,
                                                                                                                                                                                                                                    1178 (M.D. Fla.
                                                                                                                                                                                                                                    2005); Prohias v.
                                                                                                                                                                                                                                    Pfizer, Inc., 490 F.
                                                                                                                                                                                                                                    Supp. 2d 1228,
                                                                                                                                                                                                                                    1236-37 (S.D. Fla.
                                                                                                                                                                                                                                    2007) .
 Georgia               Private right of action Prohibited under   Four years from      Must establish likely                  Reliance not required   Misrepresentation must cause Intent to deceive    No civil damages                                    FBPA requires
                       for injunctive relief the FBPA.            discovery under      to be damaged                          under the UDTPA.        a likelihood of confusion, but not required under under UDTPA,                                        presuit demand
 Uniform Deceptive     under the Uniform                          the UDTPA. Two       under the UDTPA.                       Reliance and            need not cause actual          the UDTPA.         including statutory                                 letter. FBPA requires
 Trade Practices Act   Deceptive Trade                            years from           FBPA requires injury                   causation required      confusion under the UDTPA. Neither knowledge      damages; only                                       administrator to be
 (Ga. Code Ann. §§     Practices Act                              discovery under      or damages.                            under the FBPA.         Material omissions required of deception nor      injunctive relief                                   served with
 10-1-370, et seq.)    ("UDTPA"). Private                         the FBPA.                                                                           under the FBPA.                intent to deceive  available; attorney's                               complaint and
                       right of action, but no                                                                                                                                       required under     fees also permitted.                                provided an
 Fair Business         class actions under                                                                                                                                           FBPA.              FBPA permits recovery                               opportunity to be
 Practices Act (Ga.    the Fair Business                                                                                                                                                                of actual damages,                                  heard in case. FBPA
 Code Ann. §§10-1-     Practices Act                                                                                                                                                                    injunctive relief, and                              limits "consumers" to
 390, et seq.)         ("FBPA").                                                                                                                                                                        punitive damages if                                 natural persons and
                                                                                                                                                                                                        specific intent is shown;                           "consumer
                                                                                                                                                                                                                                                                                                                          136




                                                                                                                                                                                                        no statutory damages                                transactions" to those
                                                                                                                                                                                                        or prejudgment interest.                            involving goods for
                                                                                                                                                                                                        Treble damages may                                  personal, family, or
                                                                                                                                                                                                        be available if a                                   household
                                                                                                                                                                                                        violation is found to be                            purchases.
                                                                                                                                                                                                        intentional.
                       Ga. Code Ann. §§ 10- Ga. Code Ann. § Ga. Code Ann. §§ Ga. Code Ann. §§ 10-                             Ga. Code Ann. §§ 10-                                  Ga. Code Ann. § Ga. Code Ann. §§ 10-1-                                  Ga. Code Ann. §§
                       1-373(a), 10-1-399(a) 10-1-399       9-3-31,10-1-401(a) 1-373, 10-1-399                                1-372(b), 10-1-399(a)                                 10-1-373            373(a),10-1-373(b), 10-                             10-1-392(a)(6), 10-
                                                                                                                                                                                                        1-373(c), 10-1-399(a),                              1-392(a)(10),10-1-
                                                                                                                                                                                                        10-1-399(c)                                         399(b), 10-1-399(g)
                                                                  Kason Indus. Inc. v. Kason Indus., Inc. v.                  Baranco, Inc. v.      Looney v. M-Squared, Inc., Henderson v.             Moore v. Davis Motors,
                                                                  Component            Component Hardware                     Bradshaw,456          586 S.E.2d 44, 50-51 (Ga. Ct. Gandy, 608 S.E.2d Inc. v. Joyner, 556
                                                                  Hardware Group, Group, Inc., 120 F.3d                       S.E.2d 592, 594 (Ga. App. 2003); Regency Nissan, 248, 252 (Ga. Ct. S.E.2d 137, 140 (2001);
                                                                  Inc., 120 F.3d 1199, 1199, 1200 (11th                       Ct. App. 1995);       Inc. v. Taylor, 391S.E.2d 467, App. 2004);          Catrett v. Landmark
                                                                  1204-05 (11th Cir. Cir.1997); Regency                       Regency Nissan, Inc. 470 (Ga. Ct. App. 1990).         Regency Nissan, Dodge, Inc., 560 S.E.2d
                                                                  1997).               Nissan, Inc. v. Taylor,                v. Taylor, 391S.E.2d                                  Inc. v. Taylor,391 101 (Ga. Ct. App. 2002);
                                                                                       391 S.E.2d 467, 470                    467, 470 (Ga. Ct.                                     S.E.2d 467, 470     Conseco Fin. Serv.
                                                                                       (Ga. Ct. App.1990).                    App. 1990); Zeeman                                    (Ga. Ct. App.       Corp. v. Hill, 556 S.E.2d
                                                                                                                              v. Black, 273 S.E.2d                                  1990).              468, 473 (Ga. Ct.
                                                                                                                              910, 916 (Ga. Ct.                                                         App.2001).
                                                                                                                              App. 1980).
 Hawaii               The attorney general Class action           Four years           Suit for damages                       In a suit for         Materiality required. A         Intent not required A sum not less than Unjust enrichment
                      or the director of the permitted.           from                 requires private                       damages,              deceptive act or practice is: for damages or for $1,000 or three times claim requires that
 Unfair Practices Act Office of Consumer                          discovery.           damage. Monetary                       violation must        (1) a representation,           injunctive relief.  actual damages,           plaintiff lacks a legal
                      Protection may bring                                             damage not required                    "cause" actual        omission, or practice; that (2)                     whichever is greater, remedy.
 Haw. Rev. Stat. §§ an action. Also,                                                   to obtain injunctive                   damage.               is likely to mislead                                unless plaintiff is an
 480-1, et seq.       private right of action                                          relief. Actual confusion                                     consumers acting                                    "elder" in which case
                      permitted. Right of                                              or misunderstanding                                          reasonably under the                                it is the greater of
                      action limited to                                                not required.                                                circumstances where; (3) the                        $5,000 or three times
                      consumers, defined                                                                                                            representation, omissions, or                       damages; injunctive
                                                                                                                                                                                                                                                                                     Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3572 Page 96 of




                      as natural persons.                                                                                                           practice is material. A                             relief available;
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                                          50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                  STATUTE OF
                                                                                                                              RELIANCE /                                                                                           LIMITATIONS
                      PRIVATE RIGHT OF CLASS ACTION              LIMITATIONS &                                                                      AFFIRMATIVE ACTS /                                    DAMAGES &
         JDX                                                                          ACTUAL INJURY         DECEPTION         PROXIMATE                                             SCIENTER                                        ON UNJUST                 OTHER
                           ACTION       PROHIBITION                DISCOVERY                                                                       MATERIAL OMISSIONS                                      REMEDIES
                                                                                                                              CAUSATION                                                                                            ENRICHMENT
                                                                      RULE
                                                                                                                                                 representation, omission or                         attorney's fees
                                                                                                                                                 practice is considered                              mandatory. In class
                                                                                                                                                 "material" if it involves                           actions, only
                                                                                                                                                 information that is                                 compensatory
                                                                                                                                                 important to the consumer                           damages are awarded;
                                                                                                                                                 and, hence, likely to affect                        $1,000 minimum does
                                                                                                                                                 their choice of, or conduct                         not apply.
                                                                                                                                                 regarding, a product.
                                                                                                                                                 Moreover, the ...test is an
                                                                                                                                                 objective one, turning on
                                                                                                                                                 whether the act or omission
                                                                                                                                                 is likely to mislead
                                                                                                                                                 consumers, as to information
                                                                                                                                                 important to the consumers,
                                                                                                                                                 in making a decision
                                                                                                                                                 regarding the product or
                                                                                                                                                 service.
                      Haw. Rev. Stat.          Haw. Rev.       Haw. Rev. Stat.      Haw. Rev. Stat. Ann.                  Haw. Rev. Stat. Ann.                                  Haw. Rev.            Haw. Rev. Stat. Ann. §§
                      Ann. §§ 480-1,           Stat. Ann.      Ann. §480-24         §§ 480-13, 481A-4,                    § 480-13                                              Stat. Ann. §§        480-13, 480-13(c)(1)
                      480-2, 480-13            §§480-1,                             481A-3(b)                                                                                   480A-4, 480-2
                                               480-13
                      Leibert v. Fin.                          Leibert v. Fin.      Sambor v. Omnia                       Sambor v. Omnia      Courbat v. Dahana Ranch,         Davis v. Wholesale   Cieri v. Leticia Query Porter v. Hu, 169 P.3d
                      Factors, Ltd., 788                       Factors, Ltd., 788   Credit Servs., Inc.,                  Credit Servs., Inc., Inc., 111 Haw. 254, 262          Motors, 949 P.2d     Realty, Inc., 905 P.2d 994, 1006-07 (Haw.
                      P.2d 833, 837-38                         P.2d 833, 837-38     183 F.Supp.2d 1234,                   183 F.Supp 2d1234, (Haw. 2006)                        1026, 1038 n.15      29 (1995); Liebert v. Fin.Ct. App. 2007); Davis
                      (1990); Hunt v.                          (1990).              1244 (D. Haw.2002);                   1244 (D. Haw. 2002).                                  (Haw. Ct.            Factors, Ltd.,788 P.2d v. Four Seasons Hotel
                      FirstIns. Co. of Haw.,                                        Davis v. Wholesale                                                                          App.1997).           833 (1990); Eastern         Ltd., No. 08-
                      922P.2d 976, 985-86                                           Motors, 949P.2d                                                                                                  Star, Inc. v. Union Bldg. 00525, 2011 WL
                      (Haw. Ct. App.                                                1026, 1038 (Haw. Ct.                                                                                             Materials Corp., 712 5025521, at *6 (D.
                                                                                                                                                                                                                                                                                                                      136




                      1996); Beerman v.                                             App. 1997) (elements                                                                                             P.2d 1148, 1151 (1985). Haw. Oct. 20, 2011)
                      Toro Mfg. Corp.,                                              for recovery under §                                                                                                                         (“Hawaii courts
                      615P.2d 749, 754                                              480-13(b)(1) are: (1) a                                                                                                                      observe the principle
                      (Haw. Ct. App.                                                violation of § 480-2;                                                                                                                        that equitable
                      1980).                                                        (2) injury to the                                                                                                                            remedies, like unjust
                                                                                    consumer caused by                                                                                                                           enrichment, are only
                                                                                    such violation; and (3)                                                                                                                      available when legal
                                                                                    proof of the amount of                                                                                                                       remedies are
                                                                                    damages).                                                                                                                                    inadequate.”).
 Idaho                Private right of         Class action    Two years            Requires                "Actual       Requires                Material omissions            Knowledge of         In an individual action,                          An action brought by
                      action permitted.        permitted.      from                 "ascertainable loss" deception" not   ascertainable loss      required.                     falsity required for greater of actual                                 an elderly or disabled
 Consumer                                                      discovery.           for private right of    required;     incurred as a result of                               affirmative          damages or$1,000 and                              person shall also
 Protection Act                                                                     action.                 tendency to   violation.                                            representations.     punitive damages if                               recover from the
                                                                                                            deceive is                                                                               "repeated" or "flagrant;"                         offending party an
 Idaho Code Ann. §§                                                                                         enough.                                                                                  prejudgment interest                              enhanced penalty
 48-601, et seq.                                                                                                                                                                                     and injunctive relief                             of$15,000 or treble the
                                                                                                                                                                                                     available. Statutory                              actual damages,
                                                                                                                                                                                                     minimum of damages of                             whichever is greater.
                                                                                                                                                                                                     $1,000 must be entered
                                                                                                                                                                                                     if elements of statute
                                                                                                                                                                                                     are established.
                                                                                                                                                                                                     Mandatory attorneys'
                                                                                                                                                                                                     fees for prevailing
                                                                                                                                                                                                     plaintiff. Discretionary to
                                                                                                                                                                                                     defendant. Class action
                                                                                                                                                                                                     damages limited to
                                                                                                                                                                                                     "actual damages" or "a
                                                                                                                                                                                                     total for the class that
                                                                                                                                                                                                     may not exceed $1,000,
                                                                                                                                                                                                     whichever is greater.
                                                                                                                                                                                                                                                                                 Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3573 Page 97 of




                      Idaho Code Ann. §        Idaho Code Ann. Idaho Code Ann. § Idaho Code Ann. § 48-                    Idaho Code Ann. §                                     Idaho Code Ann. § Idaho Code Ann. §§ 48-                               Idaho Code Ann. §
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                                                                                                                    $/7(;+,%,7
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                                             50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                     STATUTE OF
                                                                                                                                    RELIANCE /                                                                                       LIMITATIONS
                       PRIVATE RIGHT OF CLASS ACTION                LIMITATIONS &                                                                         AFFIRMATIVE ACTS /                                 DAMAGES &
            JDX                                                                      ACTUAL INJURY          DECEPTION               PROXIMATE                                            SCIENTER                                     ON UNJUST                OTHER
                            ACTION       PROHIBITION                  DISCOVERY                                                                          MATERIAL OMISSIONS                                   REMEDIES
                                                                                                                                    CAUSATION                                                                                        ENRICHMENT
                                                                         RULE
                      48-608                    § 48-608          48-619          608                                           48-608                                              48-603               608(1), 48-608(5)                             48-608(2)
                                                                                  In re Wiggins, 273     State ex rel.          Jackson v. Wood,, State ex rel. Kidwell v.          State ex rel.        In re. Wiggins, 273 B.R.
                                                                                  B.R.839, 856-57        Kidwell v.             859 P.2d 378, 380 Master Distribs., Inc., 615       Kidwell v. Master    839, 881-82 (Bankr. D.
                                                                                  (Bankr. D. Idaho       Master                 (Idaho Ct. App.1993). P.2d 116, 122-23 (Idaho       Distribs., Inc.,615  Idaho2001); Fenn v.
                                                                                  2001); Yellowpine      Distribs.,                                   1980).                        P.2d 116, 122-23     Noah, 133 P.3d 1240,
                                                                                  Water Users' Ass'n v. Inc.,615 P.2d                                                               (Idaho 1980).        1244-45 (2006); Israel v.
                                                                                  Imel, 670 P.2d 54, 56- 116, 122-23                                                                                     Leachman, 72 P.3d 864
                                                                                  57(1983); Jackson v. (1980).                                                                                           (2003); Mac Tools, Inc.
                                                                                  Wood, 859 P.2d 378,                                                                                                    v. Griffin, 126 Idaho
                                                                                  380 (Idaho Ct. App.                                                                                                    193, 196-98 (1994);
                                                                                  1993).                                                                                                                 Nalen v. Jenkins, 741
                                                                                                                                                                                                         P.2d 366 (Idaho 1987).
 Illinois             Private right of action   Class action      Three years          Actual injury required. Actual           Proximate causation Unfair methods of               Intent to deceive is Statutory and            Unjust enrichment is Jury trial right
                      permitted, but            permitted, but    from                                         deception        required. The        competition and unfair or      not required, but    compensatory             unavailable if       does not exist in
 Consumer Fraud applies only to                 applies only to   discovery.                                   required.        deception must occur deceptive acts or              intent that          damages permitted. plaintiff has received state court in
 and Deceptive        fraudulent                fraudulent                                                                      in the course of     practices, including but not   consumer rely on Statute does allow           the benefit of its   certain cases.
 Business Practice transactions which           transactions                                                                    conduct involving    limited to the use or          the information is for punitive               bargain.
 Act                  take place "primarily     which take place                                                                trade and commerce employment of any                required.            damages under
                      and substantially" in     "primarily and                                                                  and proximately      deception, fraud, false                             "other relief"
 818 Ill. Comp. Stat. Illinois.                 substantially" in                                                               cause the damage. pretense, false promise,                               provision. Grounds
 5051/1, et seq.                                Illinois.                                                                                            misrepresentation or the                            for relief must be
                                                                                                                                                     concealment, suppression                            alleged, including
                                                                                                                                                     or omission of any                                  fraud, malice, or
                                                                                                                                                     material facts, with intent                         gross negligence
                                                                                                                                                     that others reply upon the                          indicating wanton
                                                                                                                                                     concealment, suppression                            disregard for the
                                                                                                                                                     or omission of such                                 rights of others.
                                                                                                                                                     material fact or the use or                         Injunctive relief
                                                                                                                                                                                                                                                                                                                136




                                                                                                                                                     employment of any                                   permitted. Attorneys'
                                                                                                                                                     practice described in                               fees permitted.
                                                                                                                                                     Section 2 of the "Uniform
                                                                                                                                                     Deceptive Trade Practices
                                                                                                                                                     Act," approved August 5,
                                                                                                                                                     1965 [815ILCS 510/2], in
                                                                                                                                                     the conduct of any trade or
                                                                                                                                                     commerce are hereby
                                                                                                                                                     declared unlawful whether
                                                                                                                                                     any person has in fact
                                                                                                                                                     been misled, deceived or
                                                                                                                                                     damaged thereby.
                      815 Ill. Comp. Stat.      815 Ill. Comp.    815 Ill. Comp. Stat. 815 Ill. Comp. Stat.   815 Ill. Comp.                         815 Ill. Comp. Stat. Ann.                    815 Ill. Comp. Stat.
                      Ann.505/10a               Stat. Ann.505/10a Ann.505/10a(e)       Ann.505/10a            Stat. Ann.505/10a                      505/2                                        Ann.505/2AA, 2S, 2W,
                                                                                                                                                                                                  7, 10a
                      Barbara's Sales, Inc. Barbara's Sales, Highsmith v.        Avery v. State Farm Avery v. State          Xydakis v. Target , Ryan v. Werst Elec. GmbH & Bunting v.            Guess v. Brophy, 517 La Throp v. Bell Fed. Martin v. Heinold
                      v. Intel Corp., 227   Inc. v. Intel    Chrysler Credit     Mut. Auto. Ins. Co. , Farm Mut. Auto. 333 F.Supp. 2d 686, Co., 59 F.3d 52, 53-54 (7th Progressive Corp., N.E.2d 693, 697 (Ill. Ct. Sav. & Loan Ass’n, Commodities, Inc.,
                      Ill.2d 45,60 (2007); Corp., 227 Ill.2d Corp., 18 F.3d434, 216 Ill. 2d 100, 199 Ins. Co. , 216 Ill. 688 (N.D. Ill. 2004); Cir. 1995).                  809 N.E.2d 225,       App. 1987).          370 N.E.2d 188, 195 643 N.E.2d 734, 753
                      Avery v. State Farm 45,60 (2007);      441 (7th Cir. 1994) (2005); Oliveira v.     2d 100, 199         Oliveira v. Amoco                              231 (Ill. App. Ct.                         (Ill. 1977) (affirming (1994).
                      Mutt. Auto Ins.,      Avery v. State   (quoting Knox Coll. Amoco Oil Co., 201 Ill. (2005); Oliveira v. Oil Co., 776 N.E.2d                            2004); Griffin v.                          dismissal of an unjust
                      Co.,835 N.E.2d 801, Farm Mutt. Auto v. Celotex Corp., 2d 134, 155 (2002); Amoco Oil Co., 151, 164 (2002);                                             Universal Cas. Co. ,                       enrichment claim
                      849-50 (2005).        Ins., Co.,835    88 Ill. 2d407, 415 Bunting v. Progressive 201 Ill.              Seigel v. Levy Org.                            654 N.E.2d 694,                            because “[a] person is
                                            N.E.2d 801, 849- (1981)); Walsh v. Corp., 809 N.E.2d         2d 134, 155         Dev. Co., 607 N.E.2d                           700-01 (Ill. App. Ct.                      not entitled to
                                            50 (2005).       Barry-Harlem        225, 231 (Ill. App. Ct. (2002);             194, 198 (1992);                               1995);Smith v.                             compensation on the
                                                             Corp.,649 N.E.2d 2004).                     Bunting v.          Bunting v.                                     Prime Cable of Chi.,                       grounds of unjust
                                                             614, 616 (Ill. Ct.                          Progressive         Progressive Corp.,                             658 N.E. 2d 1325,                          enrichment if
                                                             App. 1995).                                 Corp., 809 N.E.2d 809 N.W.2d 225, 231                              1335 (Ill. App. Ct.                        he receives . . . that
                                                                                                         225, 231 (Ill. App. (Ill. App.Ct. 2004).                           1992).                                     which it was agreed
                                                                                                         Ct. 2004).                                                                                                    between them the
                                                                                                                                                                                                                       other should give in
                                                                                                                                                                                                                                                                           Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3574 Page 98 of




                                                                                                                                                                                                                       return” (citing Brooks,
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                                            50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                        STATUTE OF
                                                                                                                                    RELIANCE /                                                                                               LIMITATIONS
                       PRIVATE RIGHT OF CLASS ACTION                   LIMITATIONS &                                                                       AFFIRMATIVE ACTS /                                         DAMAGES &
           JDX                                                                               ACTUAL INJURY         DECEPTION        PROXIMATE                                                 SCIENTER                                        ON UNJUST                 OTHER
                            ACTION       PROHIBITION                     DISCOVERY                                                                        MATERIAL OMISSIONS                                           REMEDIES
                                                                                                                                    CAUSATION                                                                                                ENRICHMENT
                                                                            RULE
                                                                                                                                                                                                                                           548 P.2d at 1171)).
 Indiana               Private right of action Class action          Two years            "Actual                              Reliance and            Claims are based on                "Incurable"            Before 2005                                   Requires notice to
                                               permitted.            from the             damages"                             proximate               misrepresentation of               deceptive practices    amendment,                                    defendant unless
 Deceptive                                                           occurrence of        required.                            causation               material fact. However, the        require "knowing       recovery limited                              deceptive act is
 Consumer Sales                                                      act.                                                      required.               IDCSA, does NOT have               violation" and         to "damages                                   "incurable. “Money
 Act                                                                                                                                                   “general fraud" category.          "intent to mislead;"   actually                                      recovered in a class
                                                                                                                                                       “The categories of deceptive       most "uncured"         suffered." After                              action that cannot be
 Ind. Code Ann. §§                                                                                                                                     acts giving rise to liability      deceptive practices    2005                                          returned to
 24-5-0.5-1, et seq.                                                                                                                                   under the IDCSA are very           require defendant      amendment,                                    consumers within one
                                                                                                                                                       specifically defined... there is   had "[known] or        damages                                       year reverts back to
                                                                                                                                                       no general 'fraud' category.       should reasonably      "actually                                     the defendant.
                                                                                                                                                       Compare consumer                   have known."           suffered" or
                                                                                                                                                       protection acts in many other                             $500, whichever
                                                                                                                                                       states, which either                                      is greater.
                                                                                                                                                       specifically refer to failure to                          Allows attorneys'
                                                                                                                                                       state material facts or                                   fees. Allows
                                                                                                                                                       include 'catch-all'                                       damages for a
                                                                                                                                                       clauses...the IDCSA contains                              willful deceptive
                                                                                                                                                       no such provisions."                                      act of three
                                                                                                                                                                                                                 times actual
                                                                                                                                                                                                                 damages or
                                                                                                                                                                                                                 $1,000,
                                                                                                                                                                                                                 whichever is
                                                                                                                                                                                                                 greater.
                                                                                                                                                                                                                 Injunctive relief
                                                                                                                                                                                                                 and discretionary
                                                                                                                                                                                                                 attorneys' fees
                                                                                                                                                                                                                 available.
                                                                                                                                                                                                                                                                                                                             136




                                                                                                                                                                                                                 Prejudgment
                                                                                                                                                                                                                 interest
                                                                                                                                                                                                                 recoverable.
                       Ind. Code Ann. § 24-    Ind. Code Ann. § Ind. Code Ann. §          Ind. Code Ann. § 24-5-               Ind. Code Ann. § 24-    Ind. Code Ann. § 24-5-                                    Ind. Code Ann. § 24-5-                        Ind. Code Ann. §§ 24-
                       5-0.5-4                 24-5-0.5-4         24-5-0.5-5(b)           0.5-4(a)                             5-0.5-4(a)              0.5-3(a)                                                  0.5-4; P.L. 165-2005                          5-0.5-4(b), 24-5-0.5-5
                       McKinney v. State,      McKinney v.                                                                     Captain & Co. v.        McKinney v. State, 693         McKinney v. State,         Missi v. CCC Custom
                       693N.E.2d 65, 66        State, 693N.E.2d                                                                Steinberg, 505          N.E.2d 65, 72 (Ind. 1998);     693N.E.2d 65, 68-          Kitchens, Inc., 731
                       (Ind.1998).             65, 66 (Ind.1998).                                                              N.E.2d 88, 98-99        Lawson v. Hale, 902N.E.2d 69 (Ind.1998).                  N.E.2d 1037, 1041 (Ind.
                                                                                                                               (Ind. Ct. App. 1987).   267, 274 (Ind. Ct. App. 2009).                            Ct. App. 2000); Clark's
                                                                                                                                                                                                                 Pork Farms v. Sand
                                                                                                                                                                                                                 Livestock Sys., Inc., 563
                                                                                                                                                                                                                 N.E. 2d 1292,1301 (Ind.
                                                                                                                                                                                                                 Ct. App. 1990).
 Iowa                  Private right of action Class action          Within two years of A consumer “who                       Although unclear,        Claimant “must prove that the Shall not engage in        Actual damages, treble Unjust enrichment is Requires notice to
                       allowed.                permitted only        the occurrence of suffers an                              reliance may not need prohibited practice related to practice or act the          damages (in some          unavailable if      Attorney General
 Consumer                                      after receiving       the last event giving ascertainable loss of               to be proven if action a material fact or facts.”      person “knows or           instances), equitable plaintiff has received within seven days of
 Frauds Act                                    approval from         rise to the cause of money or property”                   is for equitable relief.                               reasonably should          relief, and attorney’s    the benefit of its  filing.
                                               attorney general      action or within two                                                                                             know is an unfair          fees.                     bargain.
 Iowa Code §§                                  that lawsuit is not   years of the                                                                                                     practice . . .” with
 714.16 ; 714H                                 “frivolous.”          discovery of the                                                                                                 “the intent that
                                                                     violation                                                                                                        others rely upon the
                                                                                                                                                                                      unfair practice . . . .”
                       Iowa Code § 714H        Iowa Code §           Iowa Code §          Iowa Code § 714H.5                                            Iowa Code § 714H.3(1)         Iowa Code §              Iowa Code § 714H.5                                 Iowa Code § 714H.6
                                               714H.7                714H.5(5)                                                                                                        714H.3(1)
                                                                                                                               State v. HydroMag                                                                                         Smith v. Stowell, 125
                                                                                                                               Ltd., 436 N.W.2d 617,                                                                                     N.W.2d 795, 800
                                                                                                                               621 (discussing                                                                                           (Iowa 1964) (“[A]
                                                                                                                               requirements for State                                                                                    person is not entitled
                                                                                                                               attorney general to                                                                                       to compensation on
                                                                                                                               prove violation).                                                                                         the ground of unjust
                                                                                                                                                                                                                                                                                        Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3575 Page 99 of




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                                         50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                  STATUTE OF
                                                                                                                            RELIANCE /                                                                                  LIMITATIONS
                      PRIVATE RIGHT OF CLASS ACTION              LIMITATIONS &                                                                    AFFIRMATIVE ACTS /                            DAMAGES &
          JDX                                                                        ACTUAL INJURY          DECEPTION       PROXIMATE                                      SCIENTER                                      ON UNJUST                   OTHER
                           ACTION       PROHIBITION                DISCOVERY                                                                     MATERIAL OMISSIONS                              REMEDIES
                                                                                                                            CAUSATION                                                                                   ENRICHMENT
                                                                      RULE
                                                                                                                                                                                                                    enrichment if he
                                                                                                                                                                                                                    received . . . that
                                                                                                                                                                                                                    which it was agreed
                                                                                                                                                                                                                    between them the
                                                                                                                                                                                                                    other should give
                                                                                                                                                                                                                    in return.” (quoting
                                                                                                                                                                                                                    Restatement (First) of
                                                                                                                                                                                                                    Restitution § 107 cmt.
                                                                                                                                                                                                                    (1)a (1937))),
                                                                                                                                                                                                                    overruled on other
                                                                                                                                                                                                                    grounds, Lamp v.
                                                                                                                                                                                                                    Amer. Prosthetics,
                                                                                                                                                                                                                    Inc., 379 N.W.2d 909,
                                                                                                                                                                                                                    910 (Iowa 1986).
 Kansas               Private right of      Class action      Three years from Only "aggrieved"                         "Causal                Misrepresentation or    Most deceptive      In individual action,    Unjust enrichment is     Consumers limited to
                      action allowed.       allowed.          date of violation. consumer can file an                   connection"            omission must be of a   acts or practices   plaintiff may recover    unavailable if           individuals, husbands
 Consumer                                   Class action                         individual private                     required.              "material fact."        require willful or  equitable relief or the  defendant has            and wives, sole
 Protection Act                             only allowed                         cause of action and                    However,                                       knowing (or have    greater of damages       provided                 proprietors, or family
                                            for certain                          receive damages; only                  reliance not                                   reason to know of)  or civil penalty of up   consideration for        partnerships. Jury trial
 Kan. Stat. Ann. §§                         claims.                              one who suffers loss                   required.                                      misrepresentation   to $10,000 per           benefit received.        allowed.
 50-623, et seq.                                                                 or injury may recover                                                                 or omission. Party  violation. Punitive
                                                                                 damages in a class                                                                    must not willfully  damages may be
                                                                                 action.                                                                               violate Act, but    awarded. Attorneys'
                                                                                                                                                                       must merely         fees are
                                                                                                                                                                       engage in the       discretionary.
                                                                                                                                                                       willful use of a    Recovery in class
                                                                                                                                                                       misrepresentation   actions limited to
                                                                                                                                                                       or an omission.     recover of actual
                                                                                                                                                                                                                                                                                                             136




                                                                                                                                                                                           damages.
                      Kan. Stat. Ann. § 50- Kan. Stat. Ann. §§ Kan. Stat. Ann. §   Kan. Stat. Ann. §§ 50-               Kan Stat. Ann. §§ 50- Kan. Stat. Ann. §§ 50-   Kan. Stat. Ann. §§ Kan. Stat. Ann. §§ 50-                             Kan. Stat. Ann. § 50-
                      634,50-634(d)         50-634, 50-634(d) 60-512(2)            634(b), (d)                          626,50-634(b), (d)    626(a), (b)(2)- (4)      50-626(a), (b)      636, 50-634(b), 50-                               624(b)
                                                                                                                                                                                           634(e), 50-636(a),50-
                                                                                                                                                                                           636(d)
                                                              Alexander v.        Lowe v. Surpass Res.                  Finstad v. Washburn                            Moore v. Bird Eng'g Dodson v. U-Need a      Senne & Co. v.            Waggener v.
                                                              Certified Master    Corp., 253 F. Supp.                   Univ. of Topeka, 845                           Co., 41 P.3d 755, Self Storage, 96 P.3d Simon Capital Ltd.            Seever Sys., Inc.,
                                                              Builders Corp.,     2d1209, 1229 n.16 (D.                 P.2d 685,690-92                                762-64 (Kan. 2002); 667, 673-74 (2004);     P’ship, No. 93-302,       664 P.2d 813, 816
                                                              1P.3d 899, 905-08 Kan.2003); Finstad v.                   (Kan. 1993); Cole v.                           York v. InTrust     York v. InTrust Bank, 2007 WL 1175858,            (1983).
                                                              (Kan.2000); Haag v. Washburn Univ. of                     Hewlett-Packard Co.,                           Bank, N.A., 962     N.A., 962 P.2d 405, 429 at *8 (Kan. Ct. App.
                                                              Dry Basement, Inc., Topeka, 845 P.2d                      No.90-164, 2004 WL                             P.2d 405, 420-21 (Kan.1998); Equitable Apr. 20, 2007)
                                                              732 P.2d392 (Kan. 685,691 (Kan. 1993).                    376471, at *6 (Kan.                            (Kan.1998). Haag v. Life Leasing Corp. v. (underlying premise
                                                              Ct. App. 1987).                                           Ct. App. Feb                                   Dry Basement, Inc. Abbick, 757 P.2d         of a claim for unjust
                                                                                                                        27,2004).                                      732 P.2d 392 (Ct. 304,307-08 (Kan. 1988); enrichment is that
                                                                                                                                                                       App. 1987).         Watkins v. Roach        the D received a
                                                                                                                                                                                           Cadillac, Inc., 637P.2d benefit w/o
                                                                                                                                                                                           458, 464 (Kan Ct.       providing
                                                                                                                                                                                           App.1981).              consideration);
                                                                                                                                                                                                                   Tradesmen Int’l,
                                                                                                                                                                                                                   Inc. v. U.S. Postal
                                                                                                                                                                                                                   Serv., 234 F. Supp.
                                                                                                                                                                                                                   2d 1191, 1205-06
                                                                                                                                                                                                                   (D. Kan. 2002)
                                                                                                                                                                                                                   (finding that
                                                                                                                                                                                                                   requirement of
                                                                                                                                                                                                                   unjust enrichment
                                                                                                                                                                                                                   claim not met where
                                                                                                                                                                                                                   P fails to allege that
                                                                                                                                                                                                                   D failed to pay for
                                                                                                                                                                                                                   the benefits
                                                                                                                                                                                                                                                                        Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3576 Page 100 of




                                                                                                                                                                                                                   conferred upon it).
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                                                                                                                                       RELIANCE /                                                                                              LIMITATIONS
                       PRIVATE RIGHT OF CLASS ACTION                LIMITATIONS &                                                                              AFFIRMATIVE ACTS /                                          DAMAGES &
         JDX                                                                             ACTUAL INJURY            DECEPTION            PROXIMATE                                                   SCIENTER                                     ON UNJUST           OTHER
                            ACTION       PROHIBITION                  DISCOVERY                                                                               MATERIAL OMISSIONS                                            REMEDIES
                                                                                                                                       CAUSATION                                                                                               ENRICHMENT
                                                                          RULE
 Kentucky              Private right of       Class action       One year after any    Must suffer              Does not           Proximate causation      Materiality required.              Must show              Actual damages,                        Limited to persons
                       action allowed.        likely             action brought by     "ascertainable loss of   require proof of   or causal relationship   Kentucky follows the FTC's         defendant's actions    discretionary punitive                 who purchase or
 Consumer                                     prohibited.        attorney general      money or property,       actual deception   between the act or       definition of "deceptive act”:     are intentional or     damages, equitable                     lease goods or
 Protection Act                                                  terminated or         real or personal, as a   of some person.    practice and injury.     “First, there is a                 grossly negligent.     relief, reasonable                     services for personal,
                                                                 within two years      result of" violation.                                                representation, omission, or                              attorney's fees, and                   family, or household
 Ky. Rev. Stat. Ann                                              after violation of                                                                         practice that, second, is likely                          costs allowed.                         purposes.
 §§367.110, et seq.                                              the Act, whichever                                                                         to mislead consumers acting
                                                                 is later. Discovery                                                                        reasonably under the
                                                                 rule does not                                                                              circumstances, and third, the
                                                                 apply.                                                                                     representation, omission,
                                                                                                                                                            or practice is material. "
                       Ky. Rev. Stat. Ann.                        Ky. Rev. Stat. Ann. Ky. Rev. Stat. Ann.                            Ky. Rev. Stat. Ann.                                                              Ky. Rev. Stat. Ann.                    Ky. Rev. Stat. Ann.
                       §367.220(1)                                §367.220(5)           §367.220(1)                                  §367.220(1)                                                                      §§367.220(1), (3)                      §367.220(1)
                                              Arnold v.           Cook v. State Farm                            Telcom               Ky. Laborers Dist.   Corder v. Ford Motor Co.,            Capitol Cadillac                                              Hunt Enters., Inc. v.
                                              Microsoft Corp., Mutt Auto Ins. Co.,                              Directories, Inc. v. Council Health &     285 Fed. Appx. 226, 227-             Olds, Inc. v.                                                 John Deere Indus.
                                              No. 00-123,         No. 02-000804,                                Commw. ex . rel. Welfare Trust Fund 28 (6th Cir. 2008).                        Roberts, 813                                                  Equip. Co., 18F.Supp.
                                              2001WL 193765, 2004 WL2012375,                                    Cowan, 833           v. Hill & Knowlton,                                       S.W.2d287, 291                                                2d 697, 702 (W.D. Ky.
                                              at *6 (Ky. Cir. Ct. at *3-4 (Ky. Ct. App.                         S.W.2d 848,850 Inc., 24 F. Supp. 2d                                            (1991); Sparks v.                                             1997), aff'd, 162
                                              July 21, 2000). Sept. 10, 2004).                                  (Ky. Ct. App.        755,774 (W.D. Ky.                                         Re/Max Allstar                                                F.3d1161 (6th Cir.
                                              But see Ky.                                                       1991).               1998); Woods v.                                           Realty, Inc., 55                                              1998)
                                              Laborers Dist.                                                                         Walgreen Co., No.                                         S.W.3d 343, 348
                                              Council Health &                                                                       3:01 CV-646-S,                                            (Ky. Ct. App. 2000).
                                              Welfare Trust                                                                          2003WL 1239364,
                                              Fund v. Hill &                                                                         at *3 (W.D. Ky. Mar.
                                              Knowlton, Inc.,                                                                        17, 2003).
                                              24F. Supp. 2d
                                              755, 774 (W.D.
                                              Ky. 1998) (class
                                                                                                                                                                                                                                                                                                                           136




                                              action alleging
                                              among its claims,
                                              claims under the
                                              Consumer
                                              Protection Act,
                                              and dismissing
                                              such claims on
                                              other grounds).
 Louisiana             Private right for      Class actions       One year from the Ascertainable loss          Must prove         Loss must have          Must prove some element of          Defendant mustPermits recovery of                             Consumer
                       individuals            prohibited.         time of the           of money or             some               occurred as a result of fraud, misrepresentation,           have acted    actual damages,                                 transaction defined
 Unfair Trade          only.                                      transaction or the movable property           element of         the use or              deception or other unethical        knowingly for attorney's fees, and                            to require a natural
 Practices Act                                                    act.                  required.               fraud,             employment by           conduct.                            treble damages.
                                                                                                                                                                                                             treble damages for                              person transacting
                                                                                                                misrepresent       another person of an                                                      knowing violations, but                         primarily for
 La. Rev. Stat. Ann.                                                                                            ation,             unfair or deceptive                                                       only if the defendant is                        personal, family or
 §§51:1401, et seq.                                                                                             deception or       method, act or                                                            put on notice by the                            household use.
                                                                                                                other              practice.                                                                 director or attorney
                                                                                                                unethical                                                                                    general. Prejudgment
                                                                                                                conduct.                                                                                     interest available in all
                                                                                                                                                                                                             Louisiana tort actions.
                                                                                                                                                                                                             No punitive damages
                                                                                                                                                                                                             beyond treble
                                                                                                                                                                                                             damages.
                       La. Rev. Stat. Ann.    La. Rev. Stat.     La. Rev. Stat. Ann.   La. Rev. Stat. Ann. La. Rev. Stat.     La. Rev. Stat. Ann.           La. Rev. Stat. Ann. §        La. Rev. Stat. Ann. La. Rev. Stat. Ann.                             La. Rev. Stat. Ann.
                       §51:1409(A)            Ann. §51:1409(A)   §51:1409(E)           §51:1409(A)           Ann. §51:1409(A) §51:1409(A)                   51:1409(A)                   §51:1409(A)         §51:1409(A)                                     §51:1402(3)
                       Iberia Credit          Iberia Credit      Mayo v. Simmon,       Landrum v. Bd. Of     Garbutt v.                                     Garbutt v. Fairbanks Capital                     Laurents v. La. Mobile
                       Bureau, Inc. v.        Bureau, Inc. v.    646So. 2d 973,        Comm'rs of Orleans Fairbanks                                         Corp., No. 03-1666, 2004                         Homes, Inc., 689 So. 2d
                       Cingular Wireless      Cingular           976 (La. Ct. App.     Levee Dist., 758      Capital Corp.,                                 U.S. Dist. LEXIS17138, at *5                     536, 542-43 (La. Ct.
                       LLC, 379 F.3d          Wireless LLC,      1994).                F.Supp.387, 392 (E.D. No. 03-1666,                                   (E.D. La. Aug. 27, 2004).                        App. 1997).
                       159, 174-75 (5th       379 F.3d 159,                            La. 1991).            2004 U.S. Dist.
                       Cir. 2004).            174-75 (5th                                                    LEXIS 17138, at
                                                                                                                                                                                                                                                                                      Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3577 Page 101 of




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                                             50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                   STATUTE OF
                                                                                                                                    RELIANCE /                                                                                           LIMITATIONS
                       PRIVATE RIGHT OF CLASS ACTION              LIMITATIONS &                                                                            AFFIRMATIVE ACTS /                                    DAMAGES &
         JDX                                                                            ACTUAL INJURY          DECEPTION            PROXIMATE                                               SCIENTER                                      ON UNJUST            OTHER
                            ACTION       PROHIBITION                DISCOVERY                                                                             MATERIAL OMISSIONS                                      REMEDIES
                                                                                                                                    CAUSATION                                                                                            ENRICHMENT
                                                                       RULE
                                              Cir. 2004).                                                  *5 (E.D. La. Aug.
                                                                                                           27, 2004).
 Maine                 Private right of action. Class action    Six years from       Injury must be        Act or practice     An injury under the                                     Intent to deceive    Actual damages or                          Applies only to
                                                permitted.      discovery.           substantial. Recovery must have the       Act must be an injury                                   not required.        restitution and equitable                  purchase of goods or
 Unfair Trade                                                                        limited to persons    effect of           that consumers                                                               relief, including                          services primarily for
 Practices Act                                                                       who actually          deceiving the       themselves could not                                                         injunctive relief, as the                  personal, family, or
                                                                                     purchased             consumer, or        have reasonably                                                              court determines                           household purposes.
 Me. Rev. Stat. Ann.                                                                 defendant's goods or inducing her to      avoided.                                                                     necessary and proper.                      Statute provides for
 tit.5, §§ 205-A, et                                                                 services. Injury must purchase                                                                                         Attorney's fees                            the right to a jury trial.
 seq.                                                                                be loss of money or something that                                                                                     permitted. Prejudgment                     Plaintiff must send
                                                                                     property, real or     she would not                                                                                    interest allowed. No                       presuit notice to
                                                                                     personal.             purchase                                                                                         punitive damages.                          defendants 30 days
                                                                                                           otherwise.                                                                                                                                  prior to filing suit. No
                                                                                                                                                                                                                                                       claim is possible if the
                                                                                                                                                                                                                                                       injury is outweighed
                                                                                                                                                                                                                                                       by any countervailing
                                                                                                                                                                                                                                                       benefits to consumers
                                                                                                                                                                                                                                                       or competition that the
                                                                                                                                                                                                                                                       practice produces.
                       Me. Rev. Stat. Ann. Me. Rev. Stat.         Me. Rev. Stat. Ann. Me. Rev. Stat. Ann. tit.                                                                                             Me. Rev. Stat. Ann. tit.                    Me. Rev. Stat. Ann.
                       tit. 5,§ 213           Ann. tit. 5,§ 213 tit.14, § 752          5,§ 213(1)                                                                                                          5, §§213(1)-(2)                             tit. 5, §§213(1), (1-A)
                       Sanford v. Nat'l Ass'n Sanford v. Nat'l Campbell v.             Tungate v. MacLean- State v.             State v. Weinschenk,                                   Auto Europe, LLC State v. Bob Chambers                          Tungate v. MacLean-
                       for the Self-Employed, Ass'n for the Self- Machias Sav. Bank, Stevens Studios, Inc., Weinschenk, 868 868 A.2d 200, 206                                          v. Conn. Indem.     Ford, Inc., 522 A.2d                        Stevens Studios, Inc.,
                       Inc., 264 F.R.D. 11, Employed, Inc., 865 F. Supp. 26, 34 714 A.2d 792, 797              A.2d 200, 206 (2005), Tungate v.                                        Co., 321F.3d 60, 866, 873-74 (1981);                            714 A.2d 792, 797
                       16 (D. Me. 2010).      264 F.R.D. 11, 16 (D. Me. 1994); State (Me. 1998); Hoglund (2005), Tungate MacLean-Stevens                                               66-68 (1st          Taylor v. Phillip Morris.                   (1998).
                                              (D. Me. 2010).      v. Bob Chambers ex rel. Johnson v.           v. MacLean-      Studios, Inc., 714                                     Cir.2003); State v. Inc., No. 00-203,
                                                                  Ford, Inc., 522 A.2d DiamlerChrysler         Stevens Studios, A.2d 792, 797 (1998).                                  Weinschenk, 868 2001WL 1710710, at *4
                                                                  866, 873-74 (1981). Corp., 102 F. Supp. Inc., 714 A.2d                                                               A.2d200, 206        (Me. Sup. Ct. May 29,
                                                                                                                                                                                                                                                                                                                         136




                                                                                       2d 30, 30-32 (D. Me. 792, 797 (1998).                                                           (2005);Courtney v. 2001).
                                                                                       2000).                                                                                          Bassano,733 A.2d
                                                                                                                                                                                       973, 976 (1999);
                                                                                                                                                                                       Binette c. Dyer
                                                                                                                                                                                       Library Ass'n, 688
                                                                                                                                                                                       A.2d898, 906
                                                                                                                                                                                       (1996).
 Maryland              The Consumer           Class action      Three years.         Private right of action Representation Private right of action Misrepresentation or               No intent required. For private right of                        The Consumer
                       Protection Division    permitted.                             may be brought to       must have the for damages requires omission must be of a                                      action, compensatory                        Protection Act applies
 Consumer              or the attorney                                               recover for injury or capacity,            injury or loss as the material fact. A deceptive                           damages; no punitive                        only where the
 Protection Act        general may take                                              loss sustained as a tendency, or           result of proscribed practice must include a                               damages. Attorney's                         purchaser intends to
                       action. Also, Act                                             result of prohibited    effect of deceivingpractice.             material misrepresentation                           fees may also be                            use the goods for
 Md. Code Ann.,        provides for a                                                practices. May only or misleading the                            involving information                                recovered after other                       personal, household,
 Com. Law §§ 13-       private right of                                              be invoked to           consumer.                                important to consumers and                           damages are awarded.                        family, or agricultural
 1010, et seq.         action.                                                       compensate a            However, actual                          therefore likely to affect their                     Attorney's fees may                         purposes. The intent
                                                                                     consumer for an         deception not                            choice of product.                                   also be available to                        of the Maryland
                                                                                     actual injury or loss. necessary.                                                                                     defendants where the                        General Assembly is
                                                                                                                                                                                                           court is satisfied that the                 that, in construing
                                                                                                                                                                                                           action was brought in                       "unfair or deceptive
                                                                                                                                                                                                           bad faith or is of a                        trade practices," due
                                                                                                                                                                                                           frivolous nature.                           consideration and
                                                                                                                                                                                                                                                       weight should be
                                                                                                                                                                                                                                                       given to the
                                                                                                                                                                                                                                                       interpretations of
                                                                                                                                                                                                                                                       §5(a)(1) of the
                                                                                                                                                                                                                                                       Federal Trade
                                                                                                                                                                                                                                                       Commission Act by
                                                                                                                                                                                                                                                       the Federal Trade
                                                                                                                                                                                                                                                       Commission and the
                                                                                                                                                                                                                                                       federal courts.
                                                                                                                                                                                                                                                                                    Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3578 Page 102 of




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                                         50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                               STATUTE OF
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                    PRIVATE RIGHT OF CLASS ACTION             LIMITATIONS &                                                          AFFIRMATIVE ACTS /                                          DAMAGES &
         JDX                                                                    ACTUAL INJURY   DECEPTION         PROXIMATE                                     SCIENTER                                                     ON UNJUST                 OTHER
                         ACTION       PROHIBITION               DISCOVERY                                                          MATERIAL OMISSIONS                                             REMEDIES
                                                                                                                  CAUSATION                                                                                                 ENRICHMENT
                                                                    RULE
                    Md. Code Ann., Com. Md. Code            Md. Code Ann.,    Md. Code Ann.,  Md. Code Ann., Md. Code Ann., Com. Md. Code Ann., Com. Law §§ Md. Code Ann.,                  Md. Code Ann., Com.                                 Md. Code Ann., Com.
                    Law §§ 13-301, 13- Ann., Com.           Cts. & Jud. Proc. Com. Law § 13-  Com. Law §§ 13- Law §13-408(a)     13-301(3), (4), (9)        Com. Law § 13-                  Law §§13-408(a), (b),                               Law§§ 13-105
                    408(a)                Law § 13-         § 5-101           408(a)          301(1), 13-302                                                301(1)                          (c)
                                          408(a)
                    Philip Morris Inc. v.                   Greene Tree Home Morris v. Osmose                                         Luskin's, Inc. v. Consumer Consumer Prot.         Hoffman v. Stamper,                              Morris v. Osmose
                    Angeletti, 752 A.2d                     Owners Ass'n, Inc. Wood Preserving, 667                                   Prot. Div.,726 A.2d 702, 713 Div. v. Morgan,      867 A.2d 276, 304                                WoodPreserving, 667
                    200,234-36 (2000);                      v. Green Tree       A.2d624, 634 (1995);                                  (1999).                      874 A.2d 919         (2005); Golt v. Phillips,                        A.2d 624,634 (1995).
                    Morris v. Osmose                        Assocs., 749 A.2d Berg v. Byrd, 720 A.2d                                                               (2005); Golt v.      517 A.2d 328, 332-33
                    Wood Preserving, 667                    806, 820-21 (2000). 1283, 1286 (Md. Ct.                                                                Phillips, 517 A.2d   (1986); McGraw v.
                    A.2d 624, 634 (1995).                                       Spec. App.1998).                                                                   328, 332-33          Loyola Ford, Inc., 723
                                                                                                                                                                   (1986).              A.2d 502, 510 (Md. Ct.
                                                                                                                                                                                        Spec. App. 1999).
 Massachusetts      Private right of action. Class action   Four years         Injury required.                Causation required Deceptive if contains              No intention to    Greater of actual         Unjust enrichment is Presuit demand
                                             permitted.     from                                               between unfair acts material omission.                deceive need be damages or $25 and unavailable if                   required at least 30
 Consumer                                                   discovery.                                         and claimed loss.                                     shown; defendant double to treble            plaintiff has received days prior to filing
 Protection Act                                                                                                Reliance not                                          need not know      damages for willful or the benefit of its        action. If reasonable
                                                                                                               required.                                             representation was knowing violations. bargain, or where            settlement offer is
 Mass. Ann. Laws                                                                                                                                                     false.             Prejudgment interest defendant has               rejected by the
 ch.93A, §§ 1, et                                                                                                                                                                       allowed. Attorneys' fees provided                plaintiffs, then the
 seq.                                                                                                                                                                                   mandatory in class        consideration for the court may limit
                                                                                                                                                                                        actions unless a          benefit received.      recovery to
                                                                                                                                                                                        reasonable settlement Unjust enrichment          settlement amount.
                                                                                                                                                                                        was rejected. Court       claim requires that    Jury trials are
                                                                                                                                                                                        shall award injunctive plaintiff lacks a legal allowed, but only
                                                                                                                                                                                        and other equitable       remedy. Whether        upon the request of a
                                                                                                                                                                                        relief as deemed          receipt of benefit was judge.
                                                                                                                                                                                        necessary and             unjust depends on
                                                                                                                                                                                        appropriate.              parties’ reasonable
                                                                                                                                                                                                                                                                                                           136




                                                                                                                                                                                                                  expectations.
                    Mass. Ann. Laws ch. Mass. Ann. Laws Mass. Ann. Laws        Mass. Ann. Laws ch.                                                                                      Mass. Ann. Laws ch.                              Mass. Ann. Laws ch.
                    93A,§§ 9(1), (2)        ch. 93A,§§ 9(1), ch. 260,§ 5A      93A,§ 9(1)                                                                                               93A, §§9(3), (4)                                 93A,§§ 9(3), (4)
                                            (2)
                    Szymanski v. Boston                                        Hershenow v. Enter.             Sebago, Inc. v.        Aspinall v. Philip Morris Cos., Swanson v.            Aspinall v. Philip Morris   Cmty. Builders, Inc.    Travis v. McDonald,
                    Mut. Life Ins. Co., 778                                    Rent-a-Car Co. of               Beazer E., Inc., 18 F. 813 N.E.2d 476, 486-87          Bankers Life Co.,     Cos., 813 N.E.2d 476,       v. Indian Motorcycle    490N.E.2d 1169,
                    N.E.2d 16, 19-20                                           Boston, Inc., 840               Supp. 2d 70, 103 (D. (2004); Underwood v.              450 N.E.2d 577,       486-87 (2004); McEvoy       Associates, Inc.,       1172 (1986); Newly
                    (Mass App. Ct. 2002).                                      N.E.2d 526, 535                 Mass. 1998); Aspinall Risman, 605 N.E.2d 832, 835 580 (1983); Slaney         Travel Bureau Inc. v.       692 N.E.2d 964,         Wed Foods, Inc. v.
                                                                               (2006).                         v. Philip Morris Cos., (1993).                         v. Westwood Auto,     Norton Co., 563 N.E.2d      979 (Mass. App. Ct.     Superior Nut Co.,
                                                                                                               813 N.E.2d 476, 486-                                   Inc., 322 N.E.2d      188, 196 (1990).            1998)(holding that      Inc., No.05-0454E,
                                                                                                               87 (2004); Slaney v.                                   768, 779 (1975);                                  to recover under        2010 WL1178404,
                                                                                                               Westwood Auto, Inc.,                                   Golber v. BayBank                                 restitution there       at *2 (Mass. Super.
                                                                                                               322 N.E.2d 768, 779                                    Valley Trust Co.,                                 must be an unjust       Ct. Feb. 18, 2010).
                                                                                                               (1975); Fraser Eng'g                                   704 N.E.2d                                        benefit and whether
                                                                                                               Co. v. Desmond, 524                                    1191,1194 (Mass                                   the benefit is unjust
                                                                                                               N.E.2d 110,113 (Mass                                   App. Ct.1999);                                    is determined by the
                                                                                                               App. Ct. 1988).                                        Fraser Eng'g Co. v.                               reasonable
                                                                                                                                                                      Desmond, 524                                      expectations of the
                                                                                                                                                                      N.E.2d110, 113                                    parties); Ferola v.
                                                                                                                                                                      (Mass App.                                        Allstate Life Ins.
                                                                                                                                                                      Ct.1988).                                         Co., No. 050996,
                                                                                                                                                                                                                        2007 WL 2705534,
                                                                                                                                                                                                                        at *14 (Mass. Super.
                                                                                                                                                                                                                        Ct. Aug. 30, 2007).
                                                                                                                                                                                                                        Ferola v. Allstate
                                                                                                                                                                                                                        Life Ins. Co., No.
                                                                                                                                                                                                                        050996, 2007 WL
                                                                                                                                                                                                                        2705534, at *14
                                                                                                                                                                                                                        (Mass. Super. Ct.
                                                                                                                                                                                                                        Aug. 30, 2007)
                                                                                                                                                                                                                                                                      Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3579 Page 103 of




                                                                                                                                                                                                                        (unjust enrichment
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                                          50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                             STATUTE OF
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                       PRIVATE RIGHT OF CLASS ACTION        LIMITATIONS &                                                                              AFFIRMATIVE ACTS /                                      DAMAGES &
         JDX                                                                     ACTUAL INJURY            DECEPTION             PROXIMATE                                              SCIENTER                                          ON UNJUST                   OTHER
                            ACTION       PROHIBITION          DISCOVERY                                                                               MATERIAL OMISSIONS                                        REMEDIES
                                                                                                                                CAUSATION                                                                                               ENRICHMENT
                                                                 RULE
                                                                                                                                                                                                                                     will not lie where
                                                                                                                                                                                                                                     defendant provided
                                                                                                                                                                                                                                     valuable
                                                                                                                                                                                                                                     consideration).
                                                                                                                                                                                                                                     Fernandes v.
                                                                                                                                                                                                                                     Havkin, 731 F.
                                                                                                                                                                                                                                     Supp. 2d 103, 114
                                                                                                                                                                                                                                     (D. Mass. 2010).
                                                                                                                                                                                                                                     Metro Life v. Cotter,
                                                                                                                                                                                                                                     464 Mass. 623, 644
                                                                                                                                                                                                                                     (2013) (defining
                                                                                                                                                                                                                                     “unjust” based on
                                                                                                                                                                                                                                     parties’
                                                                                                                                                                                                                                     expectations).
 Michigan              Private right of    Class action   Later of six years   Plaintiff must have                         Loss must be "as a       Requires proof that a          Plaintiff must         In individual actions, the Unjust enrichment is Purchase must be
                       action allowed.     allowed.       after occurrence     “suffer[ed a] loss.                         result of a violation"   "reasonable person would       show defendant's       greater of actual          unavailable if           "primarily for
 Consumer                                                 of act and one       “The Act allows                             of the Act.              have relied on the             intent to deceive      damages or$250 and plaintiff has received personal, family or
 Protection Act                                           year after last      recovery for mental                         Misleading acts or       representations. “Actions      through a pattern      attorney's fees. Class the benefit of its           household
                                                          payment.             distress where those                        practices must be        under §§ 455. 903(1)(s), (bb), of                     actions are limited to bargain.                     purposes.""[I]f an
 Mich. Comp. Laws                                                              damages are the                             proximate cause of       and (cc) require omission or misrepresentation        actual damages.                                     item is purchased
 Serv. §§ 445.901,                                                             "legal and natural                          any damages.             misrepresentation as to a                             Injunctive and                                      primarily for business
 et seq.                                                                       consequences of the                         Members of a class       material fact, which is a fact                        declaratory relief also                             or commercial rather
                                                                               wrongful act and                            action "need not         "that is important to the                             available. Punitive                                 than personal
                                                                               might reasonably                            individually prove       transaction or affects the                            damages are allowed                                 purposes, the [Act]
                                                                               have been                                   reliance on the          consumer's decision to enter                          for persistent and                                  does not supply
                                                                               anticipated."                               alleged                  into the transaction."                                knowing violations, not                             protection. “If a
                                                                                                                           misrepresentations,"                                                           to exceed$25,000 in                                 defendant shows that
                                                                                                                           just need to show                                                              actions brought by the                              a violation was made
                                                                                                                                                                                                                                                                                                                            136




                                                                                                                           reasonable person                                                              Attorney General.                                   through a good-faith
                                                                                                                           would have relied.                                                                                                                 error, plaintiff's
                                                                                                                                                                                                                                                              damages are limited
                                                                                                                                                                                                                                                              to actual damages.
                       Mich. Comp. Laws    Mich. Comp.    Mich. Comp. Laws Mich. Comp.                                     Mich. Comp. Laws Mich. Comp. Laws Serv.                                        Mich. Comp. Laws                                    Mich. Comp. Laws
                       Serv. § 445.911     Laws Serv. §   Serv. § 445.911(7) Laws Serv. §§                                 Serv. §§445.911(2), §§454.903(1)(s), (bb), (cc)                                Serv. §§445.905(1),                                 §§445.902(g),
                                           445.911                           445.911(2),(3)                                (3)                                                                            445.911(1), (2), (3)                                445.911(6)
                                                                             Lozada v. Dale Baker                          Dix v. Am. Bankers Dix v. Am. Bankers Life             Dix v. Am.              Smolen v. Dahlmann Isom v. NE Lots LLC, Zine v. Chrysler
                                                                             Oldsmobile, Inc., 136                         Life Assurance Co. of Assurance Co. of Fla.,           Bankers Life            Apartment, Ltd., 186       No. 288378, 2010 WL Corp., 600N.W.2d
                                                                             F. Supp. 2d 719, 728                          Fla., 415N.W.2d 206, 415 N.W.2d 206, 209               Assurance Co. of        Mich. App. 292, 296- 143470, at *6 (Mich. 384, 393 (Mich. Ct.
                                                                             (W.D. Mich. 2001).                            209 (1987);Zine v.     (1987); Zine v. Chrysler        Fla.,415 N.W.2d         97 (1990).                 Ct. App. Jan. 14,        App. 1999).
                                                                                                                           Chrysler Corp.,        Corp., 600 N.W.2d384,           206, 209 (1987).                                   2010) (finding that a
                                                                                                                           600N.W.2d 384, 399 398 (Mich. Ct. App.                                                                    party cannot state a
                                                                                                                           (Mich. Ct. App. 1999). 1999).                                                                             claim of unjust
                                                                                                                                                                                                                                     enrichment when said
                                                                                                                                                                                                                                     party received the
                                                                                                                                                                                                                                     benefit of its bargain);
                                                                                                                                                                                                                                     Russell v. Zeemering,
                                                                                                                                                                                                                                     No. 260660, 2006 WL
                                                                                                                                                                                                                                     2382511, at *5 (Mich.
                                                                                                                                                                                                                                     Ct. App. Aug. 17,
                                                                                                                                                                                                                                     2006).
 Minnesota             Private right of    Class action   Six years.           Civil remedy            Deception not        Injury must be "by      Deception must be             "[I]ntent that others   Actual damages, "costs Unjust enrichment is Complained of-
                       action allowed.     allowed.                            available to “any       necessary only a violation of the            "material" l to the "buying   rely. . . whether or    of investigation,"         unavailable if           misrepresentation
 Prevention of                                                                 person injured. “Not    "intent that others Act. There must be       decisions" of plaintiffs.     not any person has      reasonable attorney's plaintiff has received "must allege that
 Consumer Fraud                                                                limited to actual       rely. . . whether or a "proper legal                                       in fact been misled,    fees and injunction        the benefit of its       Defendants made
 Act                                                                           purchaser of            not any person nexus between the                                           deceived or             relief. Actual damages bargain. Unjust              fraudulent or
                                                                               products "as long as    has in fact been complained of acts                                        damaged thereby."       are to be measured by enrichment claims             misrepresentative
 Minn. Stat.                                                                   the plaintiff alleges   misled, deceived, and their alleged                                                                the "out-of pocket" loss, require that plaintiff statements in
 §§325.F.68, et seq.                                                           an injury" from         or damaged           monetary losses.                                                              or the difference          lacks a legal remedy. connection with sale
                                                                                                                                                                                                                                                                                       Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3580 Page 104 of




                                                                               conduct prohibited      thereby"             “Proof of reliance is                                                         between the actual                                  of goods."
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                                 50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                      STATUTE OF
                                                                                                                     RELIANCE /                                                                                          LIMITATIONS
             PRIVATE RIGHT OF CLASS ACTION           LIMITATIONS &                                                                          AFFIRMATIVE ACTS /                                    DAMAGES &
      JDX                                                                ACTUAL INJURY         DECEPTION             PROXIMATE                                              SCIENTER                                      ON UNJUST                OTHER
                  ACTION       PROHIBITION             DISCOVERY                                                                           MATERIAL OMISSIONS                                      REMEDIES
                                                                                                                     CAUSATION                                                                                           ENRICHMENT
                                                          RULE
                                                                       under the Act.                           required for                                                                  value of the           SOL for unjust
                                                                       Injunction available                     damages, but not                                                              merchandise and the enrichment claims is
                                                                       without showing                          for injunctive relief.                                                        price paid for the     6 years.
                                                                       actual damages.                          Causation is a                                                                merchandise "along with
                                                                                                                necessary element                                                             any special damages
                                                                                                                in an action to                                                               naturally and
                                                                                                                recover damages                                                               proximately caused by
                                                                                                                under Minn. Stat. §                                                           the fraud prior to its
                                                                                                                8.31(3a).                                                                     discovery, including
                                                                                                                                                                                              expenses incurred in
                                                                                                                                                                                              mitigating the
                                                                                                                                                                                              damages."
             Minn. Stat. §        Minn. Stat. §    Minn. Stat. §§      Minn. Stat. §          Minn. Stat.       Minn. Stat. §                                           Minn. Stat.           Minn. Stat. § 8.31(3a)
             8.31(3a)             8.31(3a)         541.05(1)- (2)      8.31(3a)               §§325F.69(1)      8.31(3a)                                                §§325F.69(1);
                                                                                              , 325F.70                                                                 325F.70
             Dahl v. Charles      Dahl v. Charles Estate of Riedel v. Group Health Plan, LeSage v.              Thompson v. Am.          Nordale, Inc. v. Samsco, Inc., LeSage v. Norwest     B.F. Goodrich Co. v.    Zinter v. Univ. of      Group Health Plan,
             Schwab & Co., 545    Schwab & Co., Life Care Ret.         Inc. v. Philip Morris, Norwest Bank      Tobacco Co., 189         830 F.Supp. 1263, 1272 (D. Bank Calhoun-             Mesabi Tire Co., 430    Minn., 799 N.W.2d Inc. v. Philip Morris,
             N.W.2d 918, 920      545 N.W.2d 918 Communities, Inc., Inc., 621 N.W.2d 2, 11 Calhoun-Isles,       F.R.D. 544, 553          Minn. 1993).                   Isles, N.A.,          N.W.2d 180, 182         243, 247 (Minn. Ct. Inc., 68 F. Supp. 2d
             (Minn. 1996).        ,920 (Minn. 1996). 505 N.W.2d 78, 83 (Minn.2001); LeSage N.A., 409N.W.2d      (D. Minn. 1999);                                        409N.W.2d 536,        (Minn. 1988); Higgins   App. 2011) (holding a 1064, 1069-70 (D.
                                                     (Minn. Ct. App.   v. Norwest Bank        536, 539 (Minn.   Parkhill v. Minn.                                       539 (Minn. Ct. App.   v. Harold-Chevrolet-    claim for unjust        Minn. 1999).
                                                     1993).            Calhoun- Isles, N.A., Ct. App. 1987).    Mutt. Life Ins.                                         1987).                Geo, Inc., No. A04-     enrichment fails
                                                                       409 N.W.2d 536, 539                      Co.,188 F.R.D.                                                                596, 2004               where a plaintiff
                                                                       (Minn. Ct. App.1987).                    332, 344-45 (D.                                                               WL2660923, at *3-4      receives the benefit
                                                                                                                Minn. 1999);                                                                  (Minn. Ct. App. Nov.    for which she was
                                                                                                                Group Health Plan,                                                            23, 2004).              entitled under an
                                                                                                                Inc. v. Philip                                                                                        agreement),review
                                                                                                                Morris, Inc., 621                                                                                     denied (Aug. 16,
                                                                                                                N.W.2d 2, 11                                                                                          2011). Kelley v.
                                                                                                                                                                                                                                                                                                        136




                                                                                                                (2001); LeSage v.                                                                                     College of St.
                                                                                                                Norwest Bank                                                                                          Benedict, 901 F.
                                                                                                                Calhoun-Isles,                                                                                        Supp. 2d 1123, 1132-
                                                                                                                N.A., 409 N.W.2d                                                                                      33 (D. Minn. 2012)
                                                                                                                536, 539 (Minn. Ct.                                                                                   (granting motion to
                                                                                                                App. 1987).                                                                                           dismiss unjust
                                                                                                                                                                                                                      enrichment claims
                                                                                                                                                                                                                      where the statute
                                                                                                                                                                                                                      “provided [plaintiff]
                                                                                                                                                                                                                      with an adequate
                                                                                                                                                                                                                      legal remedy”
                                                                                                                                                                                                                      even where plaintiff
                                                                                                                                                                                                                      “did not timely avail
                                                                                                                                                                                                                      himself of the
                                                                                                                                                                                                                      statute”); Arena Dev.
                                                                                                                                                                                                                      Grp., LLC v. Naegele
                                                                                                                                                                                                                      Commc’ns, Inc., Civ.
                                                                                                                                                                                                                      No. 06–2806, 2007
                                                                                                                                                                                                                      WL 2506431, at *11
                                                                                                                                                                                                                      (D. Minn. Aug. 30,
                                                                                                                                                                                                                      2007); Mon-Ray, Inc.
                                                                                                                                                                                                                      v. Granite Re, Inc.,
                                                                                                                                                                                                                      677 N.W.2d 434, 440
                                                                                                                                                                                                                      (Minn. Ct. App. 2004
                                                                                                                                                                                                                      ; Southtown
                                                                                                                                                                                                                      Plumbing, Inc. v. Har-
                                                                                                                                                                                                                      Ned Lumber Co., Inc.,
                                                                                                                                                                                                                      493 N.W.2d 137, 140
                                                                                                                                                                                                                      (Minn. Ct. App. 1992)
                                                                                                                                                                                                                      (“It is well settled in
                                                                                                                                                                                                                                                                   Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3581 Page 105 of




                                                                                                                                                                                                                      Minnesota that one
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                                           50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                STATUTE OF
                                                                                                                                 RELIANCE /                                                                                          LIMITATIONS
                     PRIVATE RIGHT OF CLASS ACTION             LIMITATIONS &                                                                           AFFIRMATIVE ACTS /                                    DAMAGES &
         JDX                                                                        ACTUAL INJURY           DECEPTION            PROXIMATE                                             SCIENTER                                       ON UNJUST                 OTHER
                          ACTION       PROHIBITION               DISCOVERY                                                                            MATERIAL OMISSIONS                                      REMEDIES
                                                                                                                                 CAUSATION                                                                                           ENRICHMENT
                                                                    RULE
                                                                                                                                                                                                                                may not seek a
                                                                                                                                                                                                                                remedy in equity
                                                                                                                                                                                                                                when there is an
                                                                                                                                                                                                                                adequate remedy at
                                                                                                                                                                                                                                law.”).
 Mississippi        Private right of action No class         Three years.         Plaintiff must have    Statements need "Ascertainable loss"      Materiality required. It is the Only some            Compensatory            Unjust enrichment is Private right of action
                    allowed, but (1) only actions                                 suffered "any          not be literally must be as "a result     intent of the Legislature that subsections           damages only. Court unavailable if           limited to purchases
 Consumer           for people leasing or permitted.                              ascertainable loss     false, but only  of" unlawful acts.       in construing what constitutes require intent.       may award prevailing plaintiff has received of goods or services
 Protection Act     purchasing goods or                                           of money or            must be capable                           unfair or deceptive trade                            defendant attorney's the benefit of its      "primarily for personal,
                    services primarily for                                        property."             of deceiving a                            practices that the courts will                       fees and costs if       bargain.             family or household
 Miss. Code Ann. §§ personal use; and                                                                    reasonable                                be guided by the                                     plaintiff's claims were                      purposes." Prior to
 75-24-1, et seq.   only after exhausting                                                                person.                                   interpretations given by the                         frivolous or to harass.                      bringing a claim,
                    administrative                                                                                                                 Federal Trade Commission                             Civil penalty of                             plaintiff must have
                    remedies.                                                                                                                      and the federal courts to                            $10,000 if violation                         made a reasonable
                                                                                                                                                   Section 5(a)(1) of the Federal                       was knowing or willful                       attempt to resolve any
                                                                                                                                                   Trade Commission Act                                 upon petition of the                         claim through informal
                                                                                                                                                   (15USCS 45(a)(1)) as from                            Attorney General.                            dispute program. No
                                                                                                                                                   time to time amended. The                                                                         class actions.
                                                                                                                                                   FTC has consistently
                                                                                                                                                   adhered to the Cliffdale
                                                                                                                                                   Associates standard which
                                                                                                                                                   requires that the
                                                                                                                                                   representation, omission,
                                                                                                                                                   or practice is material.
                     Miss. Code Ann. § 75- Miss. Code Ann. § Miss. Code Ann. §    Miss. Code Ann. § 75-                      Miss. Code Ann. § 75- Miss. Code Ann. § 75-24-3(c) Miss. Code Ann. §§ Miss. Code. Ann. §§ 75-                               Miss. Code Ann. §§
                     24-15                 75-24-15          15-1-49              24-15(1)                                   24-15(1)                                              75-24-5(i), (j)     24-15(1), (3), 75-24-19                           75-24-15(1), (2), (4)
                                                             Clark v.                                    Sw. Starving                              FTC v. Panton 1 Corp., 33                                                   Omnibank of Mantee
                                                             Commercial Credit                           Artists Group, Inc.                       F.3d 1088,1095 (9th Cir. Cal.                                               v. United S. Bank, 607
                                                                                                                                                                                                                                                                                                                      136




                                                             Corp., 357 F.                               v. State ex rel.                          1994).                                                                      So. 2d 76, 92 (Miss.
                                                             Supp. 2d 962, 965                           Summer, 364 So.                                                                                                       1992) (noting that the
                                                             (S.D. Miss. 2005).                          2d1128, 1131                                                                                                          Supreme Court of
                                                                                                         (Miss. 1978).                                                                                                         Mississippi historically
                                                                                                                                                                                                                               cites the Restatement
                                                                                                                                                                                                                               of Restitution with
                                                                                                                                                                                                                               approval).
 Missouri            Private right of       Class action     Five years.          Plaintiff must have                        "Ascertainable        The act, use or employment No need to prove Actual damages and Unjust enrichment is Consumers who
                     action allowed;        allowed.                              suffered an                                loss" must be "a      by any person of any            intent.             discretionary punitive unavailable if             purchase goods for
 Merchandising       limited to                                                   "ascertainable loss of                     result of" unlawful   deception, fraud, false                             damages and             plaintiff has received their business do
 Practice Act        "merchandise                                                 money or property."                        acts. Injury must     promise, misrepresentation,                         attorney's fees.        the benefit of its        not have standing
                     primarily for                                                Reliance is not                            be "proximately       unfair practice or the                                                      bargain, or where         to sue under the
 Mo. Rev. Stat. §§   personal, family or                                          required                                   caused by             concealment, suppression, or                                                defendant has             Act. Specific class
 407.010, et seq.    household                                                                                               defendant's           omission of any material                                                    provided                  action requirements
                     purposes."                                                                                              actions."             fact in connection with the                                                 consideration for the in the Act.
                                                                                                                                                   sale or advertisement of any                                                benefit received.
                                                                                                                                                   merchandise in trade or
                                                                                                                                                   commerce or the solicitation
                                                                                                                                                   of any funds for any
                                                                                                                                                   charitable purpose, as
                                                                                                                                                   defined in section 407.453, in
                                                                                                                                                   or from the state of Missouri,
                                                                                                                                                   is declared to be an unlawful
                                                                                                                                                   practice.
                     Mo. Rev. Stat. §       Mo. Rev. Stat. § Mo. Rev. Stat. §     Mo. Rev. Stat.                             Mo. Rev. Stat. §      Mo. Rev. Stat. § 407.020(1)                         Mo. Rev. Stat. §                                  Mo. Rev. Stat.
                     407.025                407.025          516.120              §407.025(1)                                407.025(1)                                                                407.025(1)                                        §§407.025(3)-(4)
                                                                                  State v. Area Co. Inv.                     Willard v. Bic Corp.,                                 State ex rel. Nixon                         Howard v. Turnbull, Saey v. CompUSA,
                                                                                  Co.,756 S. W. 2d 633,                      788 F. Supp. 1059,                                    v. Beer Nuts, 29                            316 S.W.3d 431, 438 Inc., 174F.R.D. 448,
                                                                                  635-36 (Mo. App.                           1070 (W.D. Mo.                                        S.W.3d828, 837                              (Mo. Ct. App. 2010) 450 (E.D. Mo.1997).
                                                                                  1988).                                     1991).                                                (Mo. Ct.                                    (affirming that plaintiff
                                                                                                                                                                                                                                                                                 Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3582 Page 106 of




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                                                                STATUTE OF
                                                                                                                                RELIANCE /                                                                                                    LIMITATIONS
                    PRIVATE RIGHT OF CLASS ACTION              LIMITATIONS &                                                                              AFFIRMATIVE ACTS /                                         DAMAGES &
         JDX                                                                        ACTUAL INJURY           DECEPTION           PROXIMATE                                                     SCIENTER                                         ON UNJUST               OTHER
                         ACTION       PROHIBITION                DISCOVERY                                                                               MATERIAL OMISSIONS                                           REMEDIES
                                                                                                                                CAUSATION                                                                                                     ENRICHMENT
                                                                    RULE
                                                                                                                                                                                        App.2000); State                                   cannot recover for
                                                                                                                                                                                        ex rel. Webster v.                                 unjust enrichment
                                                                                                                                                                                        Area Co Inv. Co.                                   when he received
                                                                                                                                                                                        756 S. W. 2d                                       “precisely what he
                                                                                                                                                                                        633,635 (Mo. Ct.                                   bargained for”),
                                                                                                                                                                                        App. 1988) ("It is                                 transfer denied (Aug.
                                                                                                                                                                                        the defendant's                                    31, 2010).
                                                                                                                                                                                        conduct, not his                                   Cnty. Asphalt Paving,
                                                                                                                                                                                        intent, which                                      Co. v. Mosley Constr.,
                                                                                                                                                                                        determines                                         Inc., 239 S.W.3d 704,
                                                                                                                                                                                        whether a violation                                710 (Mo. Ct. App.
                                                                                                                                                                                        has occurred.").                                   2007) (finding that
                                                                                                                                                                                                                                           plaintiff must plead
                                                                                                                                                                                                                                           nonpayment by
                                                                                                                                                                                                                                           defendant in order to
                                                                                                                                                                                                                                           assert an unjust
                                                                                                                                                                                                                                           enrichment claim).
 Montana            Private right of action. Class actions   Two years.          Plaintiff need only                       Reliance                   Materiality required. The          No mention of          Actual damages or
                                             prohibited.                         show an                                   probably not               intent of the legislature is that, any requirement        $500, whichever is
 Unfair Trade                                                                    ascertainable loss of                     required.                  in construing the Act, due         that the party first   greater, recoverable by
 Practices and                                                                   money or property.                                                   consideration and weight           must prove             individual.
 Consumer                                                                                                                                             should be given to the             malice,                Discretionary
 Protection Act                                                                                                                                       interpretations of § 5(a)(1) of oppression or             attorney's fees to
                                                                                                                                                      the Federal Trade                  fraud.                 prevailing plaintiff;
 Mont. Code Ann.                                                                                                                                      Commission Act by the                                     discretionary attorneys'
 §§30-14-101, et                                                                                                                                      Federal Trade Commission                                  fees to defendant if
 seq.                                                                                                                                                 and the federal courts. The                               action is frivolous.
                                                                                                                                                      FTC has consistently                                      Treble damages
                                                                                                                                                                                                                                                                                                                             136




                                                                                                                                                      adhered to the Cliffdale                                  available, only
                                                                                                                                                      Associates standard which                                 remedial and not
                                                                                                                                                      requires that the                                         punitive in nature.
                                                                                                                                                      representation, omission,
                                                                                                                                                      or practice is material.
                    Mont. Code Ann. §      Mont. Code Ann. Mont. Code Ann. § Mont Code Ann. § 30-                                                     Mont Code Ann. § 30-14-104                           Mont. Code Ann. §§ 30-
                    30-14-133(1)           § 30-14-133(1) 27-2-211           14-133(1)                                                                                                                     14-133(1), (3)
                                                           Osterman v. Sears                                               Durbin v. Ross, 916        FTC v. Pantron I. Corp., 33       T & W Chevrolet v. Tripp v. Jeld-Wen, Inc.,
                                                           Roebuck & Co., 80                                               P.2d758, 762 (1996)        F.3d 1088,1095 (9th Cir.          Darvial, 641 P.2d 112 P.3d 1018, 1026
                                                           P.3d 435, 440                                                   (listing reliance as an    1994).                            1368,1371-72       (2005); Plath v.
                                                           (2003).                                                         element for fraud but                                        (1982).            Schonrock, 64 P.3d
                                                                                                                           not specifically                                                                984,989-90 (2003).
                                                                                                                           required for CPA
                                                                                                                           violations.)
 Nebraska           Under the CPA,          Class actions    Under the CPA,       Plaintiff must be       Plaintiff must   A claim may be             No cases found. The CPA is No particular                  Under the CPA,          Unjust enrichment is To be actionable
                    private right of action allowed.         four years after the injured in his          prove the        brought by any             patterned off the Sherman     intent required.            recovery of actual      unavailable if         under the CPA, the
 Consumer           if deceptive act                         cause of action      business or property.   practice         person who is injured      Act. The DTPA does not have                               damages allowed.        plaintiff has received unfair practice or
 Protection Act     affects the public                       accrues. Under the                           possessed the    by a violation of the      a general material                                        Court can increase the the benefit of its      deceptive act or
 (Neb. Rev. Stat.   interest. Under the                      DTPA, four years                             tendency or      CPA. Knowledge of          misrepresentation of fraud                                award of damages to bargain                    practice must have
 Ann. §§ 59-        Uniform Deceptive                        from the date of                             capacity to      truth by plaintiff prior   cause of action. None of the                              an amount that bears to                        an impact upon the
 1601 to1623        Trade Practices Act                      the purchase of                              mislead, or      to acting may negate       cases that discuss violations                             actual damages which                           public interest, which
 (LexisNexis201     (DTPA), private right                    the goods.                                   created the      claim.                     of Neb. Rev. Stat. Ann. § 87-                             are not susceptible to                         can be direct or
 2));Uniform        of action for equitable                                                               likelihood of                               302 (LexisNexis 2012)                                     measurement, but not                           indirect.
 Deceptive          relief.                                                                               deception.                                  mention materiality.                                      to exceed $1,000.
 Trade Practices                                                                                                                                                                                                Under the DTPA,
 Act (Neb. Rev.                                                                                                                                                                                                 recovery of actual
 Stat. Ann.§§ 87-                                                                                                                                                                                               damages not allowed.
 301 to 306
                    Neb. Rev. Stat. Ann. Neb. Rev. Stat.     Neb. Rev. Stat.     Neb. Rev. Stat. § 59-                     Neb. Rev. Stat. Ann.                                         Neb. Rev. Stat.         Neb. Rev. Stat. Ann. § Washa v. Miller, 546
                    §§59-1601(2), 59-    Ann. §§59-          Ann. §§59-          1609 (LexisNexis                          § 59-1609                                                    Ann. §§59-              59-1609                N.W.2d 813, 819
                                                                                                                                                                                                                                                                                        Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3583 Page 107 of




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                                                 50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                       STATUTE OF
                                                                                                                                        RELIANCE /                                                                                                  LIMITATIONS
                        PRIVATE RIGHT OF CLASS ACTION                 LIMITATIONS &                                                                           AFFIRMATIVE ACTS /                                       DAMAGES &
         JDX                                                                          ACTUAL INJURY               DECEPTION             PROXIMATE                                               SCIENTER                                             ON UNJUST                 OTHER
                             ACTION       PROHIBITION                   DISCOVERY                                                                            MATERIAL OMISSIONS                                         REMEDIES
                                                                                                                                        CAUSATION                                                                                                   ENRICHMENT
                                                                           RULE
                        1609, 87-303(a)           1601(2), 59-1609, 1612, 87-       2012).                                        (LexisNexis 2012);                                        1069, 87-                                           (Neb. 1996) (“[T]he
                                                  87-303(a)         303.10                                                        but see Neb. Rev.                                         303(a)                                              enrichment of one
                                                                                                                                  Stat. Ann. §87-303(a)                                                                                         party at the expense
                                                                                                                                  (LexisNexis 2012)                                                                                             of the other is not
                                                                                                                                  (allowing injunctive                                                                                          unjust where it is
                                                                                                                                  relief for any person                                                                                         permissible under the
                                                                                                                                  likely to be damaged                                                                                          terms of an express
                                                                                                                                  by a deceptive trade                                                                                          contract.”).
                                                                                                                                  practice of another).
                      Nelson v.                                   Meyer Bros. Inc. v.                           Road v. Wal-      Road v. Wal-Mart                                                                Triple-7, Inc. v. Intervet,                           Arthur v. Microsoft
                      Lusterstone                                 Travelers Ins. Co.,                           MartStores, Inc., Stores, Inc., 13                                                                Inc., 338 F.Supp. 2d                                  Corp., 676 N.W.2d 29,
                      Surfacting Co.,                             250 Neb. 389, 390-                            13 F.Supp.2d      F.Supp. 2d 1003,1016                                                            1082, 1087 (D. Neb.                                   38 (2004); Nelson v.
                      605 N.W.2d 136,                             91 (1996).                                    1003, 1014 (D. (D. Neb. 1998).                                                                    2004).                                                Lusterstone
                      141-42 (2000);                                                                            Neb.1998).                                                                                                                                              Surfacting Co., 605
                      Reinbrecht v.                                                                                                                                                                                                                                     N.W.2d136, 141-42
                      Walgreen Co., 742                                                                                                                                                                                                                                 (2000).
                      N.W.2d 243, 247-
                      48 (Neb. Ct. App.
                      2007).
 Nevada               Only an elderly or    Class                 Four years accruing Claim is limited to       Deceptive trade     A claim may be       A person engages in a              Requires              Only elderly or               Unjust enrichment is
                      disabled person has a actions               from the date facts recovery of any           practices include   brought by or on     deceptive trade practice           defendant             disabled may recover          unavailable if
 Deceptive Trade private right to action allowed.                 constituting        damages sustained.        failure to          behalf of any person when in the course of his          knowingly made a      actual damages,               defendant has
 Practices Act        under the Act.                              deceptive trade                               disclose a          who is a victim of   business or occupation he          false                 punitive damages, and         provided
                      However, the attorney                       practices were                                material fact in    consumer fraud.      knowingly fails to disclose a      representation or     attorney's fees.              consideration for
 Nev. Rev. Stat. Ann. general has the power                       discovered or                                 connection with                          material fact in connection        knowingly failed to                                 benefit received.
 §§598.0903, et seq. to enforce the Act and                       should have been                              the sale of                              with the sale or lease of          disclose a material
                      seek penalties.                             discovered.                                   goods.                                   goods or services . . . Or fails   fact.
                                                                                                                                                         to state a material fact which
                                                                                                                                                                                                                                                                                                                                     136




                                                                                                                                                         is necessary to make another
                                                                                                                                                         statement, considering the
                                                                                                                                                         circumstances under which it
                                                                                                                                                         is made, not misleading.
                        Nev. Rev. Stat. Ann.                      Nev. Rev. Stat. Ann. Nev. Rev. Stat. Ann. Nev. Rev. Stat.         Nev. Rev. Stat. Ann. Nev. Rev. Stat. Ann.               Nev. Rev. Stat.     Nev. Rev. Stat. Ann.
                        §§ 598.0915,                              §11.190(2)(d)        §41.600(1)           Ann.                    §41.600(1)           §598.0923(2)                       Ann. §§598.0915, §598.0977
                        598.0925, 598.0977                                                                  §598.0923(2)                                                                    598.0923
                                                                                                                                                                                            Scaffidi v. United                           Bowyer v. Davidson,
                                                                                                                                                                                            Nissan, 425 F.Supp.                          584 P.2d 686, 687
                                                                                                                                                                                            2d 1172, 1184-85                             (Nev. 1978) (finding
                                                                                                                                                                                            (D. Nev. 2005).                              no unjust enrichment
                                                                                                                                                                                                                                         where defendant paid
                                                                                                                                                                                                                                         the amounts due on
                                                                                                                                                                                                                                         the contract).
 New Hampshire          Attorney general          Class actions   Three years from      Act allows any person                       Plaintiff must         Material omissions               No level of intent In individual actions, Unjust enrichment is Specific class
                        may enforce the           allowed.        date violation was    injured to bring a                          establish a causal     may be actionable.               is required for    greater of action         unavailable if         action provision
 N.H. Consumer          Act. Also provides                        known or              claim and to bring a                        link between the                                        normal damages. damages or $1,000 andplaintiff has received within Act.
 Protection Act         for a private right of                    reasonably should     class action if the                         unlawful conduct                                        Damages            attorney's fees; if the the benefit of its
 ("CPA")                action.                                   have been known,      unlawful act or                             and their injuries.                                     doubled or trebled violation was willful or bargain, or where
                                                                  but evidence of       practice has caused                                                                                 for willful or     knowing, then the court defendant has
 N.H. Rev. Stat. Ann.                                             conduct more than     similar injury to                                                                                   knowing            shall double or treble provided
 §§358-A:1, et seq.                                               three years earlier   numerous other                                                                                      violations.        actual damages. Class consideration for the
                                                                  may be introduced.    persons. The Act                                                                                                       action damages            benefit received.
                                                                                        does not require a                                                                                                     limited to actual         Unjust enrichment
                                                                                        showing of actual                                                                                                      damages, equitable        claims allowed where
                                                                                        damages for the                                                                                                        relief, and discretionary D innocently received
                                                                                        claimant to be                                                                                                         attorneys' fees.          a benefit and
                                                                                        awarded the statutory                                                                                                                            passively accepted it.
                                                                                        minimum and
                                                                                        attorneys' fees.
                                                                                                                                                                                                                                                                                                Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3584 Page 108 of




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                                           50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                STATUTE OF
                                                                                                                                 RELIANCE /                                                                                            LIMITATIONS
                       PRIVATE RIGHT OF CLASS ACTION           LIMITATIONS &                                                                             AFFIRMATIVE ACTS /                                     DAMAGES &
         JDX                                                                        ACTUAL INJURY                DECEPTION       PROXIMATE                                                SCIENTER                                      ON UNJUST                 OTHER
                            ACTION       PROHIBITION             DISCOVERY                                                                              MATERIAL OMISSIONS                                       REMEDIES
                                                                                                                                 CAUSATION                                                                                             ENRICHMENT
                                                                    RULE
                       N.H. Rev. Stat. Ann. N.H. Rev. Stat. N.H. Rev. Stat. Ann. N.H. Rev. Stat. Ann.                        N.H. Rev. Stat. Ann.                                     N.H. Rev. Stat. Ann. N.H. Rev. Stat. Ann. §§                        N.H. Rev. Stat. Ann.
                       §§358-A:2, 358-A:10, Ann. §§358-A:10, §358-A:3            §358-A:10-a                                 §358-A:11                                                §358-A:10            358- A:10, 358-A:10-a                          § 358- A:10-a
                       358- A:10-a          358-A:10-a
                                                                                 Preferred Nat'l Ins.                        Mulligan v. Choice       FTC v. World Travel Vacation Barrows v. Boles,                               Clapp v. Goffstown
                                                                                 Co. v. Docusearch,                          Mortg. Corp. USA,        Brokers, Inc., 861 F.2d 1020, 687A.2d 979, 986-                              Sch. Dist., 977 A.2d
                                                                                 Inc., 829 A.2d 1068,                        No. 96-596-B, 1998       1029 (7th Cir.1988); State v. 87 (1996) ("The                                1021, 1025 (N.H.
                                                                                 1075 (2003).                                WL 544431, at *11        Moran, 861 A.2d 763,766       objectionable                                  2009) (holding that a
                                                                                                                             (D.N.H. Aug. 11,         (2009).                       conduct must attain                            person who has
                                                                                                                             1998).                                                 a level of rascality                           conferred a benefit is
                                                                                                                                                                                    that would raise an                            not entitled to
                                                                                                                                                                                    eyebrow of                                     compensation, other
                                                                                                                                                                                    someone inured to                              than in accordance
                                                                                                                                                                                    the rough and                                  with the terms of such
                                                                                                                                                                                    tumble of the world                            bargain, unless the
                                                                                                                                                                                    of commerce.").                                transaction is
                                                                                                                                                                                                                                   rescinded).
                                                                                                                                                                                                                                   Axenics, Inc. v. Turner
                                                                                                                                                                                                                                   Constr. Co., 62 A.3d
                                                                                                                                                                                                                                   754, 766-67 (N.H.
                                                                                                                                                                                                                                   2013). Petrie-
                                                                                                                                                                                                                                   Clemons v.
                                                                                                                                                                                                                                   Butterfield, 441 A.2d
                                                                                                                                                                                                                                   1167, 1172 (N.H.
                                                                                                                                                                                                                                   1982)(applying
                                                                                                                                                                                                                                   passive acceptance
                                                                                                                                                                                                                                   standard).
 New Jersey            Private right of      Class actions         Six years.          Plaintiff must show                   “While the element of    Materiality required. There     Defendant's intent   Damages limited to      Unjust enrichment       Plaintiff must mail a
                       action allowed.       allowed.                                  "ascertainable loss of                traditional reliance     are three kinds of violations   is not an element;   party's "ascertainable requires some direct copy of the complaint
                                                                                                                                                                                                                                                                                                                        136




 Consumer Fraud                                                                        money or property."                   required in a fraud      of the Act, one of which is a   liability for        loss of moneys or       relationship between to the attorney
 Act                                                                                   Standing requires a                   case need not be         knowing omission of             affirmative          property." No punitive the parties.             general within 10
                                                                                       plaintiff to plead a                  proven in order to       material facts in connection    misrepresentations   damages, but treble                             days of filing.
 N. J. Stat. Ann. §§                                                                   claim for damages                     recover damages          with the advertisement or       requires no          damages mandatory
 56:8-19, et seq.                                                                      that would survive in                 under the CFA, a         sale of merchandise.            knowledge of the     once plaintiff proves                           Only AG can bring
                                                                                       a summary judgment                    private plaintiff must                                   falsity of the       unlawful practice under                         actions for purely
                                                                                       motion.                               still ‘prove a causal                                    misrepresentation,   Act and resulting                               injunctive relief.
                                                                                                                             nexus between the                                        negligence, or the   ascertainable loss.
                                                                                       In cases of                           alleged                                                  intent to deceive.   Attorney’s fees
                                                                                       misrepresentation,                    [misrepresentation]’                                                          mandatory if plaintiff
                                                                                       either out of pocket                  and his or her                                           Fraud requires a     proves unlawful
                                                                                       loss or loss in value                 damages.” Dabush.                                        showing of intent    practice defined by
                                                                                       will be sufficient.                                                                            that others rely     Act.
                                                                                                                                                                                      upon such
                                                                                                                                                                                      concealment or
                                                                                                                                                                                      omission.

                                                                                                                                                                               “The requirement
                                                                                                                                                                               that knowledge and
                                                                                                                                                                               intent be shown is
                                                                                                                                                                               limited to the
                                                                                                                                                                               concealment,
                                                                                                                                                                               suppression or
                                                                                                                                                                               omission of any
                                                                                                                                                                               material fact.”
                                                                                                                                                                               (Fenwick, at 377).
                       N.J. Stat. Ann. § 56:8- N.J. Stat. Ann. §   N. J. Stat. Ann. § N. J. Stat. Ann. § 56:8-               N. J. Stat. Ann. §                                N.J. State Ann. § N. J. Stat. Ann. § 56:8-                                 N. J. Stat. Ann. §
                       19                      56:8-19             2A:14-1              19                                   56:8-19                                           56:8-2              19                                                     56:8-20
                       Weinberg v. Sprint Kulger v. Romain,        Mirra v. Holland Am. Thiedemann v.                        Cox v. Sears Roebuck Talalai v. Cooper Tire &     Fenwick v. Kay Am. Cox v. Sears Roebuck & Callano v. Oakwood               Zorba Contractors,
                       Corp., 801 A.2d        58 N.J. 522          Line, 331 N.J.       Mercedes-Benz U.S.                   & Co., 647 A.2d 454, Rubber Co., 360 N. J. Super. Jeep, Inc., 72 N.J. Co., 647 A.2d 454, 465 Park Homes Corp.,               Inc. v. Housing
                                                                                                                                                                                                                                                                                   Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3585 Page 109 of




                       281, 283-84 (N.J.      (1971); Varacallo    Super. 86, 90 (N.J. LLC, 183 N.J. 234,                    464 (N.J.1994);      547, 562 (Law Div.2001);     372, 377 (1977); (N. J.1994); BJM          91 N.J. Super. 105,             Authority, City of
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                                         50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                STATUTE OF
                                                                                                                                 RELIANCE /                                                                                               LIMITATIONS
                      PRIVATE RIGHT OF CLASS ACTION            LIMITATIONS &                                                                             AFFIRMATIVE ACTS /                                       DAMAGES &
         JDX                                                                      ACTUAL INJURY             DECEPTION            PROXIMATE                                                SCIENTER                                         ON UNJUST                  OTHER
                           ACTION       PROHIBITION              DISCOVERY                                                                              MATERIAL OMISSIONS                                         REMEDIES
                                                                                                                                 CAUSATION                                                                                                ENRICHMENT
                                                                     RULE
                      2002).               v. Mass. Mut. Life App. Div. 2000). 246 (2005); Weinberg                         Dabush v. Mercedes Fenwick v. Kay Am. Jeep,               Lingar v. Live-In    Insulation & Constr. Inc. 109-110 (1966).          Newark, 362 N.J.
                                           Ins. Co., 332 N.J.                  v. Sprint Corp., 801                         Benz USA, Inc., 874 Inc., 72 N.J. 372, 377 (1977).        Companions, Inc., v. Evans, 287 N. J.                                   Super. 124, 137 (N.J.
                                           Super. 31, 45                       A.2d 281, 283 (N.J.                          A.2d1110, 1121 (N. J.                                     300 N.J. Super. 22, Super. 513, 517 (N.J.                               App. Div. 2003).
                                           (App. Div. 2006).                   2002).                                       Super. Ct. App. Div.                                      28 (App. Div. 1997); App. Div.1996)
                                                                                                                            2005); Fink v. Ricoh                                      Thiedmann v.         (attorneys’ fees).
                                           Int’l Union of                                                                   Corp., 839 A.2d                                           Mercedes- Benz
                                           Operating Eng’rs                                                                 942,976-77 (N. J.                                         USA, Inc., 872 A.2d
                                           Local 68 Welfare                                                                 Super. Ct. Law Div.                                       783, 791 (N.J.
                                           Fund v. Merck &                                                                  2003); N.J. Citizen                                       2005); Gennari v.
                                           Co., 192 N.J. 372,                                                               Action v. Schering-                                       Weichert Co.
                                           389-391 (N.J.                                                                    Plough Corp., 842                                         Realtors, 691 A.2d
                                           2007)                                                                            A.2d 174, 178 (N.J.                                       350,365 (N.J.
                                           (decertifying a                                                                  Super. Ct. App.                                           1997).
                                           nationwide class).                                                               Div.2003).
 New Mexico           Private right of     Class actions      Four years from     No injury                                 Any person who        Materiality required. It is the     Need not be            Greater of actual        Unjust enrichment is Attorney's fees
                      action allowed.      allowed.           discovery of        requirement for                           suffers a loss of     intent of the legislature that in   intentionally made,    damages or$100;          unavailable if         awarded to
 Unfair Trade                                                 violation.          injunctive relief                         money or property     construing Section 3 of the         but defendant must     discretionary treble     plaintiff has received defendant where
 Practices                                                                        only. In a suit for                       "as a result of"      Unfair Practices Act, the           know that              damages if willful       the benefit of its     plaintiff's claims
                                                                                  damages, plaintiffs                       unlawful acts may     courts to the extent possible       representation is      violation. Mandatory     bargain.               are groundless.
 N.M. Stat. Ann. §§                                                               must have suffered                        bring an action.      will be guided by the               false or exercise of   attorney's fees to                              “Good faith"
 57-12-1, et seq.                                                                 a "loss of money or                       Plaintiff must show interpretations given by the          reasonable             successful plaintiff;                           defense is
                                                                                  property. “Only                           that defendant's      Federal Trade Commission            diligence should       attorney's fees and                             available.
                                                                                  named plaintiffs may                      violation             and the federal courts. The         have known that        costs to defendant if
                                                                                  recover statutory                         proximately caused FTC has consistently                   representation is      suit was "groundless.
                                                                                  damages of $100                           plaintiff damages.    adhered to the Cliffdale            false.                 “Unnamed class
                                                                                  without proving                                                 Associates standard which                                  members limited to
                                                                                  actual damages.                                                 requires that the                                          actual damages.
                                                                                                                                                  representation, omission, or
                                                                                                                                                                                                                                                                                                                             136




                                                                                                                                                  practice is material.
                      N.M. Stat. Ann. § 57- N.M. Stat. Ann. § N.M. Stat. Ann. §   N.M. Stat. Ann. § 57-                     N.M. Stat. Ann. § 57- N.M. Stat. Ann. § 57-12-            N.M. Stat. Ann. § N.M. Stat. Ann. §§ 57-                                N.M. Stat. Ann. § 57-
                      12-10                 57-12-10          37-1-4              12-10(A), (B), (E)                        12-10(B)              2(D)(14)                            57-12-2(D)         12-10(B), (C), (E)                                   12-10(c)
                                                              Tiberi v. Cigna                                               Stevenson v. Louis FTC v. Panton 1 Corp., 33              Taylor v. United                                 Arena Res., Inc. v. Hubbard v.
                                                              Corp., 89 F.3d                                                Dreyfus Corp., 811 F.3d 1088,1095 (9th Cir.               Mgmt., Inc., 51 F.                               Obo, Inc., 238 P.3d Albuquerque Truck
                                                              1423, 1430 (10th                                              P.2d 1308, 1311       1994).                              Supp. 2d1212, 1216                               357, 361 (N.M. Ct.     Ctr. Ltd., 958
                                                              Cir. 1996).                                                   (N.M. 1991).                                              (D.N.M.1999);                                    App. 2010) (finding a P.2d111, 118-19
                                                                                                                                                                                      Stevenson v. Louis                               person that has        (N.M. Ct. App.1998).
                                                                                                                                                                                      Dreyfus Corp.,                                   conferred a benefit is
                                                                                                                                                                                      811P.2d 1308, 1311                               not entitled to
                                                                                                                                                                                      (N.M.1991).                                      compensation, other
                                                                                                                                                                                                                                       than in accordance
                                                                                                                                                                                                                                       with the terms of such
                                                                                                                                                                                                                                       bargain, unless the
                                                                                                                                                                                                                                       transaction is
                                                                                                                                                                                                                                       rescinded).
 New York             Private right of     Class actions      Three years.        Plaintiff must prove    Plaintiff "must   Justifiable reliance by   "Whether a                      Intent to defraud      Greater of actual         Unjust enrichment is The deception of a
                      action allowed       allowed.                               actual injury but       plead facts       the plaintiff is not an   representation or               is not an element      damages or $50 in         unavailable if         consumer must occur
 Consumer                                                                         "not necessarily        showing actual    element of the            omission, the deceptive         of a claim under       individual action;        plaintiff has received in New York. A
 Protection                                Split on whether                       pecuniary harm."        injury, not       statutory claim.”         practice must be likely to      the Act.               discretionary treble      the benefit of its     "complete defense"
 from                                      New York law                                                   merely the                                  mislead a reasonable            Discretionary          damages for willful or bargain.                  exists if the act or
 Deceptive                                 applies to non-                                                alleged                                     consumer acting                 treble damages         knowing violations;                              practice is "subject to
 Acts and                                  residents.                                                     deceptive act."                             reasonably under the            for willful or         discretionary attorney's                         and complies with the
 Practices                                                                                                                                            circumstances."                 knowing                fees to prevailing party.                        rules and regulations
                                                                                                                                                                                      violations.            Class recovery limited to                        of . . . the federal
 N.Y. Gen.                                                                                                                                                                                                   actual damages and                               trade commission" or
 Bus. Law §§                                                                                                                                                                                                 injunctive relief.                               other governmental
 349 to 350-f-                                                                                                                                                                                                                                                entity of the United
 1 (Consol.                                                                                                                                                                                                                                                   States. Plaintiff must
 2013)                                                                                                                                                                                                                                                        show harm to the
                                                                                                                                                                                                                                                                                        Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3586 Page 110 of




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                                                                                                                                    RELIANCE /                                                                                          LIMITATIONS
                      PRIVATE RIGHT OF CLASS ACTION                 LIMITATIONS &                                                                            AFFIRMATIVE ACTS /                                  DAMAGES &
         JDX                                                                              ACTUAL INJURY          DECEPTION          PROXIMATE                                               SCIENTER                                     ON UNJUST                  OTHER
                           ACTION       PROHIBITION                   DISCOVERY                                                                             MATERIAL OMISSIONS                                    REMEDIES
                                                                                                                                    CAUSATION                                                                                           ENRICHMENT
                                                                         RULE
                                                                                                                                                                                                                                                              public interest.
                      N.Y. Gen. Bus. Law      N.Y. Gen. Bus.                                                                                                                         N.Y. Gen. Bus. Law N.Y. Gen. Bus. Law §                                  N.Y. Gen. Bus. Law §
                      §349(h) (Consol.        Law §349(h)                                                                                                                            §349(h) (Consol. 349(h) (Consol.                                         349(d) (Consol.
                      2013).                  (Consol. 2013).                                                                                                                        2013).             2013).                                                2013).
                      Blue Cross and          Solomon v.          Gaidon v. Guardian Stutman v. Chem.          Oswego           Koch v. Acker,            Stutman v. Chem. Bank, 731 Stutman v.         Karlin v. IVF Am., Inc.,    Jermyn v. Best Buy U-Neek, Inc. v. Wal-
                      Blue Shield of New      Bell Atlantic       Life Ins. Co. of Am., Bank, 731 N.E.2d       Laborers'        Merrall & Condit          N.E.2d 608, 611-12 (N.Y.   Chem.              93 N.Y.2d 282, 291          Stores, L.P., 256         Mart Stores, Inc., 147
                      Jersey, Inc. v.         Corp., 777          750 N.E.2d 1078, 608, 611-612                Local214 Pension Co., 18 N.Y.3d            2000).                     Bank,731           (1999) (characterizing      F.R.D. 418, 437 (S.D. F. Supp. 2d 158, 176
                      Philip Morris USA,      N.Y.S.2d 50,        1084 (N.Y.2001); (N.Y. 2000); Baron          Fund v. Marine 940, 941 (2012);                                       N.E.2d 608, 612    discretionary treble        N.Y. 2009) (certifying (S.D.N.Y. 2001);
                      Inc., 344 F.3d 211,     52-53 (App.         State v. Daicel       v. Pfizer, Inc., 840   Midland Bank, 85 Pelman ex. rel.                                      (N.Y. 2000).       damages as "limited         class based upon          Goshen v. Mut. Life
                      218 (2d Cir. 2003).     Div. 2004);         Chem. Indus., Ltd., N.Y.S.2d 445, 448        N.Y.2d 20, 26    Pelman v.                                                               punitive damages");         UCL and unjust            Ins. Co., 774 N.E.2d
                                              Small v.            840 N.Y.S.2d 8, 11 (3d Dep’t 2007);          (N.Y.1995).      McDonald's Corp.,                                                       Teller v. Hayes, 213        enrichment claims); 1190, 1195-96 (N.Y.
                                              Lorillard           (2007); Avdon         Small v.                                396 F.3d 508, 511                                                       A.D.2d 141, 147 (N.Y.       One Step Up, Ltd. v. 2002).
                                              Tobacco Co.,        Capitol Corp. v.      Lorillard Tobacco                       (2d Cir. 2005);                                                         App. Div. 1995); Super      Webster Bus. Credit
                                              679N.Y.S.2d         Nationwide Mut.       Co., Inc., 94                           Stutman v. Chem.                                                        Glue Corp. v. Avis          Corp., 925 N.Y.S.2d
                                              593, 598-99         Fire Ins.             N.Y.2d 43, 55-56                        Bank, 731 N.E.2d                                                        Rent A Car Sys., Inc.,      61, 70 (N.Y. App. Div.
                                              (App. Div.          Co., 658 N.Y.S.2d (1999).                                     608, 611-12 (N.Y.                                                       517 N. Y.S.2d 764,          2011) (dismissing
                                              1998).              383, 384 (1997).                                              2000).                                                                  767 (N.Y. App. Div.         claim for unjust
                                                                                                                                                                                                        1987).                      enrichment where
                                              Scott v. Bell                                                                                                                                                                         “plaintiff received the
                                              Atl. Corp., 726                                                                                                                                                                       benefit of its bargain”).
                                              N.Y.S.2d 60
                                              (2001); but
                                              see Peck v.
                                              AT&T Corp.,
                                              N.Y.L.J., Aug.
                                              1, 2002, p. 18,
                                              col. 3 (N.Y.
                                              Sup.); Goshen
                                                                                                                                                                                                                                                                                                                            136




                                              v. Mutual Life
                                              Ins. Co. of NY,
                                              98 N.Y.2d 314,
                                              325 (2002).
 North Carolina       Private right of        Class actions       Four years.          Actual injuries                         Defendant's                In determining whether a     No particular     Actual damages that Unjust enrichment is Prevailing defendant
                      action allowed.         allowed.                                 required.                               misrepresentations         representation is deceptive, scienter          were the proximate       unavailable if           may receive
 Monopolies, Trusts                                                                                                            must have                  its effect on the average    requirements.     result of prohibited     plaintiff has received attorney's fees and
 and Consumer                                                                                                                  "proximately caused        consumer is considered.                        conduct. Mandatory       the benefit of its       costs if court deems
 Protection                                                                                                                    actual injury to the                                                      treble damages.          bargain.                 plaintiff's claims
                                                                                                                               plaintiff." "Substantial                                                  Discretionary attorney's                          frivolous.
 N.C. Gen. Stat. §§                                                                                                            factor" test applies in                                                   fees upon a finding that
 75-1, et seq.                                                                                                                 proximate cause                                                           defendant's conduct
                                                                                                                               determination.                                                            was willful and
                                                                                                                               Unclear whether                                                           defendant refused to
                                                                                                                               reliance is required.                                                     negotiate settlement.
                      N.C. Gen. Stat. § 75-   N.C. Gen. Stat. §   N.C. Gen. Stat. §                                                                                                                      N.C. Gen. Stat. §§ 75-                            N.C. Gen. Stat. § 75-
                      16                      75-16               75-16.2                                                                                                                                16, 16.1                                          16.1
                      Dash v. First Plus      Dash v. First       Dash v. First Plus   Wilson v. Blue Ridge                    Am. Rockwool, Inc.,        Spartan Leasing Inc. v.     Excel Staffing     Standing v. Midgett, 850Britt v. Britt, 359
                      Home Owner Loan         Plus Home           Home Owner Loan      Elec. Membership                        v. Owens-Corning           Pollard, 400S.E.2d 476, 482 Serv., Inc. v. HP  F. Supp. 396, 402        S.E.2d 467, 471 (N.C.
                      Trust, 248F. Supp.      Owner Loan          Trust, 248F. Supp.   Corp.,578 S.E.2d 692,                   Fiberglass Corp.,          (N.C. Ct. App. 1991).       Reidsville, Inc.,  (E.D.N.C.1993); Ellis v. 1987) (holding plaintiff
                      2d 489, 494-95          Trust, 248F.        2d 489, 500-01       694 (N.C. Ct. App.                      640 F. Supp.                                           616S.E.2d 349,     Northern Star Co., 388 cannot recover for
                      (M.D.N.C. 2003).        Supp. 2d 489,       (M.D.N.C. 2003).     2003).                                  1411,1444 (E.D.N.C.                                    355 (N.C. Ct. App. S.E.2d 127, 131          unjust enrichment
                                              494-95                                                                           1986); Wilson v. Blue                                  2005).             (N.C.1990).              where she received
                                              (M.D.N.C. 2003).                                                                 Ridge Elec.                                                                                        the agreed to
                                                                                                                               Membership Corp.,                                                                                  consideration for the
                                                                                                                               578S.E.2d 692, 694                                                                                 benefit conferred),
                                                                                                                               (N.C. Ct. App. 2003);                                                                              abrogated on other
                                                                                                                               Tucker v. Boulevard                                                                                grounds by
                                                                                                                               at Piper Glen, LLC,                                                                                Myers & Chapman,
                                                                                                                               564 S.E.2d 423,                                                                                    Inc. v. Thomas G.
                                                                                                                                                                                                                                                                                       Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3587 Page 111 of




84920913v1
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                      PRIVATE RIGHT OF CLASS ACTION               LIMITATIONS &                                                                        AFFIRMATIVE ACTS /                                        DAMAGES &
         JDX                                                                           ACTUAL INJURY           DECEPTION       PROXIMATE                                                 SCIENTER                                           ON UNJUST                    OTHER
                           ACTION       PROHIBITION                 DISCOVERY                                                                         MATERIAL OMISSIONS                                          REMEDIES
                                                                                                                               CAUSATION                                                                                                   ENRICHMENT
                                                                       RULE
                                                                                                                           431(N.C. Ct. App.                                                                                           Evans, Inc., 374
                                                                                                                           2003) (stating that                                                                                         S.E.2d 385 (N.C.
                                                                                                                           "actual reliance on                                                                                         1988).
                                                                                                                           the alleged
                                                                                                                           misrepresentation"
                                                                                                                           was required for
                                                                                                                           proximate
                                                                                                                           causation); but see
                                                                                                                           Cullenv. Valley
                                                                                                                           Forge Life Ins.,589
                                                                                                                           S.E.2d 423, 431
                                                                                                                           (N.C. Ct. App.
                                                                                                                           2003)(indicating that
                                                                                                                           proof of reliance may
                                                                                                                           not be required).
 North Dakota         Private right of        Class actions     Six years.           Plaintiffs must have                  Reliance not required.                                   Deceptive act must      Actual damages; if         Unjust enrichment is
                      action allowed.         allowed.                               suffered a loss of                                                                             be made with the        conduct was "knowing"      unavailable if
 Consumer Fraud                                                                      money or property.                                                                             "intent that others     treble damages             plaintiff has received
                                                                                     Requires actual injury.                                                                        rely" upon it.          allowed; reasonable        the benefit of its
 N.D. Cent. Code §§                                                                                                                                                                 "Knowing" conduct       attorney's fees and        bargain.
 51-15-01, et. seq.                                                                                                                                                                 may subject             costs are mandatory if     Unjust enrichment
                                                                                                                                                                                    defendant to treble     violation is found.        claims require that
                                                                                                                                                                                    damages.                                           plaintiff lacks a legal
                                                                                                                                                                                                                                       remedy.
                      N.D. Cent. Code § 51- N.D. Cent. Code § N.D. Cent. Code §                                            N.D. Cent. Code §                                        N.D. Cent. Code §§ N.D. Cent. Code §
                      15-09                  51-15-09         28-01-16(2)                                                  51-15-02                                                 51-15-02,-09       51-15-09
                      Hanson v.                                                      N.D. Fair Hous.                                                                                                                                   Jerry Harmon Motors,
                      Acceleration Life Ins.                                         Council, Inc. v.                                                                                                                                  Inc. v. Heth, 316
                                                                                                                                                                                                                                                                                                                              136




                      Co., No. A3-97-152,                                            Haider, No. A1-98-                                                                                                                                N.W.2d 324, 328
                      1999 WL 33283345,                                              077, 1999 WL                                                                                                                                      (N.D. 1982) (“[A]
                      at *7 (D.N.D. July                                             33283355, at *3                                                                                                                                   person is not entitled
                      1,1999).                                                       (D.N.D. Mar.                                                                                                                                      to compensation on
                                                                                     9,1999);                                                                                                                                          the ground of unjust
                                                                                     Ziegelmann v.                                                                                                                                     enrichment if he
                                                                                     Daimler-Chrysler                                                                                                                                  received from the
                                                                                     Corp.,649 N.W.2d                                                                                                                                  other that which it was
                                                                                     556, 559 (N.D.                                                                                                                                    agreed between them
                                                                                     2002).                                                                                                                                            that the other should
                                                                                                                                                                                                                                       give in return.” (citing
                                                                                                                                                                                                                                       17 CJS Contract § 6,
                                                                                                                                                                                                                                       570-574)). Schroeder
                                                                                                                                                                                                                                       v. Buchholz, 622
                                                                                                                                                                                                                                       N.W.2d 202, 207
                                                                                                                                                                                                                                       (N.D. 2001) (including
                                                                                                                                                                                                                                       “[a]n absence of a
                                                                                                                                                                                                                                       remedy provided by
                                                                                                                                                                                                                                       law” as an essential
                                                                                                                                                                                                                                       element of unjust
                                                                                                                                                                                                                                       enrichment); Apache
                                                                                                                                                                                                                                       Corp. v. MDU Res.
                                                                                                                                                                                                                                       Group, Inc., 603
                                                                                                                                                                                                                                       N.W.2d 891, 894-95
                                                                                                                                                                                                                                       (N.D. 1999) (same).
 Ohio               Private right of action   Class actions      Two years from      Plaintiff must have                   Deceptive act or         Materiality required .No        "Intent to deceive is   In an individual action,                              Transaction must
                    allowed. Must be a        allowed. Class the occurrence          suffered some                         practice need only       supplier shall commit an        not an element          actual damages or                                     involve goods or
 Ohio Consumer      "consumer" -a person      actions not        or one year after   damages or                            be "in connection        unfair or deceptive act or      required for a          rescission; statutory                                 services for
 Sales Pratices Act who engages in a          allowed for claims the government      engaged in a                          with" a consumer         practice in connection with a   violation of the        damages available. If                                 "primarily personal,
                    consumer transaction      based upon         enforcement         transaction to be                     transaction.             consumer transaction. Such      deceptive practices     the defendant has a                                   family, or
                                                                                                                                                                                                                                                                                         Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3588 Page 112 of




 Ohio Rev. Code     with a supplier.          Attorney           action, whichever   rescinded.                                                     an unfair or deceptive act or   portion of the act."    pattern of violation, a                               household" use.
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                                                 50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                               STATUTE OF
                                                                                                                                        RELIANCE /                                                                                                    LIMITATIONS
                         PRIVATE RIGHT OF CLASS ACTION        LIMITATIONS &                                                                                   AFFIRMATIVE ACTS /                                         DAMAGES &
          JDX                                                                               ACTUAL INJURY          DECEPTION            PROXIMATE                                                  SCIENTER                                            ON UNJUST                  OTHER
                              ACTION       PROHIBITION          DISCOVERY                                                                                    MATERIAL OMISSIONS                                           REMEDIES
                                                                                                                                        CAUSATION                                                                                                     ENRICHMENT
                                                                    RULE
 Ann.§§ 1345.01, et "Consumer            General's opinion is later. No                  Remedies of                                                      practice by a supplier violates                           consumer may recover                                  Practices not
 seq.               transaction" means a or court decision discovery rule for            cancellation of                                                  this section whether it occurs                            treble damages.                                       expressly listed in
                    sale of primarily    and not express suits seeking                   contract and                                                     before, during, or after the                              Discretionary attorney's                              the Act may
                    personal, family, or violation of Act. damages.                      statutory damages                                                transaction. In construing                                fees to prevailing party if                           become actionable
                    household goods.                                                     do not require                                                   division (A) of this section, the                         action brought in bad                                 upon a ruling by the
                                                                                         actual damages.                                                  court shall give due                                      faith or the act                                      state Attorney
                                                                                                                                                          consideration and great                                   committed knowingly.                                  General or decision
                                                                                                                                                          weight to federal trade                                                                                         by state court, but
                                                                                                                                                          commission orders, trade                                                                                        no class actions are
                                                                                                                                                          regulation rules and guides,                                                                                    allowed for these
                                                                                                                                                          and the federal courts'                                                                                         claims. Defense If
                                                                                                                                                          interpretation of subsection                                                                                    defendant furnished
                                                                                                                                                          45(a)(1) of the "Federal Trade                                                                                  similar merchandise
                                                                                                                                                          Commission Act."                                                                                                of equal or greater
                                                                                                                                                                                                                                                                          value as a good
                                                                                                                                                                                                                                                                          faith substitute for a
                                                                                                                                                                                                                                                                          previous
                                                                                                                                                                                                                                                                          representation.
                         Ohio Rev. Code Ann. Ohio Rev. Code Ohio Rev. Code               Ohio Rev. Code Ann.                       Ohio Rev. Code Ann. Ohio Rev. Stat. Ann §§                                       Ohio Rev. Code Ann.                                   Ohio Rev. Code Ann.
                         §§1345.01(A), (D), Ann. §1345.09(B) Ann. §1345.10(c)            §1345.09(A)                               §1345.02(A)         1345.02(A), (C)                                              §§1345.09(A), (B), (F)                                §§1345.01(A),
                         1345.09                                                                                                                                                                                                                                          1345.09(B),1345.02(B
                                                                                                                                                                                                                                                                          )(5)
                         Parker v. I&F                               Weaver v.            New Phila., Inc. v.                                                                                 Rose v. Zaring        Perkins v. Stapleton
                         Insulation Co., 730                         Armando's Inc., No. Sagrilla, No. 01-04-                                                                                 Homes, Inc., 702      Buick- GMC Truck, Inc.,
                         N.E.2d 972, 978-79                          02-153, 2003Ohio 0033,2002 WL                                                                                            N.E.2d 952, 956       No. 2001-10,2001 Ohio
                         (Ohio 2000).                                App. LEXIS 4273, 1467771, at *5 (Ohio                                                                                    (Ohio Ct. App.        App. Lexis 2651, at*11-
                                                                     at*16 (Ohio Ct. App. Ct. App. June                                                                                       1997).                12 (Ohio Ct. App. June
                                                                     Sept.3, 2003).       26,2002).                                                                                                                 15,2001).
                                                                                                                                                                                                                                                                                                                                        136




 Oklahoma                Private right of         Class actions      Three years for                             Deceptive trade The challenged           Misrepresentation or                Whether               Actual damages and                                    Unlawful conduct
                         action allowed.          allowed.           damages claims,                             practice is a     practice must have     omission must "have the             knowledge is          reasonable attorney's                                 need not implicate
 Consumer                                                            one year for penal                          misrepresentation caused the             capacity to deceive the             required depends fees; up to $10,000 in                                     a public interest to
 Protection Act                                                      claims.                                     or omission that plaintiff's injuries.   customer."                          upon the particular costs if the other party                                be actionable.
                                                                                                                 "could reasonably                                                            provision alleged asserts a claim or                                        Court may award
 Okla. Stat. Ann. tit.                                                                                           be expected to                                                               to have been          defense in bad faith. For                             attorney's fees to
 15, §§ 751, et seq.                                                                                             deceive or                                                                   violated.             individual actions only, if                           non- prevailing
                                                                                                                 mislead a person"                                                                                  the unlawful acts are                                 party for bad faith
                                                                                                                 to that person's                                                                                   “unconscionable,"                                     or frivolous claims.
                                                                                                                 detriment.                                                                                         discretionary award up
                                                                                                                                                                                                                    to$2,000 per act.
                         Okla. Stat. Ann. tit.    Okla. Stat. Ann.                                               Okla. Stat. Ann. Okla. Stat. Ann. tit.                                       Okla. Stat. Ann. tit. Okla. Stat. Ann. tit. 15,                             Okla. Stat. Ann. tit.
                         15,§§ 761.1(A), (B)      tit. 15,§§                                                     tit. 15, §752(13) 15, §§753, 761.1(A)                                        15,§§ 752(13),        §§761.1(A), (B)                                       15, §761.1(A)
                                                  761.1(A), (B)                                                                                                                               (14); but see Okla.
                                                                                                                                                                                              Stat. Ann. tit. 15,
                                                                                                                                                                                              §§ 753(2)-(5);
                                                                                                                                                                                              tit.78, § 53(3)
                                                                                                                                                                                              (requiring
                                                                                                                                                                                              knowledge of a
                                                                                                                                                                                              false
                                                                                                                                                                                              representation).
                         Patterson v. Beall,      Patterson v. Beall, Brashears v. Sight                         Patterson v.      Patterson v. Beall, 19 Patterson v. Beall, 19 P.3d         Patterson v.                                                                Patterson v. Beall, 19
                         19P.3d 839, 846          19P.3d 839, 846 'NSound Appliance                              Beall, 19P.3d     P.3d839, 846-47        839, 847 n.12 (Okla. 2000).         Beall, 19P.3d                                                               P.3d839, 847 (Okla.
                         (Okla.2000).             (Okla.2000).        Ctrs.,981 P.2d                             839, 847 n.12     (Okla. 2000).                                              839, 847 n.12                                                               2000).
                                                                      1270, 1273-79                              (Okla.2000).                                                                 (2000).
                                                                      (Okla. 1999).
 Oregon                  Private right of         Class actions       One year from       Must suffer                              Ascertainable loss     Materiality required. A             While scienter is     In individual actions,        Unjust enrichment is Upon
                         action. Applies to       allowed.            discovery of the "ascertainable loss                         must be "as a result   person engages in an                not required to       greater of actual             unavailable if         commencement of
 Unlawful Trade          goods obtained                               deceptive practice. of money or                              of willful use or      unlawful practice when in the       establish violation   damages or $200;              plaintiff has received action, plaintiff must
 Practices Act           primarily for                                                    property" to recover                     employment" of         course of the person's              of the UTPA,          reasonable attorney's         the benefit of its     mail copy of the
                                                                                                                                                                                                                                                                                                   Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3589 Page 113 of




84920913v1
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                                             50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                  STATUTE OF
                                                                                                                           RELIANCE /                                                                                          LIMITATIONS
                      PRIVATE RIGHT OF CLASS ACTION              LIMITATIONS &                                                                    AFFIRMATIVE ACTS /                                   DAMAGES &
         JDX                                                                       ACTUAL INJURY          DECEPTION        PROXIMATE                                              SCIENTER                                      ON UNJUST                OTHER
                           ACTION       PROHIBITION                DISCOVERY                                                                     MATERIAL OMISSIONS                                     REMEDIES
                                                                                                                           CAUSATION                                                                                           ENRICHMENT
                                                                      RULE
 ("UTPA")             personal, family, or                                       "actual damages.                     unlawful "methods,       business, vocation or          plaintiff must prove
                                                                                                                                                                                               fees may be awarded to bargain.                   complaint to state
                      household                                                  “Plaintiff is required               acts or practices.       occupation the person does     "willful use or  the prevailing party.                             Attorney General.
 Or. Rev. Stat.       purposes.                                                  to plead and prove                   “Plaintiff must have     any of the following:          employment" of   Discretionary punitive                            Trade practice must
 §§646.605, et seq.                                                              some actual injury.                  "relied in fact" on      Concurrent with tender or      unlawful practice in
                                                                                                                                                                                               damages are awardable                             have a sufficient
                                                                                                                      certain                  delivery of any real estate,   order to recover only when jury finds                              nexus in Oregon to
                                                                                                                      misrepresentations.      goods or services fails to     damages.         deterrence is necessary                           give rise to a claim.
                                                                                                                      Reliance not             disclose any known material    However, "willfuland deception is
                                                                                                                      necessary for            defect or material             violation" means aggravated. Attorney’s
                                                                                                                      omissions.               nonconformity.                 only that the actor
                                                                                                                                                                                               fees are available in
                                                                                                                                                                              should have knownclass actions. Statutory
                                                                                                                                                                              the act was      damages may be
                                                                                                                                                                              unlawful.        recover on behalf of
                                                                                                                                                                                               class members only if
                                                                                                                                                                                               "ascertainable loss"
                                                                                                                                                                                               results from reckless or
                                                                                                                                                                                               knowing acts.
                      Or. Rev. Stat.       Or. Rev. Stat.  Or. Rev. Stat.        Or. Rev. Stat.                       Or. Rev. Stat. §         Or. Rev. Stat. § 646.608(t) Or. Rev. Stat.      Or. Rev. Stat. §§                                 Or. Rev. Stat. §
                      §§646.638(1),        §§646.605(6)(a) §646.638(6)           §646.638(1)                          646.638(1)                                            §§646.605(10);     646.638(1), (3), (4),                             646.638(2)
                      (8),646.605(6)(a)                                                                                                                                     646.638(1)         (8)(a)
                      Weigel v. Ron Tonkin                                       Creditors Protective                 Sanders v. Francis,                                   Raudebaugh v.      Crooks v. Payless Drug High v. Davis, 584         Julian-Ocampo v. Air
                      Chevrolet Co., 690                                         Ass'n v. Britt, 648                  561P.2d 1003, 1006                                    Action Pest        Stores,592 P.2d 196, P.2d 725, 736 (Or. Ambulance Network,
                      P.2d488, 492-93                                            P.2d414, 416 (Or. Ct.                (Or. 1977); Feitler v.                                Control, Inc.,     199 (1979).              1978) (en banc)          Inc., No. 00-1262,
                      (1984).                                                    App.1982).                           Animation Celection,                                  650P.2d 1006,                               (“We … do not            2001 U. S. Dist.
                                                                                                                      Inc., 13 P.3d1044,                                    1009 (Or. Ct. App.                          believe that the         Lexis 22173, at *7-8
                                                                                                                      1050 (Or. Ct.                                         1982).                                      claimants will be        (D.Or. 2001).
                                                                                                                      App.2000).                                                                                        unjustly enriched.
                                                                                                                                                                                                                        They are receiving
                                                                                                                                                                                                                        what they bargained
                                                                                                                                                                                                                                                                                                                 136




                                                                                                                                                                                                                        and paid for.”);
                                                                                                                                                                                                                        Winters v. County of
                                                                                                                                                                                                                        Clatsop, 150 P.3d
                                                                                                                                                                                                                        1104, 1108 (Or. Ct.
                                                                                                                                                                                                                        App. 2007) (“[W]e
                                                                                                                                                                                                                        agree with the
                                                                                                                                                                                                                        [defendant] that
                                                                                                                                                                                                                        plaintiff has not
                                                                                                                                                                                                                        carried her burden . .
                                                                                                                                                                                                                        . Under the
                                                                                                                                                                                                                        circumstances, it is
                                                                                                                                                                                                                        not unjust to deny
                                                                                                                                                                                                                        restitution and to
                                                                                                                                                                                                                        honor the terms of
                                                                                                                                                                                                                        the bargain. . . that
                                                                                                                                                                                                                        [plaintiff] accepted.”).
 Pennsylvania         Private right of        Class actions    Six years.        Must suffer                          Plaintiff must show      Plaintiff must show          Plaintiff must     Actual damages or        SOL for unjust           Act restricted to those
                      action allowed.         allowed.                           "ascertainable loss                  "justified reliance"     materiality for common-law show elements of $100, whichever is           enrichment claims is 4 goods and services
 Unfair Competition                                                              of money or                          for common-law           fraud-based deceptive acts common- law          greater; discretionary years                      purchased or leased
 Acts or Practices                                                               property" to recover                 fraud. Causal            and practices.               fraud, including   treble damages and                                "primarily for personal,
                                                                                 "actual damages. "                   connection between                                    knowledge of       reasonable attorney's                             family or household
 73 Pa. Cons. Stat.                                                                                                   unlawful practices                                    fraud or reckless fees. Discretionary                                purposes. "No right to
 §§201-1, et seq.                                                                                                     and damages                                           disregard thereto. punitive damages are                              jury trial.
                                                                                                                      required.                                                                recoverable.
                                                                                                                                                                                               Discretionary
                                                                                                                                                                                               attorney's fees are
                                                                                                                                                                                               recoverable.
                      73 Pa. Cons. Stat. § 73 Pa. Cons. Stat.                    73 Pa. Cons. Stat. §                 73 Pa. Cons. Stat. §                                                     73 Pa. Cons. Stat. §                              73 Pa. Cons. Stat. §
                      201-9.2              § 201-9.2                             201-9.2(a)                           201-9.2(a)                                                               201-9.2(a)                                        201-9.2(a)
                      Agliori v. Met. Life Agliori v. Met.    Drelles v. Mfrs.   Weinberg v. Sun                      Weinberg v. Sun          Debbs v. Chrysler Corp., 810 Debbs v. Chrysler Arsonson v.                                        Greiner v. Erie Ins.
                                                                                                                                                                                                                                                                            Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3590 Page 114 of




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                     PRIVATE RIGHT OF CLASS ACTION              LIMITATIONS &                                                                   AFFIRMATIVE ACTS /                                  DAMAGES &
         JDX                                                                      ACTUAL INJURY           DECEPTION       PROXIMATE                                           SCIENTER                                       ON UNJUST                  OTHER
                          ACTION       PROHIBITION                DISCOVERY                                                                    MATERIAL OMISSIONS                                    REMEDIES
                                                                                                                          CAUSATION                                                                                         ENRICHMENT
                                                                     RULE
                     Ins. Co., 879 A.2d     Life Ins. Co.,   Life Ins. Co., 881 Co., Inc., 777 A.2d                   Co., Inc., 777 A.2d    A.2d137, 155 (Pa. Super. Ct. Corp.,810 A.2d        Creditrust Corp., 7F.                             Exch., No. 3053,
                     315, 319 (2005).       879 A.2d 315,    A.2d 822, 831      442, 446 (Pa. 2001).                  442, 446 (2001); Toy   2002); Zwiercan v. General 137, 155 (Pa.           Supp. 2d 589, 594                                 2000
                                            319 (2005).      (2005).                                                  v. Metro. Life Ins.,   Motors Corp., No. 3235,      Super. Ct. 2002).     (W.D. Pa.1998); In                                WL33711041, at *7
                                                                                                                      Co., 863 A.2d 1, 11    2003 WL 1848571, at *1-2                           re Bryant, 111                                    (Pa. Ct. Com. Pl.
                                                                                                                      (Pa. Super. Ct.        (Pa. Ct. Com. Pl. Mar. 18,                         B.R.474, 480 (E.D.                                Nov. 13, 2000).
                                                                                                                      2004).                 2003).                                             Pa. 1990) (unfair
                                                                                                                                                                                                conduct breaching
                                                                                                                                                                                                parties' contract
                                                                                                                                                                                                justified attorney's
                                                                                                                                                                                                fees).
 Rhode Island        Private right of       Class actions    Ten years.          Must suffer                          Ascertainable loss    Covers material               Undecided.            Actual damages or        Unjust enrichment is Limited to
                     action allowed.        allowed.                             "ascertainable loss                  must be "as a result misrepresentations.                                  $200, whichever is       unavailable if           purchases or leases
 Unfair Trade                               Class                                of money or                          of the use or                                                             greater; discretionary plaintiff has received of goods or services
 Practices&                                 certification                        property" to recover                 employment . . . of a                                                     punitive damages and the benefit of its           for personal, family,
 Consumer                                   governed by                          "actual damages."                    method, act or                                                            reasonable attorney's bargain.                    or household
 Protection Act                             special rules.                                                            practice declared                                                         fees. Must show                                   purposes. Business
                                                                                                                      unlawful."                                                                malice, bad faith, or                             entities have no
 R.I. Gen. Laws §§                                                                                                                                                                              intent to harm for                                private right of
 6-13.1-1, et seq.                                                                                                                                                                              punitive damages.                                 action.
                     R.I. Gen. Laws §§ 6-   R.I. Gen. Laws §§ R.I. Gen. Laws §   R.I. Gen. Laws § 6-                  R.I. Gen. Laws § 6-                                                       R.I. Gen. Laws §§ 6-                              R.I. Gen. Laws § 6-
                     13.1-5.2(a), (b)       6-13.1-5.2(a), (b) 9-1-13            13.1-5.2(a)                          13.1-5.2(a)                                                               13.1-5.2(a), (d)                                  13.1-5.2(a)
                     Park v. Ford Motor     Park v. Ford                                                                                     Groff v. Am. Online, Inc.,                         Ross-Simons of            Rosetta v. Moretti, No. Scully Signal Co. v.
                     Co.,844 A.2d 687,      Motor Co.,844                                                                                    No. 97-0331, 1998 WL                               Warwick, Inc. v.          98-89, 2005 WL          Joyal,881 F. Supp.
                     693 (R.I.2004).        A.2d 687, 691-                                                                                   307001, at *5 (R.I. Super.                         Baccarat, Inc., 182       1109638, at *8 (R.I. 727, 741, 745 (D.R.I.
                                            92 (R.I. 2004).                                                                                  Ct. May 27, 1998).                                 F.R.D.386, 400 (D.R.I. Super. May 4, 2005) 1995); ERI Max
                                                                                                                                                                                                1998); Park v. Ford       (granting motion for Entm't Inc., v.
                                                                                                                                                                                                Motor Co., 844 A.2d       judgment as matter of Streisand,690 A.2d
                                                                                                                                                                                                687,691-92 (R.I. 2004). law in favor of           1351, 1354
                                                                                                                                                                                                                                                                                                               136




                                                                                                                                                                                                                          defendant because (R.I.1997).
                                                                                                                                                                                                                          plaintiffs failed to
                                                                                                                                                                                                                          establish that allowing
                                                                                                                                                                                                                          defendant to retain the
                                                                                                                                                                                                                          negotiated purchase
                                                                                                                                                                                                                          price would be
                                                                                                                                                                                                                          inequitable).
 South Carolina      Private right of       Class            Three years         Requires                             Ascertainable loss     Must be a material           Violation need not Actual damages;             Unjust enrichment is An adverse effect on
                     action allowed.        actions not      after discovery     "ascertainable loss of               must be "as a result misrepresentation              be knowing or willful discretionary treble     unavailable if           public interest must
 Unfair Trade                               allowed.         of conduct.         money or property."                  of the use or          of fact.                     to recover actual damages for willful or plaintiff has received be proven by "specific
 Practices Act                                                                                                        employment . . . of an                              damages; must be knowing violations.           the benefit of its       facts."
                                                                                                                      unfair or deceptive                                 willful for treble    Punitive damages are bargain.
 S.C. Code Ann. §§                                                                                                    method, act or                                      damages.              not permitted.
 39-5-10, et seq.                                                                                                     practice."                                                                Attorney's fees awarded
                                                                                                                                                                                                to prevailing plaintiff,
                                                                                                                                                                                                reasonably determined
                                                                                                                                                                                                by six enumerated
                                                                                                                                                                                                factors.
                     S.C. Code Ann. § 39- S.C. Code Ann. § S.C. Code Ann. §      S.C. Code Ann. § 39-                 S.C. Code Ann. § 39-                                                      S.C. Code Ann. § 39-5-
                     5-140(a)             39-5-140(a)      39-5-150              5-140(a)                             5-140(a)                                                                  140(a)
                                                           Prestwick Golf        Omni Outdoor Adver.,                 Inman v. Ken Hyatt     Clarkson v. Orkin            Haley Nursery Co. Tousley v. N. Am. Van Johnston v. Brown, Singleton v. Stokes
                                                           Club, Inc. v.         Inc. v. Columbia                     Chrysler Plymouth,     Exterminating Co., 761       v. Forrest, 381       Lines, Inc., 752 F.2d 96, 348 S.E.2d 391, 395 Motors, Inc., 595
                                                           Prestwick Ltd.        Outdoor Adver., Inc.,                Inc.,363 S.E.2d 691,   F.2d 189, 191 (4th Cir.      S.E.2d 906,909        104-05 (4th Cir. 1985) (S.C. Ct. App. 1986) S.E.2d461, 466 (S.C.
                                                           P'ship, 503 S.E.2d    974 F.2d502, 507 (4th                692 (S.C.1988)         1985) (puffing not           (S.C. 1989); Inman (reversing lower court's (holding plaintiff          2004);Jeffries v.
                                                           184, 188 (S.C. Ct.    Cir. 1992).                          (requiring "capacity   misrepresentation);          v. Ken Hyatt          award of punitive         cannot recover under Phillips, 451S.E.2d
                                                           App. 1998).                                                to deceive").          Wingard v. Exxon Co.,        Chrysler Plymouth, damages); Rowel v.           unjust enrichment       21, 23 (S.C. Ct.
                                                                                                                                             USA, 819 F. Supp. 497,       Inc., 363S.E.2d       Whisnant, 600 S.E.2d where he received the App.1994).
                                                                                                                                             506 (D.S.C. 1992).           691, 692              96, 99 (S.C. Ct. App. agreed to
                                                                                                                                                                          (S.C.1988) (noting 2004); Payne v. Holiday consideration for the
                                                                                                                                                                          that intent to        Towers, Inc., 321S.E.2d benefit conferred),
                                                                                                                                                                                                                                                                          Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3591 Page 115 of




84920913v1
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                                                              STATUTE OF
                                                                                                                          RELIANCE /                                                                                         LIMITATIONS
                      PRIVATE RIGHT OF CLASS ACTION          LIMITATIONS &                                                                      AFFIRMATIVE ACTS /                                   DAMAGES &
         JDX                                                                      ACTUAL INJURY           DECEPTION       PROXIMATE                                             SCIENTER                                      ON UNJUST                  OTHER
                           ACTION       PROHIBITION            DISCOVERY                                                                       MATERIAL OMISSIONS                                     REMEDIES
                                                                                                                          CAUSATION                                                                                          ENRICHMENT
                                                                  RULE
                                                                                                                                                                           deceive is not       461, 466 (S.C. Ct.       rev’d on other
                                                                                                                                                                           required).           App.1984).               grounds, 357 S.E.2d
                                                                                                                                                                                                                         450 (S.C. 1987).
 South Dakota         Private right of     Class actions   Four years after     Plaintiff must claim to               Requires "proof of an Materiality required. It is a A deceptive            Actual damages          Unjust enrichment is None found.
                      action allowed.      allowed.        occurrence or        be "adversely                         intentional            deceptive act to practice for act/omission must only; no punitive           unavailable if
 Deceptive Trade                                           discovery of         affected" by an                       misrepresentation or any person to: Knowingly and be knowing and damages. Actual                   defendant has
 Practices and                                             conduct.             unlawful act or                       concealment of a fact intentionally act, use, or      intentional.         damages are             provided
 Consumer                                                                       practice and have                     on which plaintiff     employ any deceptive act or                         synonymous with         consideration for
 Protection Act                                                                 "actual damages."                     relied and that caused practice, fraud, false                              compensatory            benefit received.
                                                                                                                      an injury to the       pretense, false promises or                         damages.
 S.D. Codified Laws                                                                                                   plaintiff."            misrepresentation or to
 §§37-24-1 et seq.                                                                                                                           conceal, suppress, or omit
                                                                                                                                             any material fact in
                                                                                                                                             connection with the sale or
                                                                                                                                             advertisement of any
                                                                                                                                             merchandise, regardless of
                                                                                                                                             whether any person has in
                                                                                                                                             fact been misled, deceived, or
                                                                                                                                             damaged thereby.
                      S.D. Codified Laws § S.D. Codified   S.D. Codified Laws S.D. Codified Laws §                                           S.D. Codified Laws § 37-24- S.D. Codified Laws S.D. Codified Laws §
                      37-24-31             Laws § 37-24-31 § 37-24-33         37-24-31                                                       6(1)                           § 37-24-6(1)         37-24-31
                      Wyman v. Terry                                                                                  Northwestern Pub.                                                          Wyman v. Terry Schulte Parker v. W. Dakota
                      Schulte Chevrolet,                                                                              Serv. v. Union                                                             Chevrolet, Inc., 584   Insurors, Inc., 605
                      Inc., 584N.W.2d 103,                                                                            Carbide Corp., 236 F.                                                      N.W.2d103, 107 (S.D. N.W.2d 181, 187
                      105 (S.D.1998).                                                                                 Supp. 2d 966, 973-74                                                       1998).                 (S.D. 2000) (plaintiff
                                                                                                                      (D.S.D. 2002).                                                                                    cannot recover under
                                                                                                                                                                                                                        unjust enrichment
                                                                                                                                                                                                                        where defendant
                                                                                                                                                                                                                                                                                                               136




                                                                                                                                                                                                                        already paid
                                                                                                                                                                                                                        consideration for the
                                                                                                                                                                                                                        benefit conferred).
 Tennessee          Private right of       Class           One year after       Requires                              Requires an            Undecided.                     Unfair or deceptive Actual damages          Unjust enrichment is      Damages can be
                    action. Plaintiff      actions not     discovery of         "ascertainable loss of                "ascertainable loss .                                 act "need not be     and attorney's         unavailable if            limited to settlement
 Consumer           must have              allowed.        deceptive act but money or property."                      . . as a result of the                                willful or knowingly fees;                  defendant has             offer. Defendants
 Protection Act     purchased goods                        not more than five                                         use or employment .                                   made to recover      discretionary          provided                  may recoup
                    for individual,                        years after conduct.                                       . . of an unfair or                                   actual damages;" treble damages             consideration for         attorney's fees and
 Tenn. Code Ann. §§ personal, family or                                                                               deceptive act or                                      statute              for "willful and       benefit received.         costs from plaintiffs
 47-18-101, et seq. household                                                                                         practice." No                                         contemplates         knowing                Unjust enrichment         who bring frivolous
                    purpose.                                                                                          reliance                                              recovery for         violation."            claims require that       actions.
                                                                                                                      requirement, but                                      negligence. Willful Punitive                plaintiff lacks a legal
                                                                                                                      plaintiffs must show                                  and knowing acts damages not                remedy.
                                                                                                                      proximate cause of                                    are required for     available.
                                                                                                                      harm.                                                 treble damages.
                      Tenn. Code Ann. §§ Tenn. Code Ann. Tenn. Code Ann. § Tenn. Code Ann. § 47-                      Tenn. Code Ann. §                                                          Tenn. Code Ann. §§ 47-                           Tenn. Code Ann. §§
                      47-18-103, 47-18-    § 47-18-109(a)(1) 47-18-110     18-109(a)(1)                               47-18-109(a)(1)                                                            18-109(a)(1), (3)                                47-18-109(c)(4), 47-
                      109(a)(1)                                                                                                                                                                                                                   18-109(e)(2)
                      Walker v. Sunrise                                                                               Harvey v. Ford Motor                                 Smith v. Scott       Smith v. Scott Lewis     Paschall’s, Inc. v.
                      Pontiac-GMC Truck,                                                                              Credit Co., No.                                      Lewis Chevrolet,     Chevrolet, Inc., 843     Dozier, 407 S.W.2d
                      Inc.,249 S.W.3d 301,                                                                            03A01-9807- CV-                                      Inc., 843S.W.2d 9,   S.W.2d 9,12 (Tenn. Ct.   150, 155 (Tenn.
                      308-11 (Tenn. 2008).                                                                            00235, 1999                                          12-13 (Tenn. Ct.     App. 1992); Paty v.      1966); McKee v.
                                                                                                                      WL486894, at *2                                      App. 1992).          Herb Adcox Chevrolet     Meltech, Inc., No. 10-
                                                                                                                      (Tenn. Ct. App. July                                                      Co., 756 S.W.2d 697,     2730, 2011 WL
                                                                                                                      13, 1999) (proximate                                                      699 (Tenn. Ct. App.      1770461, at *10 (W.D.
                                                                                                                      cause required).                                                          1988).                   Tenn. May 9, 2011)
                                                                                                                                                                                                                         (rejecting unjust
                                                                                                                                                                                                                         enrichment claim
                                                                                                                                                                                                                         where defendant “has
                                                                                                                                                                                                                         already given
                                                                                                                                                                                                                                                                          Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3592 Page 116 of




84920913v1
                                                                                                               $/7(;+,%,7
                                                                                                                  3DJH
                                        50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                 STATUTE OF
                                                                                                                               RELIANCE /                                                                                         LIMITATIONS
                     PRIVATE RIGHT OF CLASS ACTION              LIMITATIONS &                                                                        AFFIRMATIVE ACTS /                                   DAMAGES &
         JDX                                                                           ACTUAL INJURY           DECEPTION       PROXIMATE                                             SCIENTER                                      ON UNJUST                 OTHER
                          ACTION       PROHIBITION                DISCOVERY                                                                         MATERIAL OMISSIONS                                     REMEDIES
                                                                                                                               CAUSATION                                                                                          ENRICHMENT
                                                                     RULE
                                                                                                                                                                                                                      consideration
                                                                                                                                                                                                                      for any benefit that
                                                                                                                                                                                                                      [plaintiff]’s services
                                                                                                                                                                                                                      provided”); Weather
                                                                                                                                                                                                                      Doctor Servs. Co.,
                                                                                                                                                                                                                      Inc. v. Stephens, No.
                                                                                                                                                                                                                      E2000-1427-COA-R3-
                                                                                                                                                                                                                      CV, 2001 WL 849540,
                                                                                                                                                                                                                      at *2-3 (Tenn. Ct.
                                                                                                                                                                                                                      App. July 27, 2001).
                                                                                                                                                                                                                      Freeman Indus. LLC
                                                                                                                                                                                                                      v. Eastman Chem.
                                                                                                                                                                                                                      Co., 172 S.W.3d 512,
                                                                                                                                                                                                                      525-26 (Tenn. 2005).
 Texas               Private right of        Class actions    Two years after        Must cause                            Act or practice must The misrepresentation must Knowledge or        Actual damages,        Requires; 1) valuable Presuit notice letter
                     action allowed.         allowed.         occurrence or          "economic damages                     be a "producing      be of a material fact.     intent is not an    mental anguish (if     services were           by certified mail,
 Deceptive Trade                                              discovery by           or damages for                        cause" of damages                               element unless      intentional); and      rendered or materials including specific
 Practices Act                                                reasonable             mental anguish."                      and "relied on by a                             required by a       reasonable and         furnished; 2) for the allegations and all
                                                              diligence.                                                   consumer to the                                 particular          necessary attorney's person sought to be damages sought,
 Tex. Bus. & Com.                                                                                                          consumer's                                      provision. To       fees. Punitive damages charged; 3) which       required at least 60
 Code§§ 17.41, et                                                                                                          detriment."                                     recover treble      of not more than three services and            days before the
 seq.                                                                                                                                                                      damages,            times actual damages materials were            complaint is filed.
                                                                                                                                                                           defendant's actions are available for      accepted by the         Defendants may
                                                                                                                                                                           must have been      intentional acts.      person sought to be recoup attorney's
                                                                                                                                                                           intentional.                               charged, used and fees and costs from
                                                                                                                                                                                                                      enjoyed by him; 4)      plaintiffs who bring a
                                                                                                                                                                                                                      under such              bad-faith or
                                                                                                                                                                                                                      circumstances as        harassment action.
                                                                                                                                                                                                                                                                                                                    136




                                                                                                                                                                                                                      reasonably notified
                                                                                                                                                                                                                      the person sought to
                                                                                                                                                                                                                      be charged that the
                                                                                                                                                                                                                      plaintiff in performing
                                                                                                                                                                                                                      such services was
                                                                                                                                                                                                                      expecting to be paid
                                                                                                                                                                                                                      by the person sought
                                                                                                                                                                                                                      to be charged.

                     Tex. Bus. & Com.        Tex. Bus. & Com. Tex. Bus. & Com.       Tex. Bus. & Com.                      Tex. Bus. & Com.      Tex. Bus. & Com. Code §        Tex. Bus. & Com.     Tex. Bus. & Com. Code                           Tex. Bus. & Com.
                     Code §17.50             Code §17.50      Code §17.565           Code §17.50(a)                        Code §17.50(a)        17.46(b)(24)                   Code §17.50(b)       §§17.50(b), (d)                                 Code §§17.50,
                                                                                                                                                                                                                                                     17.50(c)
                     Mahoney v. Cupp,                         McAdams v. Cap.                                                                      Church & Dwight Co. v. Huey, Smith v. Herco, Inc., Gunn Infiniti, Inc. v.    Bashara v. Baptist
                     638 S.W.2d 257, 261                      Prods. Corp., 810                                                                    961S.W.2d 560, 567 (Tex. Ct. 900S.W.2d 852,        O'Byrne,996 S.W.2d Mem'l Hosp. Sys.,
                     (Tex. Ct. App. 1982).                    S.W.2d 290,292-93                                                                    App. 1997).                  859 (Tex. Ct. App. 854, 860-61 (Tex.1999); 685 S.W.2d 307, 310
                                                              (Tex. Ct. App.1991).                                                                                              1995).                Houston Livestock         (Tex. 1985)
                                                                                                                                                                                                      Show v. Hamrick, 125
                                                                                                                                                                                                      S.W.3d555, 584 (Tex.
                                                                                                                                                                                                      Ct. App. 2003).
 Utah                Private right of        Act contains     Two years.             Requires that plaintiff               Requires a plaintiff Materiality of fact             Requires              In individual actions, Unjust enrichment is Bona fide error
                     action allowed.         specific class                          suffer a "loss. “Loss"                suffer loss as a result required. The purpose        knowing or            greater of actual         unavailable if        defense limits remedy
 Consumer Sales                              action                                  should be construed                   of violations of the    of the act is "to make       intentionally         damages or $2,000; plaintiff has received to amount defendant
 Practice Act                                requirements.                           more broadly than                     Act.                    state regulation of          deceptive act or reasonable attorney's the benefit of its             was unjustly enriched.
                                                                                     "damages."                                                    consumer practices not       practice.             fees. In class actions, bargain.                Good faith is an
 Utah Code Ann. §§                                                                                                                                 inconsistent with the                              equitable relief ONLY Unjust enrichment         affirmative defense.
 13-11-1, et seq.                                                                                                                                  policies of the Federal                            unless specific actions claims require that
                                                                                                                                                   Trade Commission Act                               of defendant previously plaintiff lacks a legal
                                                                                                                                                   relating to consumer                               declared unlawful by      remedy.
                                                                                                                                                   protection. “The FTC                               court or other authority.
                                                                                                                                                   requires that the
                                                                                                                                                                                                                                                                               Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3593 Page 117 of




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                                                                                                                     $/7(;+,%,7
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                               50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                  STATUTE OF
                                                                                                        RELIANCE /                                                                               LIMITATIONS
             PRIVATE RIGHT OF CLASS ACTION       LIMITATIONS &                                                              AFFIRMATIVE ACTS /                            DAMAGES &
      JDX                                                           ACTUAL INJURY       DECEPTION       PROXIMATE                                       SCIENTER                                  ON UNJUST                OTHER
                  ACTION       PROHIBITION         DISCOVERY                                                               MATERIAL OMISSIONS                              REMEDIES
                                                                                                        CAUSATION                                                                                ENRICHMENT
                                                      RULE
                                                                                                                         representation,
                                                                                                                         omission, or practice
                                                                                                                         is material.
             Utah Code Ann. § 13- Utah Code     Utah Code Ann. § Utah Code Ann. § 13-               Utah Code Ann. § 13- Utah Code Ann. § 13-11-2   Utah Code Ann. § Utah Code Ann. §§ 13-                          Utah Code Ann.
             11-19                Ann. §§ 13-   13-11-19(8)      11-19(2)                           11-19(2)                                        13-11-4(2)       11-19(2), (4), (5)                             §§ 13-11-2(6), 13-
                                  11-19(4),                                                                                                                                                                         11-19(4)(c), (5)
                                  13-11-20
                                                                 Andreason v.                                                                       Rawson v. Conover,                       S. Title Guar. Co.,    Sampson v.
                                                                 Felsted,137 P.3d 1,                                                                20 P.3d 876, 883                         Inc. v. Bethers, 761   Richins, 770P.2d
                                                                 4 (Utah Ct. App.                                                                   (Utah 2001).                             P.2d 951, 955          998, 1005 (Utah Ct.
                                                                 2006).                                                                                                                      (Utah Ct. App.         App. 1989).
                                                                                                                                                                                             1988); Bray Lines
                                                                                                                                                                                             Inc. v. Utah
                                                                                                                                                                                             Carriers, Inc., 739
                                                                                                                                                                                             P.2d 1115, 1117
                                                                                                                                                                                             (Utah Ct. App.
                                                                                                                                                                                             1987) (holding
                                                                                                                                                                                             unjust enrichment
                                                                                                                                                                                             does not occur
                                                                                                                                                                                             when a party
                                                                                                                                                                                             receives the benefit
                                                                                                                                                                                             of its bargain).
                                                                                                                                                                                             Mann v. Am. W.
                                                                                                                                                                                             Life Ins. Co., 586
                                                                                                                                                                                             P.2d 461, 465
                                                                                                                                                                                             (Utah 1978); Ockey
                                                                                                                                                                                             v. Lehmer, 189
                                                                                                                                                                                             P.3d 51, 61 n.42
                                                                                                                                                                                                                                                                               136




                                                                                                                                                                                             (Utah 2008); Am.
                                                                                                                                                                                             Towers Owners
                                                                                                                                                                                             Ass’n, Inc. v. CCI
                                                                                                                                                                                             Mech., Inc., 930
                                                                                                                                                                                             P.2d 1182, 1193
                                                                                                                                                                                             (Utah 1996) (“The
                                                                                                                                                                                             doctrine is
                                                                                                                                                                                             designed to provide
                                                                                                                                                                                             an equitable
                                                                                                                                                                                             remedy where one
                                                                                                                                                                                             does not exist at
                                                                                                                                                                                             law.”), abrogated
                                                                                                                                                                                             on other
                                                                                                                                                                                             grounds by
                                                                                                                                                                                             Davencourt at
                                                                                                                                                                                             Pilgrims Landing
                                                                                                                                                                                             Homeowners Ass’n
                                                                                                                                                                                             v. Davencourt at
                                                                                                                                                                                             Pilgrims Landing,
                                                                                                                                                                                             LC, 221 P.3d 234
                                                                                                                                                                                             (Utah 2009);
                                                                                                                                                                                             Nickerson Co. v.
                                                                                                                                                                                             Energy W. Mining
                                                                                                                                                                                             Co., No.
                                                                                                                                                                                             20090221–CA,
                                                                                                                                                                                             2009 WL 4681778,
                                                                                                                                                                                             at *2 (Utah Ct. App.
                                                                                                                                                                                             Dec. 10, 2009)
                                                                                                                                                                                             (barring recovery
                                                                                                                                                                                             on an unjust
                                                                                                                                                                                                                                          Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3594 Page 118 of




                                                                                                                                                                                             enrichment theory
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                                                                          STATUTE OF
                                                                                                                                      RELIANCE /                                                                                        LIMITATIONS
                          PRIVATE RIGHT OF CLASS ACTION                  LIMITATIONS &                                                                      AFFIRMATIVE ACTS /                                  DAMAGES &
          JDX                                                                                   ACTUAL INJURY         DECEPTION       PROXIMATE                                            SCIENTER                                      ON UNJUST                 OTHER
                               ACTION       PROHIBITION                    DISCOVERY                                                                       MATERIAL OMISSIONS                                    REMEDIES
                                                                                                                                      CAUSATION                                                                                         ENRICHMENT
                                                                              RULE
                                                                                                                                                                                                                                   where there is an
                                                                                                                                                                                                                                   express contract).
 Vermont                  Private right of        Class actions        Six years.             Suit can be brought                 Cause of action        The misleading effects      No intent or bad     Actual damages,          Unjust enrichment is No derivative liability
                          action allowed.         allowed.                                    by "[a]ny consumer                  available to consumer must be material measured faith required. If      reasonable attorney's unavailable if             absent direct
 Consumer Fraud                                                                               who contracts for                   who contracts for      by an objective standard,   defendant knows or fees, exemplary            defendant has           participation in the
 Act                                                                                          goods or services in                goods or services in that is, likely to affect a   should know that damages not to exceed provided                       unfair or deceptive
                                                                                              reliance upon false                 reliance upon false or reasonable consumer's       omission is          three times actual       consideration for       acts, direct aid to the
 Vt. Stat. Ann. tit. 9,                                                                       or fraudulent                       fraudulent             conduct or decision with    important,           damages.                 benefit received.       actor, or a
 §§2451, et seq.                                                                              representations . . .               representations or     regard to a product.        materiality is                                                        principal/agent
                                                                                              or who sustains                     who sustains                                       presumed.                                                             relationship.
                                                                                              damages or injury                   damages or injury as
                                                                                              as a result of any                  a result of such
                                                                                              false or fraudulent                 representations.
                                                                                              representations."                   Actual reliance is not
                                                                                                                                  required; a statement
                                                                                                                                  need only be capable
                                                                                                                                  of misleading the
                                                                                                                                  consumer.
                          Vt. Stat. Ann. tit. 9, Vt. Stat. Ann. tit. Vt. Stat. Ann. tit. 12, Vt. Stat. Ann. tit. 9,               Vt. Stat. Ann. tit. 9,                                                  Vt. Stat. Ann. tit. 9, §
                          §2461(b)               9, §2461(b)         §511                    §2461(b)                             §2461(b)                                                                2461(b)
                          Vermont Mobile HomeVermont Mobile                                                                       Jordan v. Nissan N. Carter v. Gugliuzzi, 716       Carter v. Gugliuzzi, Gramatan Home            Ray Reilly’s Tire Mart, State v. Stedman, 547
                          Owners' Ass'n, Inc. v. Home Owners'                                                                     Am., 853 A.2d 40, 44 A.2d 17, 23 (Vt. 1998).       716A.2d 17, 23-24 Investors Corp. v.          Inc. v. F.P. Elnicki, A.2d1333, 1335-36
                          Lapierre, 94 F. Supp. Ass'n, Inc. v.                                                                    (Vt. 2004).                                        (Vt.1998); Winston Starling, 470 A.2d 1157, Inc., 537 A.2d 994, (Vt. 1988).
                          2d519, 520 (D. Vt.     Lapierre, 94 F.                                                                                                                     v. Johnson & Dix 1161-62 (Vt. 1983).          995 (Vt. 1987) (“[I]f
                          2000).                 Supp. 2d519, 520                                                                                                                    Fuel, 515A.2d 371,                            the [defendant] has
                                                 (D. Vt. 2000).                                                                                                                      376 (Vt.                                      given any
                                                                                                                                                                                     1986);Poulin v. Ford                          consideration to any
                                                                                                                                                                                     Motor Co.,513 A.2d                            person for the
                                                                                                                                                                                                                                                                                                                          136




                                                                                                                                                                                     1168, 1171                                    [benefit], it would not
                                                                                                                                                                                     (Vt.1986).                                    be unjust for him to
                                                                                                                                                                                                                                   retain the benefit
                                                                                                                                                                                                                                   without paying the
                                                                                                                                                                                                                                   furnisher.” (quoting
                                                                                                                                                                                                                                   Paschall’s v. Dozier,
                                                                                                                                                                                                                                   407 S.W.2d 150, 155
                                                                                                                                                                                                                                   (Tenn. 1966))); Will v.
                                                                                                                                                                                                                                   Mill Condo. Owners’
                                                                                                                                                                                                                                   Ass’n, Inc., No. 457-
                                                                                                                                                                                                                                   10-01 WRCV, 2002
                                                                                                                                                                                                                                   WL 34340312 (Vt.
                                                                                                                                                                                                                                   Sup. Ct. July 5, 2002).
 Virginia                 Private right of action. Class actions       Two years. Right Actual loss required                      Requires loss as the A false misrepresentation     Intent requirement Provides for greater of                            If a defendant
                                                   generally not       of action runs from to initiate action.                    result of a violation must be of an existing fact, of fraud applies.    actual damages or                                tenders a cure offer,
 Consumer                                          allowed.            the date of injury                                         of the Act. Reliance not a mere expression of an Misrepresentation $500, reasonable                                      it cannot be liable for
 Protection Act                                                        and not from the                                           is necessary to        opinion.                    by omission of a     attorney's fees, and                             attorney's fees or
                                                                       date of discovery                                          state a claim.                                     material fact        costs; if the violation                          costs unless actual
 Va. Code Ann. §§                                                      unless the claim is                                                                                           requires evidence was willful, then there is                          damages exceed the
 59.1-196 et seq.                                                      solely equitable.                                                                                             of a knowing or      discretion for the court                         cure offer. Bona fide
                                                                                                                                                                                     deliberate decision to award discretionary                            error or lack of
                                                                                                                                                                                     to conceal the fact. treble damages or                                control is a defense;
                                                                                                                                                                                                          $1,000.                                          attorney's fees can
                                                                                                                                                                                                                                                           be awarded
                                                                                                                                                                                                                                                           nonetheless.
                                                                                                                                                                                                                                                           Acceptance of cure
                                                                                                                                                                                                                                                           offer forecloses
                                                                                                                                                                                                                                                           further actions based
                                                                                                                                                                                                                                                           on same allegations
                                                                                                                                                                                                                                                           of fact.
                                                                                                                                                                                                                                                                                     Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3595 Page 119 of




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                                                                 STATUTE OF
                                                                                                                                    RELIANCE /                                                                                      LIMITATIONS
                     PRIVATE RIGHT OF CLASS ACTION              LIMITATIONS &                                                                              AFFIRMATIVE ACTS /                                  DAMAGES &
        JDX                                                                         ACTUAL INJURY             DECEPTION             PROXIMATE                                             SCIENTER                                   ON UNJUST            OTHER
                          ACTION       PROHIBITION                DISCOVERY                                                                               MATERIAL OMISSIONS                                    REMEDIES
                                                                                                                                    CAUSATION                                                                                       ENRICHMENT
                                                                     RULE
                     Va. Code Ann. § 59.1- Va. Code Ann. § Va. Code Ann. §§                                                     Va. Code Ann. § 59.1-                                Va. Code Ann. §       Va. Code Ann. §§ 59.1-                 Va. Code Ann.
                     204(A)                59.1-204(A)        8.01-230, 59.1-                                                   204(A)                                               59.1-200 (A)(8)       204(A)- (C)                            §§ 59.1-204(A),
                                                              204(A)                                                                                                                                                                              (C), 59.1-207
                     Almeter v. Va. Dep't Almeter v. Va.                          Gavin v. Koons Buick                          Alston v. Crown Auto,   Graham v. RRR, LLC, 202 F.    Cooper v. GGGR
                     of Taxation, No. LL- Dep't of Taxation,                      Pontiac GMC, Inc.,                            Inc.,224 F.3d 332,      Supp. 2d483, 491 (E.D. Va.    Invs., LLC, 334 B.R.
                     821-4, 2000 WL        No. LL-821-                            28Fed. Appx. 220, 223                         336 (4th Cir.2000);     2002); Lambert v. Downtown    179, 188 (E.D. Va.
                     1687589, at *1 n.1 4,2000 WL                                 (4th Cir. 2002); Alston                       Polk v. Crown Auto,     Garage, 553 S.E.2d 714,717    2005); Lambert v.
                     (Va. Cir. Ct. Nov. 6, 1687589, at *1 n.1                     v. Crown Auto, Inc.,                          Inc., 228 F.3d 541,     (Va. 2001).                   Downtown Garage,
                     2000).                (Va. Cir. Ct. Nov.                     224F.3d 332, 336 (4th                         543 (4th Cir. 2000);                                  Inc., 553 S.E.2d
                                           6,2000).                               Cir.2000).                                    Cooper v. GGGR                                        714, 718 (2001);
                                                                                                                                Invs., LLC, 334 B.R.                                  Weiss v. Cassidy
                                                                                                                                179,188 (E.D. Va.                                     Dev. Corp., No.
                                                                                                                                2005).                                                206766,2003 WL
                                                                                                                                                                                      22519650, at*2 (Va.
                                                                                                                                                                                      Cir. Ct. Aug.
                                                                                                                                                                                      18,2003).
 Washington          Private right of action. Class actions   Four years.         Allows cause of           The knowing         A causal link must      The knowing failure to reveal Intent not           Provides for actual                    Defense if acts or
                                              permitted.                          action by any person      failure to reveal   exist between the       something of material         required if the      damages, attorneys'                    practices
 Unfair Business                                                                  who is injured in his     something of        unfair or deceptive     importance is deceptive       action has the       fees, discretionary                    complained of have
 Practices -                                                                      or her business or        material            act and the injury      within the Act.               capacity to          treble damages not to                  an adverse effect on
 Consumer                                                                         property by a             importance is       suffered. A plaintiff                                 deceive a            exceed$25,000.                         the public interest or
 Protection Act                                                                   violation of the Act.     deceptive within    establishes                                           substantial                                                 are reasonable in
                                                                                                            the Act.            causation by                                          portion of the                                              relation to the
 Wash. Rev. Code                                                                                                                showing that he or                                    purchasing                                                  development and
 Ann.§§ 19.86.010,                                                                                                              she relied upon a                                     public.                                                     preservation of
 et seq.                                                                                                                        misrepresentation of                                                                                              business.
                                                                                                                                fact; however, some
                                                                                                                                cases hold that a
                                                                                                                                                                                                                                                                                                                136




                                                                                                                                plaintiff need not
                                                                                                                                prove reliance to
                                                                                                                                establish an unfair
                                                                                                                                trade practice.
                     Wash Rev. Code Ann. Wash Rev. Code Wash Rev. Code            Wash Rev. Code Ann.                                                                                                      Wash Rev. Code Ann.                    Wash Rev. Code Ann.
                     §19.86.090          Ann. §19.86.090 Ann. §19.86.120          §19.86.090                                                                                                               §19.86.090                             §19.86.920
                     Smith v. Behr                                                Nordstrom, Inc. v.   Robinson v. Avis         Pickett v. Holland Am. Robinson v. Avis Rent-A-Car    Haner v. Quincy                                             Leingang v. Pierce
                     Process Corp., 54                                            Tampourlos, 733 P.2d Rent-A- Car Sys.         Line- Westours, Inc., Sys. Inc., 22 P.3d 818, 824     Farm Chems., Inc.,                                          County Med. Bureau,
                     P.3d 665, 675                                                208, 210-11          Inc., 22 P.3d818,        35 P.3d351, 360        (Wash Ct. App.2001); Testo     649 P.2d 828, 831                                           Inc., 930 P.2d 288,
                     (Wash. Ct. App.                                              (1987);Girard v.     824 (Wash Ct.            (2001); Leingang v. v. Russ Dunmire Olds., 554        (1982).                                                     296 (1997).
                     2002).                                                       Myers, 694P.2d 678, App.2001).                Pierce Cty. Med.       P.2d 349, 356-57 (Wash. Ct.
                                                                                  685-86 (Wash. Ct.                             Bureau, Inc., 930 P.2dApp.1976).
                                                                                  App. 1985).                                   288, 296 (1997); State
                                                                                                                                v. A.N.W. Seed Corp.,
                                                                                                                                802 P.2d 1353,1355;
                                                                                                                                Wash. v. Williams
                                                                                                                                Chrysler Plymouth,
                                                                                                                                553P.2d 423, 436-37
                                                                                                                                (1976); Robinson v.
                                                                                                                                Avis Rent-A- Car Sys.
                                                                                                                                Inc., 22 P.3d 818,823
                                                                                                                                (Wash Ct. App. 2001);
                                                                                                                                Testo v. Russ
                                                                                                                                Dunmire Olds., 554
                                                                                                                                P.2d 349, 356-57
                                                                                                                                (Wash. Ct. App.
                                                                                                                                1976).
 West Virginia       Private right of action. Class actions   Two years. Statute Plaintiff must suffer Deceptive acts           Ascertainable loss In false advertising claims,       In false advertising Greater of actual                      Act should not be
                                              permitted.      of limitations begins ascertainable loss of prohibited            must have been         the offending                  claims, the          damages or$200.                        construed to prohibit
 Consumer Credit                                              to run when fraud money in order to         whether or not        suffered as a result misrepresentation must be        offending            Punitive damages and                   acts or practices that
                                                                                                                                                                                                                                                                           Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3596 Page 120 of




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                                           50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                                 STATUTE OF
                                                                                                                                 RELIANCE /                                                                                          LIMITATIONS
                      PRIVATE RIGHT OF CLASS ACTION             LIMITATIONS &                                                                          AFFIRMATIVE ACTS /                                   DAMAGES &
         JDX                                                                         ACTUAL INJURY          DECEPTION            PROXIMATE                                             SCIENTER                                       ON UNJUST                  OTHER
                           ACTION       PROHIBITION               DISCOVERY                                                                           MATERIAL OMISSIONS                                     REMEDIES
                                                                                                                                 CAUSATION                                                                                           ENRICHMENT
                                                                     RULE
 and Protection Act                                          discovered or        bring a claim. A          any person has   of a prohibited act. a material fact. Prohibited     misrepresentation attorneys' fees not                                  are reasonable in
                                                             should have been     consumer is not           in fact been     Reliance on          omissions must be made          must be made with allowed.                                             relation to the
 W. Va. Code Ann.                                            discovered by        required to list specific misled,          affirmative          with intent to deceive.         the intent that                                                        development and
 §§46A-1-101, et                                             reasonable           amount of actual          deceived or      misrepresentation                                    others rely on it.                                                     preservation of
 seq.                                                        diligence.           damages.                  damaged          s must be proven                                                                                                            business. Must notify
                                                                                                            thereby.         in certain                                                                                                                  defendant of alleged
                                                                                                                             instances.                                                                                                                  violation and provide
                                                                                                                                                                                                                                                         20 days for cure
                                                                                                                                                                                                                                                         offer in certain
                                                                                                                                                                                                                                                         instances.
                      W. Va. Code Ann. § W. Va. Code Ann. W. Va. Code Ann. § W. Va. Code Ann. §             W. Va. Code Ann. W. Va. Code Ann.   W. Va. Code Ann. § 46A-6-         W. Va. Code Ann. § W. Va. Code Ann. §                                  W. Va. Code
                      46A-6-106(a)       § 46A-6-106(a) 55-2-12              46A-6-106(a)                   §§ 46A-6-         §§ 46A-6-         102(7)(M)                         46A-6-102(7)(M) 46A-6-106(a)                                           Ann. §§ 46A-6-
                                                                                                            102(7)(M), 46A-6- 102(7)(M), 46A-6-                                                                                                          101(2), 46A-6-
                                                                                                            106(a)            106(a)                                                                                                                     106(b)
                      In re W. Va. Rezulin                       Brumbaugh v.        In re W. Va. Rezulin White v. Wyeth, White v. Wyeth, 705                                                           Virden v. Altria Group,
                      Litig., 585 S.E.2d 52,                     Princeton Partners, Litig., 585 S.E.2d 52, 705S.E.2d 828, S.E.2d 828, 837                                                              Inc.,304 F.Supp. 2d
                      74 (2003).                                 985 F.2d 157,161- 75 (2003).               837 (2010).       (2010).                                                                   832, 850 (N.D. W. Va.
                                                                 62 (4th Cir. 1993).                                                                                                                    2004).
 Wisconsin            Private right of action. Class actions     Three years.        A plaintiff must                         Pecuniary loss    Representation must be            Representation        Allows only actual        Unjust enrichment is   Good faith may be
                                               permitted.        Discovery rule      have suffered a                          must be           untrue, deceptive, or             must be made with damages, costs and            unavailable if         an affirmative
 Deceptive Trade                                                 does not apply.     pecuniary loss.                          because of a      misleading. Puffery is not        knowledge that the attorneys' fees.             defendant has          defense. Discovery
 Practices Act                                                                                                                violation of      actionable. Material              representation        Discretionary doubling    provided               rule does not apply
                                                                                                                              Section 100.18    omissions are not                 was false. There is of pecuniary damages.       consideration for      to toll the statute of
 Wis. Stat. §                                                                                                                 in order to       actionable.                       strict liability for  Punitive damages are      benefit received.      limitations.
 100.18                                                                                                                       state a claim.                                      misrepresentations. recoverable but plaintiff
                                                                                                                              Must show a                                         Plaintiffs must show cannot get duplicative
                                                                                                                              causal                                              that the defendant's recovery.
                                                                                                                              connection                                          intentionally induced
                                                                                                                                                                                                                                                                                                                       136




                                                                                                                              between the                                         the public to buy the
                                                                                                                              alleged                                             merchandise.
                                                                                                                              conduct and
                                                                                                                              any pecuniary
                                                                                                                              loss suffered.
                                                                                                                              Individual
                                                                                                                              reliance
                                                                                                                              required.
                      Wis. Stat.               Wis. Stat.        Wis. Stat.          Wis. Stat.                               Wis. Stat.                                                                Wis. Stat. §§
                      §100.18(11)(b)(2)        §100.18(11)(b)(2) §100.18(11)(b)(3) §100.18(11)(b)(2)                          §100.18(11)(b)(2)                                                         100.18(11)(b)(2),100.20
                                                                                                                                                                                                        (5)
                      Tietsworth v.                          Skrupky v.           Reusch v. Roob,                            Valente v. Sofamor, State v. Am. TV & Appliance Shephard Invs.             Sydney v. Badgerland Tri-State Mech., Inc. Am. Fed. of State v.
                      Harley- Davidson,                      Elbert,              610N.W.2d 168, 176                         S.N.C.,48 F. Supp. 2d of Madison, Inc., 430         Int'l, Inc. v. Verizon Mobile Homes, Inc., 659 v. Northland Coll., 681 Brown County, 432
                      Inc., 661N.W.2d                        526N.W.2d 264,       (Wis. Ct. App.                             862, 874 (E.D. Wis. N.W.2d 709, 712 (1988).         Commc'ns., Inc., N.W.2d 887,894-95              N.W.2d 302, 305-06 N.W.2d 571,574-75
                      450, 452 (Wis. Ct.                     273-74 (Wis. Ct.     2000).                                     1999); State v.                                     373 F. Supp. 2d        (Wis. Ct. App.           (Wis. Ct. App. 2004) (1988); Skrupky v.
                      App. 2003).                            App. 1994).                                                     Satermus, 361                                       853, 872 (E.D.         2003);Seay v. Gardner, (denying unjust          Elbert, 526 N.W.2d
                                                                                                                             N.W.2d 728,731 (Wis.                                Wis.2005);             541 N.W.2d837, 839 enrichment claim             264,273-74 (Wis. Ct.
                                                                                                                             Ct. App. 1984).                                     Valente v.             (Wis. Ct. App. 1995). where defendant “has App.1994).
                                                                                                                                                                                 Sofamor, S.N.C.,                                fully paid for the
                                                                                                                                                                                 48 F. Supp. 2d                                  benefits it received”)
                                                                                                                                                                                 862, 874 (E.D.
                                                                                                                                                                                 Wis. 1999).
 Wyoming            Private right of action. Class actions   Written notice of the Plaintiff may only                        Damages must be       Materiality of fact required. Requires that          Provides for actual                             Prefiling demand
                    Cause of action only permitted.          alleged violation     bring claims for                          suffered by a                                       defendant              damages and                                     notice requesting
 Consumer           for uncured unlawful                     must be given to damages she has                                consumer as a result                                knowingly engage reasonable attorneys'                                 cure required
 Protection         deceptive trade                          defendant within      actually suffered.                        of unlawful deceptive                               in unfair or           fees (attorneys' fees in                        within a year of
 Law                practices. An uncured                    one year of                                                     trade practices.                                    deceptive trade class action only if                                   discovery or two
                    practice is one that                     discovery or two                                                                                                    practices.             actual damages found                            years following the
 Wyo. Stat. Ann. §§ remains unresolved                       years of occurrence,                                                                                                                       and awarded); any                               transaction,
 40-12-101 et seq. after the consumer                        whichever is first.                                                                                                                        monies recovered in a                           whichever is
                                                                                                                                                                                                                                                                                  Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3597 Page 121 of




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                                  50 State Survey of State Consumer Protection, Deceptive Trade Practices Laws, and Unjust Enrichment
                                                          STATUTE OF
                                                                                                                   RELIANCE /                                                                                        LIMITATIONS
             PRIVATE RIGHT OF CLASS ACTION               LIMITATIONS &                                                                    AFFIRMATIVE ACTS /                                  DAMAGES &
      JDX                                                                    ACTUAL INJURY         DECEPTION       PROXIMATE                                             SCIENTER                                     ON UNJUST               OTHER
                  ACTION       PROHIBITION                 DISCOVERY                                                                     MATERIAL OMISSIONS                                    REMEDIES
                                                                                                                   CAUSATION                                                                                         ENRICHMENT
                                                              RULE
             provides statutory                                                                                                                                                          class action which                        earlier.
             notice to the alleged                                                                                                                                                       cannot be distributed to
             violator.                                                                                                                                                                   consumers within one
                                                                                                                                                                                         year after final judgment
                                                                                                                                                                                         shall be returned to the
                                                                                                                                                                                         defendants.
             Wyo. Stat. Ann. §§      Wyo. Stat.        Wyo. Stat. Ann. §   Wyo. Stat. Ann. § 40-               Wyo. Stat. Ann. § 40-                                 Wyo. Stat. Ann. §   Wyo. Stat. Ann. § 40-                     Wyo. Stat. Ann. §§
             40-12-102(a)(ix),       Ann. §§ 40-12-    40-12-109           12-108(a)                           12-108(a)                                             40-12-105(a)        12-108(b)                                 40-12-102(a)(ix), 40-
             40-12-108, 40-12-       102(a)(ix), 40-                                                                                                                                                                               12-108(a), 40-12-109
             108(a), 40-12-109       12-108, 40-12-
                                     108(a), 40-12-
                                     109
                                                                                                                                       Big-O Tires v. Santini, 838
                                                                                                                                       P.2d 1169, 1177 (1992).
                                                                                                                                                                                                                                                                                                136
                                                                                                                                                                                                                                                           Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3598 Page 122 of




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Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3599 Page 123 of
                                     136




                  Alt Declaration



                            Exhibit 5
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3600 Page 124 of
                                     136




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                            Confidential
                            Designation
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3601 Page 125 of
                                     136




                  Alt Declaration



                            Exhibit 6
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3602 Page 126 of
                                     136




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                            Confidential
                            Designation
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3603 Page 127 of
                                     136




                  Alt Declaration



                            Exhibit 7
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3604 Page 128 of
                                     136




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                            Confidential
                            Designation
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3605 Page 129 of
                                     136




                  Alt Declaration



                            Exhibit 8
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3606 Page 130 of
                                     136




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                            Confidential
                            Designation
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3607 Page 131 of
                                     136




                  Alt Declaration



                            Exhibit 9
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3608 Page 132 of
                                     136




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                            Confidential
                            Designation
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3609 Page 133 of
                                     136




                  Alt Declaration



                          Exhibit 10
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3610 Page 134 of
                                     136




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                            Confidential
                            Designation
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3611 Page 135 of
                                     136




                  Alt Declaration



                          Exhibit 11
Case 3:16-cv-01255-GPC-AGS Document 100-2 Filed 07/28/17 PageID.3612 Page 136 of
                                     136




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                            Confidential
                            Designation
